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             Exhibit 76: 6/22/1983 (CCR 001174 - 001178)
 Conoco IOC (Grumbles to Chester) enclosing German EPI article on VCM and PVC
workers demonstrating hugely increased statistically significant rates of BC, lymphoma
and various other cancers (the MCA had lamented were under no one - in industries -
                                      "control")




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                                                  (Cor 'CO) ,
                                                              ;(1:
                                                                    Xf: P v (!
Interoffice Communication
To Dr. Chester
From Tom Grumbles

Datt June 22. 1983

SubjeCt



5111 Broddle recently forwarded tl - . 'e on an epidemiology
study of PVC and VCM workers. The cover page and summary is enc i osed.
Unfortunately only the summary is in English. Based on the summarized
results, do you feel we should have the entire article translated. It
'.lf)r+~~Ji"",'¡n£or.m,O,,,i~",,tha,,,,s,u~~~,i;li-ea,l.$ome,,,,~~s,,,,,..l..ncLda~
not reported in U. S. 1 i terature to date.

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Please call to discuss.

          . ..-
          ~ l. ..
Thomas G. Grumb 1 es

 ajo
 Enc I osu re

cc J. R. Drumwright w/o att.




                                                                           CCR 000001114

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                               L. l \ ..~ In           ,~. \ \ ~¡ \,      :'i          t)'",l~     1." r" ,: \~, .          '- \ \. \), \ ~ ~..\   i 1)(\ Ll', \ . \.,
    . c.:) 1'" 'f(. (oi'-\                                         ,'.'                                       \
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  L..' : f\ ~ , j                                                                                                    7.hl Arh,'i!smed. 32 ri9S:!ì 2. 5. 4462
                                                          Viii l"('I/..rirl-F.~"fl.mìøt1 It .\m iolitor
      .-


                             Vinylchlorid- Expositioii und
  Mortalität deutscher Cheiniearbeiter
-miVE ir Vergleich zur Morta °tät RECEIVED
                                                                                                                                                                         JIJN 0 9 2983
                                                                                                                                                                                         .
JUN 0 9 19, nichtexponierter Chemie
.i~O!¡;AL D1V. und PV C- V erarbeit

IW D~~
                                                   -..E. 6rcišeW.lRei~H.~'e~
                               (§ D.L                                                                                        CCR 000001175

      1. EinJeilung                                                                   und So~iaies des Landes Nordl'hein.Wesifalen in Ab-
                                                                                      siimmung mit dem Bundesminisier für Arbeii uud Sozial-
           1m Jahre 1974 berichtcten CREECH unci JOHNSON                              ordnung und der Bcrufsgenossensc:hiifi del' Chemìschen
      úbel' Beobachtungen von drei H.ämangios.al'Komen del'
                                                                                      Indusirie.
        eber bci Arbeiter" in der US-ametikanischen Polyvinyl-
                                                                                        Die Untersuchungen wUTden in Zusammenarbeit ~ii
      .iilorid..PVC)-Indusirie. 1m gJeichen Jahre wurden iii del'
                                                                                      den ßetriebsãriien del' bciroffencn Beiriebe durc:hgeführi.
      Bundesrepublik DeulSchl:ind zwei FiiHe von Lcbcr:mgio-
      sarkomc:n bei Arbeiiern einer rVC-F:ibrik cl'miuc\i, (1n                          Da es in diesem r:alle nieht darum ging, das mëglicher-
                                                                                      weise erhöhie Risiko ciner einzigen Erkr:inkung (Häm-
      del' Zwiscbenzeit sind in del' Bundesl'epublik i 8 Arbeiter
                                                                                      angiosarkom del' Leber) aufzuk.läl'en, sondern allgemein
      der PVC-Indusirie an den Folgen die-set Erkrankung vel'-
      siorben, cin weiicrer Patient mil cincm H ämangiosarkom
                                                                                      der Verdacht cines erhöhien Tumorrisikos bestand,
      del' Leber lebi noch. Wehweit wurden bis M.ai 19S0                              sc:hicd die Mögliclikeii del' Durchführung einet Fall-
      85 Fälle registrieri. (AIIcrdings liegen kejne Informa-                         Kontroll-Siudie von vornhercin aus. Eine salche Studie
      iionen úber das Vorkommen diesel' ETkrankuiig in der
                                                                                      w::re angesichis der außcrordentlichcn Seltenheit von
      UDSSR und in China vor.)                                                        Angiosarkomc:n der Leber unci del' Prob¡ematík einer
        Die Ergebnisse tíerexperimente!Jel' Uniersuchungen
                                                                                      kon-ckic:n Diagnose dieser Erkrankung vermutlich kaum
                                                                                      meihodisch einwandfrei durchführbar gewesen.
      dUTch VIOLA Ci aL. (1971) und MALTON! =1 a!. (1974)
      deu\etenaufein karzinogenes Potential von Vinylchlorid-                           Desrialb wurde die Methode der historisch prospektiven
      Monomer (VCM) hin. Diese Uniemichungen zeigien die                              Kohoricn-Sludje ausgewäblL. Bei diesem e.pidemiologi-
      Enlslehung von Malignomen verschiedener Organc und                              schen Siudieniyp wird cine B't¥'ii:Yff!m!fñšâmes Cha-
      u. a. bei Rauen schon bti relativ niedriger KOllzeniration                      rzkterìstiki.rn (in diesem Fall: Exposition gegenüber
      der Atemluft (50 ppm) das Vorkommen yon Leberangio-                             VCM) cindeutig definicrbare Gruppe (Kohol'te) von
      sarkomen.                                                                       Menschen von einem in der Vergangenheit liegenden
         Schlii:ßlich waren in der Bundesrepublik sell 1972 J 65                      Zeiipunki an in intern Schicksal bis zu einem definienen
      KrankheitsfaJle dUTch VCM gemeldei worden. Bis zum                              Endpimkt venolgt. Das Erkrankungs- bzw. Mortaliiats-
      30. 9. 1980 war diese Zahl auf 320 angeSliegen, davon                           risiko dieser Kohone wird dann mii dem entsprechenden
      waren als BeTufserkranlcung anerlcanni worden 106 Fälle.                        Risiko ciner Vergleichsgruppc: (meist der Gesamtbevclkc:-
         "Diese Refunde rechtfenigen die Durchführung einer                           rung) verglìchen. Da für die Beuneilung des Krankheiis-
      -oidemioiogischen Untersuchung wr Aufldärung cines                              risiko$ der Bevölkerung in der Bundesrepublik noch keine
       .ibgliebo/weise durch die Exposition gegenübcr VCM                             brauchbaren Datenquellen zur Verfúgungstehen. war die
      enlStehe~den Kran¡:heiis- \.nd Monalitåtsrisikos bei Ar-                        Beschtänkung auf drie Mortalitâtsstudje noiwendig.


                 ! ~
      beitern Jer cheniischen Industrie.
           VeraiÜaßr wurden die ini foJi¡cnden bcschriebmen Un-
      1"M:lJci'unl!en durch den Minisicr (üt Arbeit, Gesundheit
                                                                                        Es wutden im Rahmen unserer UnterSuchungen drei
                                                                                      Kohorien von Arbeiinelimem mit ihrern Monaliiäisrisiko
                                                                                      anaJysíen:


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     von malignen Tumorcii und der zwischenzeitlicli stark                                              r4j      EQUITAIlL.E CNVIRONMENT AL HEAL 111. liic.: Epi-
                                                                                                                 clcillQlci¡:l. Si udy or V¡II)"I (;iloriiJe Workers. liiial Report.
     ¡:ngc:stieiienen Anzahl von Hämangiosarkomen del" Leber                                                     X ~r('COr)". JlC",'kv,lle. 1\1; ryl.incl 2DR52. 1978
     (BRD J974: 4,1980: 1& F¡¡llc) al. Todesllsache ist cine                                            t5).     r-O:\. A. J.. Viiiyl chluruJc anÙ rmm:i1iiy~ (Lmer 10 ¡he
     wcitcre Yerfolgung der exponieTten Popul:iiion dringend                                                     ~dilorl. l.:in,,,¡ II: 41(,.01 17, 1976.
                                                                                                        (6)      rox. A. J.. COLLIER. r. F.: Morialíiyuperien,e orwor.
     erfordcrlich.                                                                                               kers C~i',).,d 10 vinvl c1ilnl"ìJ" monom"r in the m;imilaciurc
                                                                                                                 of polniml cliioiide in Gr,.H 3r¡lain. Ik J. Ind. Med. 3.l:
                                                                                                                 !. 10. 1~77
                                                                                                        (7)      FR ENTZi:L..ßEYME. R. SCH!lITZ, T. THI£SS. A. M.:
     I. In a hisioric prospective mOrlaHt)' study ihe (:ite of ;ill                                              MoriaJiiji,~I"die bei V(,./f'VC-Arbemrn d~i BASr- Al.
     of the male ~mployees of the chemical indusiry in \Vesi                                                     11l"l\I1t:,cJl~diall. Ludwlg_Ii:ifcn nm Rhein. Arbt'iisme:d.. So-
     Germany engaged in the production of vinyl chloride                                                         7.¡almed" li:,,'cntivmed. 13; 2)&.228,1978.
                                                                                                        ¡s).     KEY. M. M.. HENSClIEL. A. F. BUTLER,J. LlGO. R.
     monomer and polyvinyl chloride as well i I                                                                  N.. TAHLRSIiAW. L. R. (Ilg.): OçeuiiaLioii:i1 Diseases. A
     E                                                                                                           Guide 10 Their Rccci¡:niiì()ii. US Department or H::ilih.
     b in the analysis (N = 7.02 i). For va-                                                                     EducaLion. and Welfare - PHS. Cenier for Disc;¡se Con-
                                                                                                                                   Iile for Occupaiional Safety :ina Hi:alih.
                                                                                                                 trol, N:ni('ii;d Irislll
     rious reasons. the data of 882 foreigners (6 of whom                                                        Dl IEW (NlO$1 i) PubJic¡,uon :-0. 77 - 18 I. Wa_hingion. D
     deceased) were excluded.                                                                                    C., 1977 S. 219-221.
                                                                                                        (9).    MAL1"O~i. c., LEFEMINC. G.: Ca.cinogenii:i:y biCl:iS-
     2. The fate of 4.007 employees or
                                                                                                                says or \ in)'! diloridc. J. r,ese:irch plnn and early resulis.
                                      and of 4.910 employees or the che-                                        (nvironmmi. Res 7: 387.405. 1974
                                       exposition to VCM/PYC has be~n                                 ¡ID).     OTT. M. G..HOLDER, B.Il.. L:\~GENi:R. R. n.: Dmr.
                                                                                                                 miniinl.' or 111on:iIJly in ¡w indLlSlflal populaiion. jom ill:
     analysed in idenLieaì manner.                                                                               ¡71.lìì.l\m,
     3. Follow-up rate came to about 90 % at the endpoInt of                                          rii).      REI/'L. w.. WEBE1(. 1-.. GRi:iSER. E.: Iiwcsiigauons
     the study (12/31/1974). Resulting person years came to                                                     inlo ihe MOrlilily orWurl.ers, exposed to Vinyl Chio~I(Jc, in
                                                                                                                the F.:deral HCpiit'llc or Gcrninny, S. 194.204 in: I-lNE. c..
     7 4 (VCM/PVC exposed), 52.896 (PVC processing).                                                            KILIA~, D. J. (11(\.): Proceedings or ihe rirth lnlem;iiion;il
     ani. /6.029 (without exposure to YCM/PVC) respectively.                                                    Conferi:nce ITcdlchcm - Occu¡i:iiional HealLh in ihc Che-
                                                                                                                mica) Industry, San Francisco. Saiiembcr 1977.
     4. Using the male populaiion of West Germany within
                                                                                                      (12).     RëINL. W., WEnER. II., GREISER. E.: The: momliiv or
     the respective calendar years as reference, the standardi.                                                 Gcnn:in \'in~'1 dilorit.e (Vei aiid poiyvinyl cbJoridc (PVC)
     zed mortality ratio (SMR) or employees exposed to                                                          \\orkc:rt. Ad\. hi\;. raùa iol:,ikol. 30: Suppl. ~99-402. 1979.
                                                                                                      113).     T ABERSIl A \\,1. R., GAfFEY. W. R.; Mortaiiiyswdy of
     VCM/PVC or engaged in ryC processing f:iÏled to de-                                                        worker. in the manuf:ic:iurc or vinyl chloride and ¡IS poly-
     monstrate any ..healthy worker effect".                                                                    mers jom 16: 509.518.1974.
     5. S                                                                                             (Iol).    VIOLA, 1'.. B100ITl. II.. CAPUTO, A.: Oncogenic re-
                                                                                                                sponse: or I'M sk in, 111111=-. and r.ones 10 vinyl ehlorióe. Cander
     sh                                                                                                         Res. 31 ; ~ 1(..522. 19ì1
     V . A relatively smull Lncrease                                                                  ( 15).    WAGOl"ER. J. K., IN£"ANT(, P. F..SARACCI. R.. Vinyl
     for ICD-8 155 is also to be found in noncxposcd workers.                                                   chlorìd~ 11l1d mOrlahly~ (Lwer LO the ediior). L111ccl !l:
                                                                                                                 194-19~, 1976,
     6. SMR rormaJign;incíeso. Jrn¡i l!ülUli.l lü~W~li¥..¥...Jr                                       (J6).     DUCK. D. W.. CARTEH. .I. T.: An.wer LO ihe Ie:ller of
                                       09) is considerably increased in                                         WAGON         LIZ "I al. Lance! 11 195. 1976.
                                                                                                      ¡!7).     Sonderbmchi des SLòla Llichen Gcwerbeariies DÜ~5c1dorf:
                                                                                                                Erkral1x iinf1en durch Viiiylcli lodd. S. 299 - 309 in: Min;sic-
                                                                                                                rium fur ArbcH. Gcsuiidlicii uiid SoziaJes de~ L¡¡nc1es ~\V:
                                                                                                                Jahresbenchi 1975 del' Gcwcrbe3Ur.icht des Landes
                                                                                                                Nordrllcll1.W~lrñlen.
     8, All of the three cohort analysed demonslraic an eleva-                                                  Sonderberichi des Siaailichen Ge:wcrbearzies Düssddorf:
                                                                                                      (18).
     ted SM R f or'isehe1T1tlw.f1!af'.c~asti.(:i CD -84 10 - 414).                                              ErKrankuligcn durch Vinyldilorìd. S. 287 - 299 ;n: !-fi ni~ie'
     9. Considering the long latency periods for malignant                                                      rium für Arbeii. Gesundheit und Soiiales des La ndcs N W:
                                                                                                                Jahrestiericht 1976 dcr .Geii'"ibcaursìehi dcs Landes
     tumors and the .increasing number of observations of                                                       Nordrhcin. \Yes.ralen.
     hemagiosarcomas of the ¡ivcr (West Germany 1974: 4                                               (19).     Sonderberichi des Staatljehen Gellerbearzics Düsselóorr:
                                                                                                                Erkrankungen durc:h Vinylchlorjd, S. :iD5-32~ in: Minisie-
     cases. 1980: 18 cases) as well. further follow-up siudies of
                                                                                                                rium für Arbeii. Gesundheit und Soiiale~ des Landes NW:
     the population exposed to VCM/PYC seems to be highly                                                       Jahresberidii 1977 del' Gewubciiursic:hi Oes Landes
     adv;c;able.                                                                                                Nordrliei n- \V esiralcn.
                                                                                                      (20).     Sonderberichi des Stuilichcn Gc"..erbeariies DÜsseldorf:
     Li. -stur                                                                                                  Erkrankun~cn durch Vinylclilond, S. 347-377 in: Minr,ie-
                                                                                                                num fur Arbeii. Gesundhcii und Soiialcs des Landes NW:
      (I). BERRY. G.. ROSSITER. C. E.: Vinyl çhloride and monali.                                               Jahresbericht 1978 der G.,,'crbeaufsichi des Landes
            ty7 (Leiii:r to the ediiòr). Laneet 11: 416. 1976                                                   Nordrheiii. Westfalen,
      (2). CREECH. J. L" JOHNSON. M. N.: Angiosarcoma of the
            liver in ihe manu(oiciure or polyvinyl chlorioe. JaM 16:
            I SO-IS i, 1974.                                                                         Aflschrifi d~s Vcr/ossers:                                          CCR 000001176
      (3). DUCK, Fl. w.. CARTER,J. T., COOMBES. E. J.: Monali.                                       Dr. W. R t;lI!
                         Case 3:08-cv-00612-RET-SCR
            t.. ocfDrI\' (,f \I.nr\.....~ i.. i'l" ..f"lvv;I"..!_.-;.Ir-..-..._~ _..- ~ ,--,...~    Document
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                                                    Co Chamills Coinny
                                                    A Division of Conoc Inc.
                                                    '58 Noon Øarlar'i Landing Road
                                                    P.O. Boii 19029
                                                    Houlton. TX 77224




     June 20. 1983 ·


     Mr, Vernon Rose
     School of Publ ic Heal th
     University of Alabama/Birmingham
     Birmingham, AL 35294
     SUBJECT: By-Law Amendment

     Dear Vern:
     I f the fu 11 text sent by Bob is to be pub I i shed, tne background language
     needs to be changed to clearly note. as in Article X, Section 1. that a
     change is approved by tl2/3 of the membership returning bal1otsll,
     Enclosed is a copy with those sections needing clarification indicated,

     Sincerely.
--
        1 c ,,~-
                                   -
     Thomas G. G rumb i es. C. i , H.
     Director, Industrial Hygiene

     ajo
     Ene i osure




                                                                                 CCR 000001177


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                             DRAFT 1

                    Proposed Amendment to the
                AlHA Bylaws, Article X, Section 2


At the annual AIHA business meet inR in Philadelphia, attending
members approved an Audit Committee motion that the following
proposed amendment to the nat ional Bylaws be submitted to the
membership by letter ballot.

    "That Article X, Section 2, of the bylaws be amended from:
     'The Board of Directors by majority vote may propose and
    adopt new bylaws or amend or repeal existing bylaws' to
    read: 'The Board of directors by rnaj ority vote may
    propose new byl aws or changes to exist ing bylaws. Such
    proposals or amendment s shal 1 be submitted to the mem-
    bership for approval according to Article X, Section i,"
          Vote for one only;

                approve
                disapprove

The Audit Committee by this motion calls for a vote of the member-
ship for a bylaw change which would eliminate the Board of
Directors t power to amend the bylaws without the approval of
its membership, A survey conducted by the Local Sections
Council in 1981, indicated that Local Section officers (70%)
supported such a change in bylaws advocating Bylaw changes
only when approved by 2/3 of the membership by written ballot.

    The Audit Comittee has reviewed the bylaws of the
    American Conference of Governmental Industrial Hy-
    gienists (ACGIH). the American Academy of Industrial
    Hygiene (AAIH). the American Society of Safety Engineers
    (ASSE). the American Academy of Occupational Medicine
    (AAOM), and the American Public Health Association (APHA).
    For all of these organizations, the Board of Directors
    does not have the authority to change the bylaws, In
    most ëães, a two-thirds vote of the membership by mailed
    bal lot is required in a manner ident ical to the procedure
    in Article X, Section i, of the AIHA bylaws. APHA and
    ASSE (for some sections only) allow bylaws to be changed
    by approval of govern ing bodies composed of represent at i Yes
    of local sect ion. equivalent to the AlHA Local Sections
    Counci 1.
The Audit Committe believes that any change to the bylaws should
be approved by the membership, andnot unilaterally by the Board
of Directors,


                                                            CCR 000001178




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              Exhibit 77: 10/1/1983 (DOW 000387 - 000392)
Article - "Toxicity of Vinyl Chloride and Poly(vinyl chloride): A Critical Review" by Joseph
                                         K. Wagoner




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                                                                                                                          Environmental Health Perspetwes
                                                                                                                          vol, 52. pp. 61.66.1983
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                  by Joseph K. Wagoner*
 ~) when. if
  cs expt-c:'                             In 1974. vinyl chloride IVCI,,'as first reportf'd in thE' open scientific literature to induce
 are pu~¡¡c
 e field t'X'                         demonstrated . . . .
                                       aii6Posarcoma of the Ih'er both in humans and iii animals. Additional research has

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k go up.
                    In 19ï1. 44 years after vim'l chloride was intr
:iown. E-'J i
.cy bio),.gI.
                 duced into Arrerican commerce' 11. 24 vears aft
                 vin)') chloride was shown to cauše cardia
                 arrhythmia in experimental animals 121. 22 yea
                 afr vinyl chloride was repone- to be associate
                 with hepatic abnormalities in workers in a Ru
                 sian plastic facton' 13 '. 14 years after toxic an-
                                                                                            ongoing ~tu ies invoiving viny C oride expo-
                 gioneuropathy was noted a~ong workers exposed
                 t( vinyl ch)oride below the then Russian maxi.                             :;ures of 20.000. 10.000. 5.000. :!.UOO. 500 and le,:;
                 mUm allowable concentration of 390 ppm 1-1 i. 11                           than 500 ppm were also described to those :;ame
                 years after the vinyl chloride production proce~~                          companies. In like manner. :\1a1tonl. in 197:1.
                 Was associated with a severe nt'urologic disorder                          upon noting angiosarcoma of tht' li\'er and cancer
                 In Minamata. .Japan ..51. 10 year:' -alter \'inyl                          of other ~ites in rats exposed b~' inhalation to
                 chloride at concentrations down to 200 ppm wen"                            \"invl chloride at lower conct'ntl'ation~. al;:o had
                 repOrted to cause ct'ntrilobular g-ranular de-                             tra~smltted hi,: findings to the \Ianut:cturing
                 generation of
                                                                                            Chemj~b A:;sociation l~ the Cnitt'd State" and to
                                      the liver ,61 and 5 vea~rs after vin\'1
                 chloride wa$ ~hown to induce a'cro-ostlioJv~l~ ;n                          :'evt'ral chemical curnpanies In Europe' i i i Gov-
                 workers cleaning reactor \"s~ei;: 1-; . \ïiiiå et al                       ernment. labor and the independent re~earch
                 81 reported the -induction of tumors of tht' "kin.                         communit\. were first infi.ìrmpd ul thp expanding
                 ~~ng and bone in .rats exposed b~' inhalation to                           CarCItOEZt'DiC properties of \'nyJ ch;imde in .Junu-
                                                                                            arv of -197 -i. when n."presentatl\-es of industr:-'




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                                                                                            three worker:, \\ ho h~id d!:3nt'O l"t',IL.tor \'e,;""",l,, :1';
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                 :-PringfE'ld, \'A .::! 15.:
                                                                                            l'hlonde we;!: made public' , ~è..~/ 387




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             62                                              .1 K. WAGOSER

                  The carcinogenic properties of vinyl chloride      mortalitv analvsis of 161 deceased workers ha\
             were further clarified in 1974. when Caputo et aL.      ing beeñ empl~yed at one of two plants in th
             '121 reported an increasing incidence of liver an-      United States producing and polymerizing vin~
             giosarcoma with an increasing dosage of vinyl           chloride. The specific sites of cancer with th
             chloride. Among rats exposed to vinyl chloride by       greatest excess were the liver and biliary trac,
             inhalation. the incidence of liver angiosarcoma         WIth an ll-fold excess; the brain. with a 4-fol.
             was 30r at 500, 5(7c at 1.000. 6'; at 5.000, 8'1 at     excess: the digestive tract and the lung.
             10.000 and 12'1 at 20.000 ppm. Among controls                In 1975. Nicholson et a1. 1201 published a stud~
             not exposed to vinyl chloride, liver angiosarcoma       of cancer mortality among 25ï individuals occu
             was not found. In that same year Maltoni and            pationally exposed to vinyl chloride for at least.:
             Lefemine 113) also reported the induction of tu.        years, with the initial exposure having occurrec
             mors in mice, hamsters and rats exposed to vinyl        more than 10 years in the past during employ.
             chloride by inhalation. The spectrum of induced         ment in a U.S. plant polymerizing vinYl chloride
             tumors included angiosarcomas of the liver. ade-        A 2.3-fold excess in deaths from cancer of all site~
             nomas and adenocarcinomas of the lung, neuro-           combined was demonstrated with three deaths
             blastomas of the brain. lymphomas and carcino-          due to hemangiosarcoma of    the liver. In that same
  1          mas of other sites. Vinyl chloride in that study        year. ûtt ~t a1. 1211 reported the mortality experi.
             was shown to induce liver angiosarcoma in rats at       ence of 549 individuals occupationally exposed to
 ~           50 ppm of exposure. Keplinger et al. 114) in that       vinyl chloride-polyivinyl chloride). Whereas no
             same year also reported the induction of liver          angiosarcomas of the liver were found. an excess
             angiosarcoma in mice exposed to 50 ppm of vinyl         of all malignancies combined was reported among
-~~          chloride by inhalation. Subsequently. Holmberg          those workers classified as having been highly
...          et al. 115) reported the induction of hepatIC and       exposed when contrasted with workers of all
.~           extrahepatic angiosarcoma in mice following in-         other exposure intensnies. Among the nine can.
  .          halation exposure to vinyl chloride at 50 ppm.                                                  workers,
                                                                     cer deaths in the highly exposed group of
             Shortly thereaftr Maltoni (16) extended the car-        four were due to lung cancer. In a discussion of
             cinogenicity of vinyl chloride to lower levels of       the limitations of the study. the investigators
  ..
             exposure. Vinyl chloride administered by inhala-        noted that the majority of        workers in the category
             tion was shown to induce tumors at a variety of         "other than highly exposed" had less than one
             sites. including liver angiosarcoma at 25 ppm and       year of work experience In departments with ex-
             mammary carcinomas at 25. 10, 5 and 1 ppm.              p~~uretovinyl chloride-polyvinyl chloride.
             Recently Maltoni i i Î) reported the induction of        11.117- a1. 1221 in 1975 reported that a study of
             hepatic and extrahepatic angiosarcoma at 10 ppm .       2100 employees of a vinyl chloride polymerization
             of vinyl chloride.                                      plant 10 the United Kingdom revealed no excess
                                                                     of total or cause-specific mortality. In addition to
            Epidemiology                                             reporting no excess of cancer mortality. The in-
            Occupational Exposure: Vinyl                             vestigators reported an inverse relation between

            Chloride Production or                                   vinyl chloride exposure and cancer mortality. i.e.,
                                                                     as the duration of exposure to vinyl chloride-
             Polymerization                                          poly' \'ny! chlorid i ¡ncr . d. the mk of c ncer
                  In 1974. the same year that the public was first   decreased.


                                                                     m.
             1Oformed that vinvl chloride induced liver an-          St
            giosarcoma and cancers of other sites by way of          sp
            experimental bioassay. epidemiological studies
            also were reported demonstrating an excess of            ~tudy. Duck and Carter 12-1 i reported an in-
            cancer of multiple organs among workers occupa-          c:eased risk of cancer of the digesti\'e system
            tionally exposed to vinyl chloride. Tabershaw and        among workers observed 15 vears or more aftr
                                                                     onset -of exposure to vinyl 'chloride-og'~YI
             Gaffey ,i 81 reported that cancers of the buccal
             cavity and pharynx. digestive tract 1 primarily
             liver angiosarcoma). respiratory tract. central
                                                                     chloridei.          '\--;:0 OJ
                                                                      Subsequently. Waxweiler et a1. i2,j1 reported
             nervous system i primanly brain, and the lym-           the results of a retrospective study of mortality
             phatic system were excessive among workers In           among a cohort of 1294 workers occupatlonally
             the United States having been employed for at           exposed to vinyl chloride in the lnited States.
             least one year in plants producing andior polym-        Since occupationally induced cancers often take
            erizing vinyl chloride. ~lonson et a1. 119) in that      years to become clinically manifest following ex-
            same year reported the results of a proportionate        posure to carcinogens. the study was restricted to


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         also ,;howed that ï months after their initial                po~ed workers seem to indicate a pattern of non
         exposure. both species exhibited granu!omatou5                neoplastic effects. a granulomatous reaction ti
         changes. with tine granules observed intracellu-              poly'vinyl chloride i dust. with inclusion of poly.
         larly. Agarwal et al. 13';1 in 19ï$ demon"trated              'vinyl chloridei particles in macrophageo' and hi:;
         that intratracheal adminI"tration of poly1vinyl               to¡:ytes. and associated inter~;titial fibr05i;¡.
         chloriòe' dust in rats resulted in an increase in               The long-term carcinogenic effect. with a sig.
         the activitv of lvsomal enzvmes. interstitial fibro-          nificant increase In lung cancer also i:; of concern
         sis and granul¿matous lešions surrounded bv ft-               In 19ï8. Waxweiler et al. 1401 reported the resulu;
         broblast~. reticulin and collagen fibers. Puímo-             of a study of lung cancer at a single vinyl chlo-
         nary disorders possibly associated with exposure              ride-polyivinyl chloride  i facility. One objective ot
         to pOlYI vinyl chloride        i resins produced by the      this stud   v was to determine whether there was an
         emission process might by expected. as dust sam-             excess ri~k of lung cancer of a particuiar histolog-
         ples taken by ::aOSH during the bagging of poly-              ical type at the plant. A case control study showed
        1 vinyl chloride) resin have shown concentrations             a clear excess of     type :3 i   adenocarcinoma I and type
        ranging from less than 1 up to 19 mg m'l. with                .l i large-cell undifferentiated) lung cancers in
        about 90lf of the particles being smaller than 2.5            ca,¡es occurring among plant employees as com-
        ~im and 100l" smaller than i ~im in diameter.                 pared to otl-er lung cancer cases from the same
          In 1978. Arnaud et al. 136\ reported a case of              hospItal of diagnosis. matched for age and calen-
        pneumoconiosis in a 53-year.old man who had                   dar period of diagnosis. The authors noted that
        been exposed to polyi vinyl chloride i In the bag-            adenocarcinomas of the lung. accounting for a
        ging area of a VC polymerization plant. This                  minor proportion of this excess risk. ha\'e been
        patient presented with exertional dyspnea. pul-               5hown to be at most only weakly related to ciga-
        monary function changes, and chest radiographic               rette smoking; some "tudies have shown no asso-
        abnormalities. Electron microscopy of lung Li:;sue            Ciation at alL. The authors also noted that large-
        obtained by drill biopsy showed foreign particles             cell diffefentiated carcinoma of the lung,
        in the macrophages that were identical to polyivi-            accounting for the vast majority of the excess
        nyl chloride i powder viewed under the electron               lung cancer risk. is the only major histological
        microscope. In vitro Incubation of polyi ~'inyi chlo-         type that has never been related to cigarette
        ride) powder with human lung macrophages                      smoking by epidemiologic study. Thus. they con-
        showed that the macrophages engulfed the pow-                 cluded that cigarette smoking was not a major
        der to give an appearance similar to that seen in             confounding variable in the study.
        L'WO. The authors noted that the histological le-                A further study was made bv Waxweiler et aL
        sions in this patient were identical to those re-             to test whether oóe or more ch~micals used at the
        corded by Szende et a1. 13(), who diagnosed ad-               plant were responsible for the excess of lung can-
        vanced pneumoconiosis in a 31-year.old man                    cer of types 3 and 4 or for the excess of only type 4.
        secondary to the inhalation ofpolyivinyl chloride)            .\ model was specifically developed for this pur-
        dust. Szende et al. also reported that microscopic            pose. The sensitivity and specificity of the model
        examination of polyi vinyl chloride i dust particles          was demonstrated bv its confirmation of the rela-
        showed them to be morphologically similar to                  tionship between a~giosarcoma of the hver and
        particles found in the patient' lungs.                     - direct vinyl chloride exposure. The authors re-
          Results of epidemiologic studies by Vertkin and             ported that of all 19 chemicals used at the plant.
        Hamontov la8\ and by Mastrangelo et al. 139\                  polyi vinyl chloride i dust was the only chemical
        further support the role of poly' vinyl chloride! in          for which they found a statistically significant
        the etiology of pneumoconiosis. A total of 1216               association with lung cancer mortality and specifi-
        employees of a poly'vinyl chloride i production               cally WIth large-cell undifferentiated lung cancer.
        factory in Italv underwent chest X-ray examina-                  The studies mentioned above suggest that the
        tions. 'of731 e'xamined individuals wich exposure             excess lung cancer risk in the vmyl chloride-
        to poly1vinyl chloride' dust. 20 were diagnosed as            pOlY' nnyl chloride         i industry I:; related to expo-
        having pneumoconiosis. All of these individuals               sure to pOlYI vinyl chloride         i dust. That the dust
        had worked 5 years or more in departments clas-               itself or as a carrier of residual vinyl chloride
        sified as having polyi vinyl chloride! dust pollu-            monomer is a factor in the etiology of lung cancer
        tion. )/0 cases of pneumoconiosis were observed               seems biologically plausible. Polyivinyl chloride)
        among the 485 examined individuals who worked                 dust particles are known to be often in the respi-
        in areas free of pOlYI vinyl chloride     i dust.             rable range-that iS. less than 10 urn in diame-
           The effects of vinyl chloride-polyi vinyl chlo-           ter. Almost all polyivinyi chloridei particles pro-
        ridei exposure on the respiratory 5ystem of ex-              duced by the emulsion system. one of the :;ystems

                                                                                                             D~         v, l'
                                                                                                                        ., () f\




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.. ..,ll. ¡;. .
. TOXlCITl OF ViNYL CHLORIDE A.VD PVC 65
a e facilitv studied bv Waxweiler et al. are in within 1 mile of any facility polymerizing vinyl
the Tespirabie range. These particles could easily chloride or fabricating polyivinyl chloride!. These
settle in the lung and conceivably by themselves study findings are supportive of the role of in-
cause lung cancer. However. it is known that direct modes of vinyl chloride exposure in the
vinyl chlonde monomer becomes entrapped in etiology of liver angiosarcoma.
                           i dust and can be released
polyivinyl chloride
slowly over time. Thus it is also possible that               Summary
poly(vinyl chloride
                    i dust particles in the lung                Adenomas and adenocarcinomas of the lung.
could slowlv release vmvl chloride monomer to                 angiosarcomas of the liver and o,("pther sites.
small adjac~nt areas of the tissue. prolonging th                                             y carcinoma$¥Jlg....
contact time or       that chemical with tissue.                                               addition to various other
  On the basis of these findings. one must sen-               tumors aye een in uced in mice. rats and ham-
ously question the safety of the current OSHA                 sters exposed by inhalation to vinyl chloride. In
standard for poly1vinyl chloride      i dust. i.e.. a stan-   addition vinvl chloride when administered bv in-
dard which treats polyi vmyl chloride i as a nui-             halation haš been found to induce hepatic- and
sance dust.                                                   extrahepatic angiosarcomas at concentrations as
                                                              low as 10 ppm and mammary carcinomas at even
Community Exposure to Vinyl                                   I w co tio s. i.e.. - and 1 m.
Chloride
   Christine et a1. ¡301 reported two cases of he-
patic angiosarcoma in Connecticut having a prob-              increased risk ofliver angiosarcoma and cancer of
able residential exposure to vinyl chloride. One              other sites among i:mployees of vinyl chloride
individual with hepatic angiosarcoma lived                    polymerization facilities. The full magnitude of
within 2 miles of the plant proucing pOlYI vinyl              this site-specific cancer risk among employees of
chloridei-coated wire. while the second indi\'dual            vinyl c~loride polymerizatioi: plants wil only be
lived within 0.5 miles of a plant producing nnyl
s., Each of these two plants also had a cas: ~f
h c angiosarcoma among its labor force. ~ei-                  for liver an~iosarcoma the excess risk is approxi-
ther of these residential cases was known to have             ~at~'t¡I.i~,¡iJ~~I~J:iJ~î~"'W,ii~.la-
had occupational exposure to vinyl chloride or                tion..Ií,II.Uiaiit~Í:,I..-i',Ø_i
arsenic or diagnostic exposure to thorium dioside.              The role of indirect modes of exposure to vinyl
the only three agents known to cause hepatic                  chloride has now been shown to be associated
angiosarcoma in humans. Baxter et al. 131'. in                with an excess risk of cancer. Several cases of
1977 reported another case of lin'r angiosarcoma              liver angiosarcoma have been reported among
in Great Britain who had li,'ed for 6 years withín            individuals (¡\'ing In close proximity i less than l
half a mile of a piant manufactunng poly' nnyl                milesi to facilities polymerizing vinyl chloride or
chloride'. On the basis of these observations.                fabricating polyi vinyl chloride i. .\ recent epide-
Bradv et al. ,n i In 19Îi undertook a stud\" m                mjolo~ical study has demonstrated that 50'( or
~ew 'York State of 26 confirmed ca,:es of hepatic             females with liwr angiosarcoma 15101 Ii"ed
angiosarcoma. Controls comprised of individual,;              withm 1 mile of such industrial factlities.
who had an internal mali¡rnant tumor other than               whereas none of their matched control did so.
primary li,'er cancer we;i: matched with index                   Experimental bioassay and epidemio!ogical
cases on the basis of age at díagno:.is. race. ,:ex.          "tudies have shown a high concordanci: for the
 place of residence and vital "tatus. This study              carcinogenicity of VInyl chloride. specificall.\' for
showed a statistically significant a,,:;ociation b~-          liver ang-iosarcoma This excess of1iver ung-iosar.
 tween anii1O:;arcoma of the li\"eT and direct I)CCU'         coma ha~ been shown to persist from the poïymer.
 pational ór therapeutIc exposure to arsenic. two             ¡zation of vinyl chlonde to thi: ri:sidence In near
 cases i. "invl chloride . three case:;' and thorium          proximity to :ouch L~ci¡ities.
 dioxide' tw'o case" i In addItion. thi:. ='tudv demon.          Both experimental .ind E-pidemiolog-ical data
 strated that of ten íi:male ca,;es of liver ~in~iosar-       indicate that P\'( du,;t i" probably as,;ociated
 coma i no direct occupational or therapeutic expo-           with respiratory etft:ct~. both neoplastic and non.
 sure to ..in..l chloride. arsenic or thorium dioxide i       ní:oplast ie in narur"
 Clne lived ";nhin 1-;00 ft of a \"inyi chloridt' PO!'"
 rnerizarion Diant .lnd four Iin,d tnim Suo to ";.")IIU                                 HErEHE:\TES
 ft. poly; vinyl chloridt i fabricaiion plàm. In
                                                               1 L ~ T.l.ritl lllmml:""liin lt.n..u.. ot lh 1:'" j:id III ()tht"l
 (;0 t. none of tht¡r matched C'ontrol" J!\'t'd                  :-\'nih"'11l' ()rc-..nIL' \ '~t"mit'.il.. ~~:!7 tirid (ntiirmci.tH,in     ~~ 391



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             Exhibit 78: 12/8/1983 (CCR 011378 - 011379)
Conoco IOC (T.J. Chester, M.D. to Grumbles) re: Review of German Paper on Mortality
  Among Vinyl Chloride Workers and PVC fabrication workers demonstrating hugely
 increased statistically significant rates of BC, lymphoma, and various other cancers




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                                                        (conoco)
        Interoffice Communication
        To T. G. Grules                                           '\~,
        From T. J. Chester, M.D., M.P.H.                                           :t
                                                                                  . \.
                                                                  -~ r ¿~'ì" \)
        Oat.          Decemer 8, 1983                                 ./

        Subject   ~111'... .               ON MORTlILITY AMONG VINYL CHLORIDE WORKERS

        AS you requested, r have reviewed the translation of the paper "Vinyl
        Chloride Exposure and Mortality of German Chemical Industry Workers Compared
        to the Mortality of Non-Exposed Chemical Industry Workers and PVC Workers"
        by E. Grieser, W. Reinl and H. Weber in Zentralbl. iirbeitsmed.
        1\rvei tsschutz . 32, no. 2: 44-62 (1982). This is a historical cohort study
        involving three cohorts. The three cohorts are workers exposed to vinyl
        chloride monomer, workers in PVC fabrication and a control group of chemcal
        industry workers not exposed to vinyl chloride monomer or PVC. Each cohort
        was compared to the 1968 standard west Germn population. using standardized
        mortality ratios (SMR). No direct statistical comparison was performed
        comparing the exposed and unexposed cohorts.

        The study reports three~.IIIL ... which may be of interest to
        Conoco. Malignant tumors of the 11" ìlB -"II~ Wil increase in VCM
        workers when compared to the standard West Germn population. The PVC
        workers and the unexposed chemical workers showed an app."oximate four-fold
        increase in malignant liver tumrs. comared to the West German population.
        The marked increase in VCM workers is entirely consistent with the well
        known fact that VCM causes angiosarcoma of the liver. A slight increase in
        malignant tumrs of the digestive system can also be entirely explained by
        the marked increase in tumors of the liver.



                             rresponding increase in PVC workers or unexposed
        chemical workers. No such increases in leukemias and lymphoms were show
        in previous epidemologic s


        Since there are some references in the literature concerning lead and other
        heavy metals possibly causing brain tumrs, i would suspect that this
        increase is more likely due to expsure to these or other substances which
        are found in the PVC f~e1!~'fi¡çr:pr8''el!9$s, rather than exposure to VCM or
        PVC.

        As with all epidemiologic studies we must be cautioned that this study shows
        only associations and does --- demonstrate a cause and effect relationship.
        Furthermre. this study as with many studies using this type of methodology
        suffers from problems of multiple testing effect and other method01ogic
        problems. This study also must contend with problems with the methods of
        death reporting and coding of death certificates in West Germany.


                                                                      CCR 000011318
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                   T. G. Grules
                   Page 2
                   December 8, 1983




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                                                                                                      )J"':,. '

                    In view of the fact that we already control VCM exposures because of its ~-! ~N!"'r
                   known causal relationship to angiosarcoma of the liver, I do not believe' ,~''--l
                   that any additional control is necessary, based on the informtion provided - r l\; ~ ¡-
                   by this paper. Of course you have a greater expertise in this area than I
                   do and I defer to you on this matter. Ii ,.0"_" - IT ,_&,~~",Ll__#3' jl



                                   Since these tests are currently routinely performed as part
                    of these examinations, this will lliRhê1ì'ifm';tlE'JjJnt_IJWii~ for the
                    company.       I have discussed this matter with Ors. Whetstone and Drumright
                    and they concur in this recommendation.

                    J hope that this review has provided useful informtion for you.         J f you
                    have any questions, please do not hesitate to contact me.



                   ~/~
                    Thoma~ J. Chester, M.D., M.P.H,
                    Director
                    Health Informtion Systems

                    mw


                    cc:    w. O. Broddle. Ph.D.
                           E. L. DeWhitt, Ph.D.
                           J. R. Druright, M. D.
                           J. L. Riddle. Ph.D.
                           c. L. Whetstone, M.D.




                                                                                   CCR 00001137Q




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                        Exhibit 79: 2/21/1984 (R&S 002490 - 002496)
ICI (Bennett) to Dow (Torkelson) re: "Toxicity of Vinyl Chloride and Polyvinyl Chloride: A
  Critical Review" by Wagoner (formerly NIOSH) who not only repeated the previous
   consensus in the independent medical community that VCM caused BC as well as
numerous other cancers but actually accused the American Vinyl                           Industry of concealing
                                         and misrepresenting the hazards of VCM




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                                                                                                           Imperial
-.     Hilhous Site
       PO Box No 41lorntn -Clelevs
       Blackpol FY54QD
       Telephone: Clevelevi (ST Coe 0253) 856161
       Telex 6748 IcipllS ClvlY'
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       'Dr T R Torkelson, Sc.D
       Toxicology/Medical Liaison
       Health and Environmental Sciences
       Dow Chemical USA
       1803 Building
       MIDLAND
       Michigan 48640
       USA
       Your ref              Our re BB/MO                 Tel ext                  332                      Date               21 Feb 84


       Dear Dr. Torkelson,

                      F VINYL CHLORIDE AND POLYVINYL CHLORIDE                            inllllll:llliW.
                                                                                          ë~' Mj¡ ",~,*~~,";:_ ~;:.¡ - ;:~ .



       I have recently received this Wagoner Paper. I felt you might like to
       have a copy, in case you have not already seen it.

       I am also enclosing a copy of Dr.
       present, I agree with Georf that

       Yours sincerely,



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       Si te Medical Adviser
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      file no
                                 Toxicity of Vinyl Chloride and Poly(vinyl                                                                                                                                                 Ao
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     ie risks
                                 Chloride): A Critical Review                                                                                                                                                              oo
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     rogram
     )utting                                                                                                                                                                                                                ol
     discus-                     by Joseph K. Wagoner*                                                                                                                                                                     ..
                                                                                                                                                                                                                           CD

     schizo-
     'hen, if
     :xpect-
      public
     =Id ex-
     recog-
                                              clem ." ,'.
                                                        , .
                                                In 1974, vinyl chloride (VCl was first reported in the open scientific literature to induee
                                              angiosarcoma of the Ih'er both in humans and in animals. Additional research has now


      would                                          e ;Ilvï enct' or a carcinogenic risk has been extended to jobs associated with
                                              poly(vinyl chloride) exposure. Cases of liver angiosarcoma have been repor&. amone
     estion                                   individuals emplo)'ed in PVC fabrication facilties and an epidemioloeical study ba.
                                              demonstrated a siimificant association between exposure to PVC dust e.nd the risk of lung
     ocern-                                  , cancer mori.lit)" Cases of angiosarcoma of the liver also have been reportd among
     ¡oubly                                    individuals living in near proximity to vinyl chloride.poly(vinyl chloride) plants.
      think                                     An association between PVC dust and pneumoconiosis also has been demonstate On
     ìentlv                                   the basis of findings, prudent control of PVC dust in the industral setting is indicate

     ical":
     -reI   a-
     to oc-                   Laboratory Bioassay
     ?s up,
     . So i                     In 1971, 44 years after vinyl chloride was intro-
     ologi-                   duced into American commerce (1), 24 years after
                              vinyl chloride was shown to cause cardiac
                              arhythmia in experimental animals (2), 22 years
                              aftr vinyl chloride was reported to be associated
                              with hepatIi abnormalities in workers in a Rus-
                             sian plastic factory (3), 14 years after toxic an-
                                                                                            ¡r""il8\IIi¿ . il, . J1~. . iiona
                                                                                            ,..'...............'.'......'.'...................~............'.-.....'-. ..."...'....l.""¡¡...¡¡-I'..."lIi '. """".', Add't' 1

                                                                                              ongoing studies involving vinyl chloride expo-
                             gioneuropathy was noted among workers exposed                    sures 0(20,000,10,000,5,000,2,000,500 and less
                             to vinyl chloride below the then Russian maxi-                   than 500 ppm were also descbe to those same
                             mum allowable concentration of 390 ppm (4), 11                  companies. In like manner, Maltoi, in 1972,
                             years after the vinyl chloride production proes                 upon noting angiosarcoma of the liver and cancer
                             was associated with a severe neurologic disorder                of other sites in rats exposed by inhalation to
                             in Minamata, Japan (5), 10 years after vinyl                    vinyl chloride at lower concentrtions, also had
                             chloride at concentrations down to 200 ppm were                 transmitted his findings to the Manufacturing
                             reported to cause centrilobular granular de-                    Chemists Association in the Unite States and to_
                             generation cifthe liver (6) and 5 years after vinyl             several chemical companies in Euro €1f. Gov-
                             chloride was shown to induce acro-osteolysis in                 ernment, labor and the independent research
                             workers cleaning reactor vessels (7), Viola et a1.              community were first informed of the expanding
                             (8) reported the induction of tumors of the skin,               carcinogenic properties of vinyl chloride in Janu- -
                             lung and bone in rats exposed by inhalation to                  ary of 1974, when representatives of industry
                             30,000 ppm ofvi?yl ch~oride.                                    announced having found liver angiosarcoma in
                                                                                             three workers who had cleaned reactor vessels as
                             b                                                               part of their employment at a single vinyl chlo-
                                                                                             ride polymerization facilty in the Unite States.
                                                                                             Almost simultaneously, findings of the induction
                                 .Consulting Epidemiologist, 8310 Carrleigh Park"'ay,        of liver angiosarcoma in rats expo to vinyl
                             Springfeld, VA 22152.                                           chloride were made public.




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            The carcinogenic properties of vinyl chloride                                  mortality analysis of 1'61' deceased workers hav.
          were further clarified in 1974, when Caputo et a1.                               ing been employed at one of two plants in the
          (12) reported an increaSlng mcidence of liver an-                                United States producing and polymerizing vinyl
          giosarcoma with an increasing dosage of vinyl                                    chloride, The specific sites of cancer with the
          chloride, Among rats exposed 10 vinyl chloride by                                greatest excess were the liver and biliary tract,
          inhalation, the incidence of liver angiosarcoma                                  with an ll.fold excess;l"ml¡¡-,..¡¡¡¡;-Ilfòi.
          was 3% at 500, 5'* at 1,000, 6% at 5,000, S,* at                                _lthe digestive tract and the lung.
          10,000 and 12% at 20,000 ppm. Among controls                                         In"1'99'5;wNidiolon et a1. (20) published a study
          not exposed 10 vinyl chloride, liver angiosarcoma                               of cancer mortality among 257 individuals occu-
          was not found. In that same year Maltoni and                                    pationally exposed to vinyl chloride for at least 5
          Lefemine (13) also reported the induction of tu-                                years, with the initial exposure having occurred
          mors in mice, hamsters and rats exposed 10 vinyl                                more than 10 years in the past during employ-
          chloride, by inhalati~n.                                                         ment in a U ,5, plant polymerizing vinyl chloride. i:
                                                                                        w'¥Å'2:S~fttld~xee1~.l'f'-ene"of'2ll''Site, AD
                                                                                          combined was demonstrated with three deaths en
                                                                                          due 10 hemangiosarcoma of           the liver. In that same Q
                                          my   i chloride in that study                   year, 8W.et aL. (21) reported the mortality experi. Q
          was shown to induce liver angiosarcoma in rats at                               ence of 549 individuals occupationally exposed to ~
          50 ppm of exposure. Keplinger et a1. (14) in that                               vinyl chloride-poly(vinyl chloride). Whereas no ~
          same year also reported the induction of liver                                  angiosarcomas of          the liver were found, an excess
          angiosarcoma in mice exposed to 50 ppm of vinyl                                 ofdÙl~£Qmbineàwas reported among
          chloride by inhalation. Subsequently, Holmberg                                  those workers classified as having been highly
          et a1. (15) reported the induction of hepatic and                               exposed when contrasted with workers of all
          extrahepatic angiosarcoma in mice following in-                                 other exposure intensities. Among th,e nine can.
          halation expsure to vinyl chloride at 50 ppm.                                                                          workers,
                                                                                          cer deaths in the highly exposed group of
          Shortly thereafr Maltoni (16) extended the car-                                 four were due to lung cancer, In a discussion of
          cinogenicity of ..inyl chloride to lower levels of                              the lltatio.n"w.o"",i.a¥.sud)!, the investigators
          exposure, Vinyl chloride administered by inhala-                                noted that the majority of          workers   in the category
          tion was shown to induce tumors at a variety of                                 "other than highly exposed" had less than one
          sites, including liver angiosarcoma at 25 ppm and                               year of work experience in departments with ex-
          mammary carcinomas at 25, 10, 5 and 1 ppm.                                      posure to vinyl chloride-polyvinyl chloride.
          Recently Maltoni (17) reported the induction of                                      _et a1. (22) in 1975 reported that a study of
          hepatic and extahepatic angiosarcoma at 10 ppm                                  2100 employees of a vinyl chloride polymerization
          of vinyl chloride.                                                              plant in the United Kingdom revealed no excess
                                                                                          of total or cause-specific mortality. In addition to
          Epidemiology                                                                    reporting no excess of cancer mortlity, The in-
          Occupational Exposure: Vinyl                                                    vestigators reported an inverse relation between
                                                                                          vinyl chlorid~ exposure and cancer ~ortlity,.i.e.,
          Chloride Production or
          Polymeriation
          . ~~\JJe same year that the public was first                                                  e results and conclusons or that
          10 orme that vinyl chloride induce liver an-                                    stu y were adjudged by Wagoner et a1. (2) to be
          giosarcoma an                                                                 _I_iand due to the use of faculty analytical
                                                                                          methodology, Upon'iijfial.. of the data in that
                                                                                          study, ji_"Wil.~-n1~4) reported an in-
        , ,L...iJl "wt.l~Yt~. Th~-i
          Gaffey (18) reported that cancers of the buccal
                                                                                          creased risk of cancer of the digestive system
                                                                                          among workers observed 15 years or more aftr
                                                                                          onset of exposure 10 vinyl chloride-poiyevinyl
          cavity and pharynx, digestive tract (primarily                                  chloride).
          liver angiosarcoma), respiratory tract, "eentral                                     Subsequently, Wlrel~'l''m8) reported
          nervous system (primarily brain) and the lym.                                   the results of a retrospective study of mortality
          phatic system .t"j.~ among workers in                                           among a conort of 1294 workers occupationally
          the United stãt:š naV"lngeen employed for at                                    exposed to vinyl chloride in the Unite States.
          least one yea in plants producing and/or polym-                                'Since occupationally induced cancer oft take
          erizing vinyl chloride._Ii._H19) in that                                        years to become clinically miinifest following ex-
          same year reported the results of a proportionate                               posure to carcinogens, the study was restricted to




                 "':::' ...-:æ..._iI.~ .I'.. ....- :', :.,   .. .. ;-~ ~ '.~'~"         . - ¡.. '                                       " .......'..
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                                                              roxicin' OF \'1NrL CHLORIDE AND PVC



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                         ~i i" irlii-llómpe._mime or employ.
                         ment in departments and jobs directly involving
                         vinyl chloride exposure and Wltiiäil:___ime
           t,            e.JLI&~ince onset of ini~ial e~posure. Spe-
           Id
                         cific jobs and departments with vinyl chloride
                         exposure were det.ermined following a walk-
           Iy
           J.
                         through survey and review of the manufacturing
                         process, engineering controls and air-sampling
                                                                                                 . permit a
                                                                                   clear evaluation of those carcinogenic effects at
                                                                                                                                                           f

                         data for the plants studied. When analyses were           that time.
            5            based on the total study cohort, only two major             Epidemiological investigations have now
           ~d
                         causes of death were in excess: nonneoplastic             clearly demonstrated that laboratory bioassay


                                                                                   tar et or . e
           y-            res irator' disease (6 observed vs. 3.4 ex ected)         findings were predictive not only for the carcino_
           e.
                                                                                   genicity or   vinyl chloride, but also for several of
          es                                                                                                                                         the
          ns                                                When analy-
          1e
                          ses were made according to site of malignancy
          -i.             and l_I(interval since onset of exposure), an
          to
          no
          ss                                                                       Occupational Exposure: Poly(vinyl
          "lg
                                                   excessive mortality was sta-    Chloride) Packing and Fabricating
          Jy              tistically" .",.".",,...L'f thr~e ,,?f thef?':~,,?Tga?     Christine et al. in 1974 reported (30) two histo.
          ill
          n-
                          systems, i.e., cancer of the -l~_                        pathologically confirmed cases of hepatic an.
                          l_liÛìQ.w¡ømìf¥~L ,:eplí_rnNat.i-",1,r among             . giosarcoma in Connecticut among individuals
          rs,             workers who had been observed 15 years or more
          of                                                                        who had been employed in industrial facilties
                          since onset of exposure. During the course of the        that used poly(vinyl chloride). One of these indi-
         ¡rs              study by Waxweiler et aI., an evaluation was             viduals, a 47-year-old man, had wor-ked for the
          ry              made of    the )JÙl~at underlying each neo-              previous 10 years as an accountant in a factory
         ne               plasm identified. Of the 14 cases of liver cancer        producing vinyl sheets and processing poly(vinyl
         ~x-
                          identified, 11 were dia osed as angiosarcoma. Of         chloride) resins, This individual had frequently
                                                                         re        visited the plant's production area. The second
         . of             s                                                        individual, a 51-year-old man, had spent 25 years
          on               Furthermore, of eight lung cancer cases histologi-      in an electrical plant operating a machine that
         ess               cally confirmed, all were large cell undifferenti-      applied poly(vinyl chloride)-containing plastic to
          t£            Ii ated or adenocarcinoma in type.                         wires, In 1977, Baxter et al. (31), in a review of14
         in-                  (j!ll-K"al. (26) in 1976 also reported a statisti-   cases of hepatic angiosarcoma diagnosed in Great
         ien              cally significant excess of liver-pancreatic and         Britain during 1963-73, noted one case who had
         .e.,             brain cancer deaths among 771 workers employed           worked on a process which used poly(vinyl chlo-
     Ie-                  in a Swedish vinyl chloride/poly(vinyl chloride)         ride) as a raw materiaL.
     cer                  prouction plant. Thes investigators reported               In 1975, Selikoff wrote to NIOSH suggesting
     1at                  that this excess appeared within the first 5 years       that appropriate precautions be taken to avoid
      be                  aftr onset of exposure to vinyl chloride.                the inhalation ofpoly(vinyl chloride) dust, both in
     cal                       m&'1.,I'._~et a1. (27) reporte the                  the packaging and transport and in its handling
     nat                  results of a study of cancer mortlity among 7021         during the manufacture of poly(vinyl chloride)
     in-                  males employed in the production and polymeri.           products. Selikoff based his suggestion on the
     em                   zation of vinyl chloride. When compared to the           results of studies by Lilis et al. (32) and Miler et
    ìer                   mortality experience of the West German male             aL. (33) showing radiographic and pulmonary
    nyl                   population, vinyl chloride-poly(vinyl chloride)          function changes among vinyl chlorides-poly(vi-
                          ex sed workers ex erienced a                             nyl chloride) workers and on the findings of a
    led                                                                            poly(vinyl chloride) inhalation toxicologic study
    lity                                                  . _,il J,Øøl~            by Frongia et aL. (34). This latter investigation
    lily                  l~, in 1977 also reported the results of the             showed that rats and guinea pigs, exposed in the
    les_                  study of cancer mortality patterns among 7561            same occupational setting as workers who were
    ake                   males who, at some time bet.ween 1940 and 1974,          employed in fillng sacks with poly(vinyl chloride)
    ex-                   were employed at.o.eoLIoUT plants producing              powder, subsequently developed alveolar reac-
    Ho                    poly(vinyl chloride). An excess mortality from           tions and septal thickening, This investigation




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           also showed that 7 months after their initial              posed workers seem to indicate a pattern of non- ::
           exposure, both species exhibited granulomatous             neoplastic effects, a granulomatous reaction to AD
           changes, with finii granules observed intracellu.          polylvinyl chloride) dust, with inclusion of poly- f/
           larl)'. Agarwal et a1. (35) in 1978 demonstrated           (vinyl chloride) particles in macrophages and his. 0
           that intratracheal administration of poly(vinyl            tocvtes, and associated interstitial fibrosis. 0
           chloride) dust in rats resulted in an increase in            The long-term carcinogenic effect, with a sig- ~
           the activity oflysomal enzymes, interstitial fibro-        nificant increase in lung cancer also is of concern. CD
           sis and granulomatous lesions surrounded by fi.            In 1978, Waxweiler et a1. (40) reported the results .i
           broblasts, reticulin and collagen fibers, Pulmo-           of a study of lung cancer at a single vinyl chlo.
           nary disorders possibly associated with exposure           ride-poly(vinyl chloride) facility. One objective of
          to poly(vinyl chloride) resins produced by the              this study was to determine whether there was an
          emission process might by expected. as dust sam-            excess risk of lung cancer of a particular histolog-
          ples taken by NlOSH during the bagging of poly.             ical type at the plant. A case control study showed
          (vinyl chloride) resin have shown concentrations            8 clear excess of type 3 (adenocarcinoma) and type
          ranging from less than 1 up to 19 mg/m3, with               4 (large-cell undifferentiated) lung cancers in
          about 90% ofthe particles being smaller than 2.5            cases occurring among plant employees as com-
          l!m and 100% smaller than 7 !lm in diameter.                pared to other lung cancer cases from the same
             In 1978, Arna'ud et a!. (36) reported a case of          hospital of diagnosis. matched for age and calen-
          pneumoconiosis in a 53-year-old man who had                 dar period of diagnosis. The authors noted that
          been exposed to poly(vinyl chloride) in the bag-            adenocarcinomas of the lung, accounting for a
          ging area of a VC polymerization plant. This                minor proportion of this excess risk, have been
          patient presented with exertiona) dyspnea, pul-             shown to be at most only weakly relate to ciga-
          monary function changes, and chest radiographic             rette smoking; some studies have shown no asso
          abnormalities. Electron microscopy of lung tissue           ciation at alL. The authors also noted that large-
          obtained by drm biopsy showed foreign particles             cell differentiated carcinoma of the lung,
          in the macrophages that were identical to poly(vi-          accounting for the vast majority of the excess
          nyl chloride) powder viewed under the electron              lung cancer risk, is the only major histological
          microscope. In vÜro incubation ofpoly(vinyl chlo-           type that has never been relate to cigarette
          ride) powder with human lung macrophages                    smoking by epidemiologic study. Thus, they con.
          showed that the macrophages engulfed the pow-              cluded that cigarette smoking was not a major
          der to give an appearance similar to that seen in           confounding variable in the study.
          viI). The authors noted that the histological le-             A further study was made by Waxweiler et 81.
          sions in this patient were identical to those re-          to test whether one or more chemicals use at the
          corded by Sznde et al. (37), who diagnosed ad-             plant were responsible for the exces oflung can-
          vanced pneumoconiosis in a 31-year-old man                 ceroftyps 3 and 4 or for the excess of only type 4,
          secondary to thE! inhalation ofpoly(vinyl chloride)        A model was specifically develope for this pur-
          dust. Sinde et al. also reported that microscopic          pose. The sensitivity and specificity of the model
          examination of poly(vinyl chloride) dust particles         was demonstrated by its confirmation of the rela-
          showed them to be morphologically similar to               tionship between angiosarcoma of the liver and
          particles found in the patient's lungs.                    dire vinyl chloride exposure. The authors re-
            Results of epidemiologic studies by Vertkin and          porte that of all 19 chemicals use at the plant.
          Hamontov (38) and by Mastrangelo et a1. (39)               poly(vinyl chloride) dust was the only chemical
          further support the role ofpoly(viny) chloride) in         for which they found a statistically significant
          the etiology of pneumoconiosis. A total of 1216            association with lung cancer mortality and specifi-
          employees of ii poly(vinyJ chloride) production            cally with large-cell undifferentiated lung cancer,
          factory in Italy underwent chest X-ray examina-              The studies mentioned above suggest that the
          tions, Of731 ei:amined individuals with exposure           excess lung cancer risk in the vinyl chloride-
          to poly(vinyl chloridel dust, 20 were diagnosed as         poly(vinyl chloride) industry is related to expo-
          having pneumoconiosis. All of these individuals            sure to poly(vinyl chloride) dust. That the dust
          had worked 5 years or more in departments clas-            itself or as a carrier of residual vinyl chloride
          sified as having poly(vinyl chloride) dust pollu.          monomer is a factor in the etiology of lung cancer
          tion. No cases of pneumoconiosis were observed             seems biologically plausible. Polylvinyl chloride)
          among the 485 examined individuals who worked              dust particles are known to be often in the respi-
          in areas free of   po lye   vinyl chloride) dust.          rable range-that is, less than 10 ¡im in diame-
             The effects of vinyl chloride-poly(vinyl chlo-          ter, Almost all poly(vinyl chloride) particles pro-
          ride) exposure on the respiratory system of ex-            duced by the emulsion system, one of  the systems




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.                                                            TOXICITY OF \'I.\TL CHLORIDE A)'D PVC                                              65

        non- .             at the facilitv studied bv Waxweiler et a!., are In            within 1 mile of any facility polymerizing vinyl
      on to               the respirabie range. These particles could easily              chloride or fabricating poly(vinyl chloride). These
    APoly-                settle in the lung and conceivably by themselves                study findings are supportive of the role or in-
    _his-                 cause lung cancer, However, it is known that
                          vinyl chloride monomer becomes entrapped in
                                                                                         direct modes'of vinyl chloride exposure in the
                                                                                         etiology of liver angiosarcoma.
      I sig-              poly(vinyl chloride) dust and can be released
       cern.              slowly over time. Thus it is also possible that                Summary
      'suIts              poly(vinyl chloride) dust particles in the lung                  Adenomas and adenocarcinomas of the lung,
       chlo-              could slowly release vinyl chloride monomer to                 angiosarcomas of the liver and of other sites,
       ve of              small adjacent areas of   the tissue, prolonging the           lymphomas, ma!,m!'ry ca~c~nomas, :iic._, ..blä&"
      :is an              contact time of that chemical with tissue.
       olog-                 On the basis of these findings, one must seri-
       Jwed               ously question the safety of the current OSHA                        exposed by inhalation to vinyl chloride. In
       type               standard for poly(vinyl chloride) dust, Le., a stan.           addition vinyl chloride when administered by in-
       's In              dard which treats poly(vinyl chloride) as a nui-               halation has been found to induce hepatic and
       com-               sance dust.                                                    extrahepatic angiosarcomas at concentrations as
       .ame                                                                              low as 10 ppm and mammary carcinomas at even
       den-               Community Exposure to Vinyl                                    lower concentrations, i.e., 5 and i ppm,
       that               Chloride
       or a                                                                                                                           n
      )een
      :iga-
                             Christine et a1. (30) reported two cases of he-
                          patic angiosarcoma in Connecticut having a prob-
                          able residential expOSUre to vinyl chloride. One
                                                                                                        o  iver~J_i._I:IPf
                                                                                                        mong emp oyees""orvinyl'Cllonde
      ISSO-               individual with hepatic angiosarcoma lived                     po ymerization facilties._lIí~.II.: ' r
       rge-               within 2 miles of the plant producing poly(vinyl               this site-specific cancer risk among employees of
       ing,               chloride)-coated wire, while the second individual             vinyl chloride polymerization plan '
       cess               lived within 0.5 miles of a plant producing vinyl              :dew.m~i;wiQJJ, .:., .,
       'ical              sheets. Each of these two plants also had a case of            Nevertheless, studies already have shown that
       ette               hepatic angiosarcoma among its labor force. Nei-               for liver angiosarcoma the excess risk is approxi-
       :on-                         these residential cases was known to have
       ajor
                          ther of
                          had occupational exposure to vinyl chloride or                 n:ate¡J~y~..t~.~:l,2!:~:~J:~':;:~::ppp,~,la.
                                                                                         t)on.i '.í--ù';;: ,.,' ;ie.UISITSlWlllfi'I
                          arsenic or diagnostic exposure to thorium dioside,               The role-fiirèël-mo-ces 'õrëXpsure:.fõ vinyl
    .a1.he                the only three agents known to cause hepatic                   chloride has now been shown to be assciated
                          angiosarcoma in humans. Baxter et a1. (31), in                 with an excess risk or cancer. Several cases of
       'an.               1977 reported another case of liver angiosarcoma               liver angiosarcoma have been report among
       e4,                in Great Britain who had lived for 6 years within              individuals living in close proximity (Jes than 2
       .ur-               half a mile of a plant manufacturing poly(vinyl                miles) to facilties polymerizini vinyl chloride or
       ,del               chloride). On the basis of these observations,                 fabricating polyivinyl chloride). A recnt epide-
       ~Ia-               Brady et a1. (41) in 1977 undertook a study in                 miological study has demonstate tht 50~ of
       lOd                New York State of 26 confirmed cases of hepatic                females with liver angiosarcoma (6/10) lived
        reo               angiosarcoma. Controls comprised of individuals                within i mile of such industrial facilties,
       .nt,               who had an internal malignant tumor other than                 whereas none of their matched contrl did so.
       cal                primary liver cancer were matched with index
       lOt                cases on the basis or age at diagnosis, race, sex,
       :ifi-              place of residence and vital status. This study                                    vinyl chloride, specifically for
       'er.               showed a statistically significant association be-             liver angiosarcoma. This excess ofliver angiosar-
       .he                tween angiosarcoma of the liver and direct occu-               coma has been shown to persist from the polymer-
       Ie-                pational or therapeutic exposure to arsenic (two               ization of vinyl chloride to the reidence in near
       JO-                cases), vinyl chloride (three cases) and thorium               proximity to such facilities.
       ist                dioxide (two cases). In addition, this study demon-               Both experimental and epidemiological data
       de                 strated that of ten female cases ofliver angiosar-             indicate that PVC dust. is probably assoiate
       :er                coma (no direct occupational or therapeutic expo-              with respiratory effects, both neoplastic and non.
       Ie)                sure to vinyl chloride, arsenic or thorium dioxide)            neoplast.ic in nature.
       Pl-                one lived within 1700 ft of a vinyl chloride poly- _
       ie-                merizarion plant and four lived from 500 to 4500                                   REFERENCES
       '0-                ft of a poly(vinyl chloride) fabrication plant. In
                                                                                         1. U.S. Tariff Commission. Census or Dy and of Oiher
       ns                 contrast, none of their matched contrls lived                     S)'nthl'iic Organic Chl'micals, 1927. hri Informaiion


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          Exhibit 80: 3/17/84 (R&S 132543 -132555)
          Handwritten Dow notes on studies involving brain cancer




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          Air Products and Cnemicals. Inc.                                                             AIR ,,.
          Box 536
          Allentown. PA 18105
          Telechone (215) 481-4911
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                                                     21 February 1986


               Dr. Has Shah
               Chemica 1 Manufacturers Association
               2501 M street. N.W.
               Washington. D.C. 20037

               Dr. Roy Gottesman
               The Vinyl Institute
               Wayne Interchange
               Plaza 11
               155 Route 46 West
               Wayne. NJ 01410

               Sirs:
                    You may wish to br1ng the attached paper to the attention of your various
               committees interested in vinyl chloride health effects. It describes VC as
               the only recognized central nervous system carcinogen.

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                                                 J~h~'T. Barr. Manager
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               Enclosure: Moss. J. Toxicol. Environ. H. Ii 703-111 (19B5)




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                                                   OCCUPATIONAL EXPOSURE AND BRAIN TUMORS
                     i
                                                  Andrew R. Moss . .
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                                                  University of California, San Francisco, California
                     I
                                                  Epidemiological evidence of an Occupational risk of brain cancer has been reported
                                                  in four mdustries where chemical exposures are likely. most recently m a sefles of
                 ¡                                prospective studies m the petrochemical mdustry. However, only in the case 0; vmyl
                 i                                chloride eicposure has an OCcupational central nervous system carcmogen been iden-
                                                  tified. This report rt'i'iews the convergence of epidemiological and laboratory ei'i.
                                                 dence that established the occupational carcinogenicity of vmyl chlonde, and dis-
                                                 cusses in detail the cummt t'Vldence for an occupational risk of brain tumors in the
                                                 petrochemical mdustry. .
                                         INTRODUCTION



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                                        Primary brain tumors of the glioma series, which make up about
                                   half of all brain tumors, show a male-to-female ratio of about 1.5 to 1,
                                   Brain tumors in general appear to be increasing in incidence among
                                   older cohorts (Waxweiler et aI., 1983). Thus brain tumors in general,
                                   and glioma series tumors in particular, are sometimes considered as a
                                   priori likely suspects in the search for occupationally related tumors.
                                   Furthermore, gliomas can be produced experimentally in rats by at least
        i
                                   four groups of experimental chemicals: aromatic hydrocarbons, N~ni-
                                  troso compounds, triazenes,and hydrazines'. More recently, brain tu-
                                  mors including  gliomas have been shown to be produced by inhalation
                                  in rats by three industrial chemicals, bis(chloromethyl) ether, vinyl
                                  chloride, and acrylonitrile (Maltoni et aI., 1982). These experimental
                                  results, together with the established history of brain-tumor carcino-
                                  genesis in vinyl chloride workersl' have led many resecirchers to lend
                                  at least preliminary credence to reports of brain tumors occurring in
                                  other industries where there are chemical exposures. Most recently, a
                                  series of studies have suggested excess risk of brain tumors in the
                                  petrochemical industry.
                                       Evidence suggesting an excess of brain tumors has now been re-
                                 ported for at least four occupational groups: rubber workers (begin-
                                 ning with Mancuso's investigations in the 1950s), chemists, vinyl chla-

                                      This research was supported in pan by grant' ROl OH 01557 from the Nahonal In~iliUii' 'iir
                                 Occupational Safety and Health.
                                      Requests for reprints should be sent fo Andrew R. Mo~s. Epidemiologv .lnd Inh'rr.,"11 "1.11
                                 Health, UCSF, San Francisco General Hospital, 995 Potrero Avenue, Bld~. 80, \\,ird 1\. ...111 I r.I:1-
                                 cisco, California 94110,


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               OCCUPATIONAL EXPOSURE AND BRAIN TUMORS                                          10S


               was then 20-25 cases/yr, the appearance of 3 cases among a ~mall group
               of workers prompted considerable concern, Furthermore, concurrent
               studies by Viola (1971) had shown skin, lung, and bone tumors in rats
               exposed to VC by inhalation, (Viola's carcinogenesis studies were re.
               portedly an outgrowth. of his work on acroosteolytis in VC.exposed
               workers. Hepatitis-like liver changes had been reported as early as 1949
               (Nicholson, 1977).).
                     Following Viola, Maltoni demonstrated angiosarcomas in rats ex.
                                                                 was communicated
               posed to VC in 1972 (Maltoni et aI., 1982). This result

               to the Manufacturing Chemists Association, which following the dis-
               covery of the third case at B, F, Goodrich, made public the finding of
               three cases of angiosarcoma in VC-exposed workers in the Wall Street
               Journal. With this announcement, a major effort began to study vinyl
               chloride workers, including a National  Institute of Occupational Safety
               and Health (NIOSH) follow-up study of 1294 workers with extensive VC
               exposure in four plants. A concurrent histopathology study reviewed
               tumors reported on death certificates of all workers in the four plants.
                   The NIOSH study, published in 1976, showed very high relative risks                     L
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               in the category "biliary and liver cancer." The relative risk was 11 for                   C\
                                                                                                          ,.
               workers with 10 or more years of exposure and 16 for workers with 15
               or more years of exposure. Furthermore in the concurrent histopa-                          u:
               thology study, 11 of 14 reported liver and biliary cancer cases on death                   CI
                                                                                                          a:
               certificates were ASL (Waxweiler et aI., 1976). These observations have
               remained the primary epidemiological basis for the assertion of the
               carcinogenicity of vinyl chloride.
                    However the study also observed a significantly increased relative
               risk for brain tumors, with 3 observed and 0,6 expected among workers
               exposed more than 15 years. At the same time Maltoni (1976a) reported
               that brain tumors as well as ASL could be produced in rats exposed to
               VC by inhalation, Furthermore the NIOSH histological study showed
               that 9 of 10 brain-cancer deaths in the VC worker cohort were glioblas-
               toma multiformes (the most commonly occurring tumor in the glioma
               series), This proportion was thought to be unusually high, (However, it
               has been shown that the expected proportion of glioma.series tumors
               in such a series depends heavily on the number diagnosed at autopsy
               (Schoenberg et aI., 1978)), These results were sufficient for the devel-
               opment of a reasonable consensus that brain tumors as well as ASl
               were associated with VC exposure. The primary evidence in the devel-
               opment of the consensus was the correspondence between the human
               data and the laboratory inhalation studies, in which the exposure levels
               were thought to be close to human occupational exposures, (see, e.g.,
               Wagoner and Infante, 1977). Vinyl chloride is the only occupational
               chemical carcinogen for which a correspondence exists.
                    Waxweiler et al. (1983) also note that in the 9 glioblastoma multi.
               forme cases identified in the VC workers histology study, the average


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                   OCCUPATIONAL EXPOSURE AND BRAIN TUMORS                                           707


                   and in the ensuing controversies over environmental carcinogenesis
                   the atmosphere became polarized between industry and govern-
                   mental-union forces, As a result, competing industry and govern-
                   ment-union studies were set up in several of the exposed petrochem-
                   ical cohorts in Texas' and louisiana, When a meeting was convened at
                   the New York Academy of Sciences in 1980 to review the studies, a
                   total of eight were presented, four from each group, The four govern-
                   mental-union studies uniformly indicated a twofold risk of brain
                   cancer among petrochemical workers; the four industry studies uni-
                   formly failed to detect any excess risk, "To the innocent observer,"
                   Science reported, "the crisp pattern of falling chips appeared at first
                   sight to display blatant gerrymandering" (Lewin, 1980). It was also true,
                   however, that the range of methods and cohorts involved was consid-
                   erable and that there was extensive methodological disagreement.
                   Reeve et al. (1985) reviewed the issues. The p.rimary methodological
                  questions were (1) the tendency of proportional mortality studies, as
                  carried out by NIQSH, to inflate cancer risk, and (2) the tendency of
                  industry-wide cohort studies, as carried out by the industry groups, to
                  bury small groups of at-risk workers in very large cohorts. These issues
                  were not resolved as, with the new Federal administration in 1981,
                  NIQSH capacity to continue the epidemiology studies was lost. With
                  no pressure from the regulatory side, the industry studies appear to
                  have slowed down also,
                      However, most of the proportional mortality studies were eventu-
                  ally converted to standardized mortality form, and a review of these
                  studies is now possible, Savitz and Moure (1984) have recently reviewed
                  the six prospective studies of refinery workers that were initiated by
                  labor-governmental and industry groups in 1979-1980. Table 1 is
                  adapted from Savitz and Moure, with the addition of results from two
                  studies of petrochemical plant workers, those of Waxweiler et al. (1983)
                                                             Thomas et at. (1982); remains
                  and Reeve et al. (1983), (One study, that of

                  a proportional mortality rate study (PMR): the others use standardized
                  mortality ratios.)
                       All cohorts of petrochemical workers had low overall mortality, as
                  is generally the case in studies of "healthy workers," and six of the
                  seven for which all-site cancer mortality or incidence were reported
                  showed lowered total cancer rates. (The exception was the PMR study
                  of Thomas et al. (1982),) However, brain.tumor rates were elevated in
                  all but two of the studies, the exceptions being the refinery-wide study
                  of Wen et al. (1983), which included salaried workers, and the industry-
                  wide study of the British petrochemical industry by Rushton and Al-
                  derson (1981), There was additional evidence of an association in more
                  detailed substudies. Thus Savitz and Moure (1984) note that while Hanis
                  et al. (1982) report an overall relative risk of 1,02 for brain tumors in
                  their~study of the Baton Rouge Exxon refineries, a more highly exposed


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                 OCCUPATIONAL EXPOSURE AND BRAIN TUMORS
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                 all-sites relative risk of 0,88. Furthermore, Wilkinson et al. (1983) ob-
                 served a tripled risk of brain tumors at the Rocky Flats nuclear plant,
                and Austin (1981) observed a tripled risk of melanoma at the lawrence
                livermore laboratory~. Attempts to explain these risks by radiation ex-
                po~ures have proved generally unsuccessful; the similarity with the
                pattern of risk among petrochemical workers suggests that perhaps the                                :i
                cause is in some other aspect of the fabrication process,                                            Ao
                                                                                                                     en
                      CONCLUSION                                                                                     -i
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                   Although this review suggests that the issue of brain tumors in pet-                              c.
                rochemical workers is at least worth further study, most of the pro-                                 c.
                                                                                                                     w
                spective studies appear to have been dropped. However, a second
                wave of large case-control studies of occupational exposure in brain
                tumors has now been set in motion (see Table 2)" In these studies, all
                brain-tumor cases or deaths in a specific case-finding area over a spe-
               cific period are interviewed, either in person or by proxy, These large
               studies may eventually resolve the issue of whether there is a genuine

           TABLE 2. Case-Control Studies Currently In Progress of Occupational Exposure in Glioma Patients

                                                 Number of     Number of          Source
           Investigator                 Site       cases        controls          of cases            Location
           Thomas, T. L., Ncr     eNS                60              60      Death                New Jerseyi
             Environmental
                                                                              cenificate            louisiana
             Epidemiology
             Branch
           Preston-Manin, S"     CNS                 300             300     Incidence            Los An~eles
             University of
             Southern                                                                               County
            California
           Moss, A. R.,          Clroma              50             500      UCSF clinical        Northern
            University of                                                      cases .and death
            California. San                                                                        ealifornia
                                                                               cenificates
            Francisco
           Butter, P.,           Clioma             650             870      Incidence
             University of                                                                        Coastal Texas
                                                                                                    and LouisianOl
           Texas
          Ahlbom, A.,
           Hudini;e
                                Brain               150             30      Clinical cases        Hundini;e
                                                                              in 2 hospitals
           University
           Hospital,
           Sweden
          Music.co, M..         Menini;ioma/        80                      HospitOlI cases
                                                                 1 ,bO                            Milan
           NeuroJo~ical          glioma
            Institute C,
            Besta, Milan

          · From Muir and WaRner 1191l2 and P. Buftler, personal communication



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     OCCUPATIONAL EXPOSURE AND BRAIN TUMORS                                                                    711


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         N.Y, Acad. Sci. 381:17-39.
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          198. Heidelberg. f~deral Republic of Germany: Laub. .
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          presented at \\'orkshop on Cancer Prevention, sponsOrt~d by Texas Siate Deparlmt:nt 01
        Heallh. Januarv 25-26, 1984, San Anlonio, Teltas.
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                                                                                        I. OeclJp. Med. 26:662-
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    Selikoff, i. ,. 19n. Cancer risk of asbestos exposure. In OT/gms of Human CaneN-I;liok C-
       Human Risk Assessment, eds. H. H. Hiatl, ). D. Watson, and J, A. Wlnsten. pp. 1765-1:-~.
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          nervous system cancer mortality in U.S. rubber workers. Ann. N. r. Acad. Sci. 381:i4b-159.
    Theriaull, G., and Goulet, L. 1979. A mortality study 01 oil reiinery workers.      I. Occup. ived. 11 :3&7-
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        patlerns amon~ workers in three Texas oil refineries. ,. Occup. Med. 24: 135-141.
    Viola. P. L, Bigotli, A.. and Cuputo, A. 1971. Oncogenic response of rat skin. lungs, and bones
         to Yinyl chloride. Cancer Res. 31 :51&-522.
    Wagoner, I. K.. and Intante. p, F. 19n. Vinyl chloride: A c.:se for the use of laboratorv bioassa\'
       in the regulatory control procedure. In Of/gms of Human Cancer-Book C-Hunl.in Risk
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         Assessment, eds. H. H. Hiall. I. D. Watson. and I. A, Winsten, pp. 1797-1805. Cold Sprini:                           rn
         Harbor, New York: Cold Spring Harbor Laboratory.
    Waxweiler, R. ,., Strini:er. \\.. Wai:oner, I. K., lanes. I.. Falk, H.. ¡md Carter. C. 1976. Nl'iiplastic                ~
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       risk among workers exposed 10 vin\'i'chioride. Ann. N. Y. Acad. Sci. 271 :40-411.
    Waxweiler, R. J.. Alexander. V.. leftingwell, 5. 5., Harini:, M.. and Llovd, ). W. 1983, .\\mialetv
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         lrom brain iumor and other causes in a cohort 01 petrochemical workers. /. "'OJrf. Canc(!r Insl.                    en
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    Wen, C. P.. T..aÎ. S. P., ,,,lcClellan. W. A.. .ind Gjb~on. R. L. 1')83. Long-term moriahtv ~iucl\" 01 oil
         rellnerv workers: i. Mortality 01 hourlv and s.il,¡ried workers. Am.        I. Epideinlol. 118:'i.!h-5-2.
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        workers at a nuclear facilety. Proc~edlngs 01 the Midyear Topical Meeting of the Hf"hh
         Physics SOCletv. In EpidemIOlogy Applied 10 Hi:.i/ih PhVSICS, CONF.830101. Jan. 9- n. 1983.
         pp. 328-337.




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                Exhibit 81: 1/1/1985 (AP 019169 - 019177)
  Article - "Occupational Exposure and Brain Tumors" by Andrew R. Moss, University of
    California, San Francisco, that was strangely circulated to all recipients of the ICI
angiosarcoma registry and states that there is a consensus opinion that VCM is the ONLY
                             known chemical that causes BC




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                           OCCUPATIONAL EXPSURE AND BRAIN TUMORS

                           Anre R. Mo
                           Uni\'rsity of California. Sa Francisco, Califomi!!



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                   INTRODUCTON
                   Primary brain tumors of the glioma series, which make up about
               half of all brain tumors ¡ show a male-to-female ratio of about 1.5 to 1.
               Brain tumors In general apper to be increasing in incidence among
               older cohorts (Waxweiler et ai" 1983). Thus brain tumors In general,
               and glioma series tumors In particular, are sometimes considered as a
               priori likely suspects in the search for occpationally related tumors.
               Furthermore, gliomas can be produced experimentally in rats by               at least
               four groups of experimenta chemicals: aromatic hyrocarbons, N-ni-
               trso compounds, triazenes,and hydrazines. More recently, briIn tu-
               mors including gliomas have been shown to be produce by Inhalation
               in rats by three industrial chemicals, bis(chloromethyl) ether, vinyl
               chloride, and acrylonitrile (Maltoni et al., 1982). These experimental
               results, together with the established history of brain-tumor carano-
               genesis in vinyl chloride workers, have led m.ny resean;hers to lend
               at least preliminar credence to reports of brain tumors occurring in
               other industries where there are chemical ex.posures. Most recently, a
               series of studies have suggested excess risk of brain tumors in the
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               ning with Mancuso's Investigatidns in ihe 19505). chemists. vinyl chic-

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                                                          ride workers. and petrochemical workers. However, the convergence
                                                          of epidemiological and laboratory Inyestlgatlons that is usually ac-
                                                          cepted as the Informal criterion of proof in such situations his been
                                                          hard to demonstrate (see, e.g" Cole and Merlettl, 1980; Doll and Peto.
                                                          19811. Thus, Mancuso's original omervations in the rubber industry
                                                          were not followed by the identification of any specific carcinogèn, ~d
                                                          the existence of an occupa.tlonal risk of brain tl!mors in rubber workers
                                                          is currently open to doubt (Mancuso, 19S¡ Symons et ai" 1982), Bran-
                                                          tumor risk in chemists has been sho only in a series of Swedish
                                                          studies, and as yet no likely carcinogen has been identified rOlln and
                                                          Ahlbom, 1962), The convergence of an epidemiologically identified risk
                                                          and a suspeed carcinogen has ben demonstrated only among vinyl
                                                          chloride workers. Thus Cole, in his surveys of occupational cardno-
                                                          genesis, recognizes only vinyl chloride as an established industrial
                                                          Eirain carcinogen (Cole and Merlettl, 1980). Doll and Peto, more con-
                                                          servatively, admit the brain only     as a "possible" site of occupational
                                                          carcinogenesis (Doll and Peto, 1981). The history of vinyl chloride as a
                                                          central nervous system (CNS) carcinogen Is discussed in the next sec-
                                                          tion,
                                                                 Historically, the establishing of occupational or environmental risks
                                                              has often been a complex and drawn-out process, sometimes requiring
                                                              decades for the development of a consensus on a particular exposure.
                                                          Thus although the issue of excess risks of brain tumors in rubber
                                                          workers is currently in debte, the persistence of report of brain tumor
                                                          excesses in this and other Industries has, as it were, promoted bratn
                                                          tumors to the top of the list of tumors that may be assoiated with
                                                          important occupational risk (along with lung cancer, leukemias and
                                                          lymphomas, primary Iivereancer, and, more recetly, melanoma), This
                                                          was the situation in 1978 when a duster of brin tumors was reported
                                                          in petrochemical workers in Texas, initiating a major wave of research
                                                          into the subject, The petrochemical research is also reviewed in this
                                                              aricle.

                                                                 VINYL CHLORIDE AS " BRAIN CACINOGEN
                                                                 Cole observes that occupational carcinogens are usuallv reognized
                                                              beause they generate an unusually high rate among a small exposed
                                                              population, and because they produce tumors that art otherwise un-
                                                              usual (Cole and Goldman, 1975). Vinyl chloride (VC) is the classic case
                                                              of a carcinogen Hiit has such an effect, producing in workers exposed
                                                              to high levers of the gas the very rare angiosarcoma of ihe liver iASL).
                                                              The tirst reprted case of A5l in a vinyl chloride worker was dlasnose
                                                              at the B, f. Goodrich company in louisVille, Kentucky, in May. 1970;
                                                              the second in March, 1973; and ihe third. at autopsy, in December,
                                                              1973 (Heath et at" 1976), Since the incidence of ASl in the United States




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               was then 20-25 caseSlr. the appearance of 3 c: among a smaJlgroup
               of workers prompted considerable concern, Fu rtermore. concurrent
               studies by Viola (1971) had shown skin, lung. and bone tumors in rats
               exposed to VC by inhalation. (VIola's carcinogenesis studies were re
               portedly an outgrowth of his work on acroosteolytis in VC-exposed
              workers. He~titis-llke liver changes had ben reported as early as 1949
               (Nicholson,   19m,1,
                     Following Viola. Maltoni demonstrated angiosarcomas in rats ex-
               posed to VC in i9n (Maltoni etal.. 198). This result      wa communicated
               to the Manufacturing Chemists Association, which following the dis-
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              three cases of angiosarcoma in VC-exposed workers in the Wall Street
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              chloride workers. induding a National Institute of Occupational Safety
              and Health (NIOSH) follow-up study of 1294 workers with extensive VC
              exposure in four plants. A concurrent histopathology study reviewed
              tumors reported on delth certificates of all workers in the four plants.
                 The NIOSH study. published in 1976, show very high relatIve risks
               in the category "bilary and liver cancer." The relative risk was 11 for
              workers with 10 or more years of exposure and 16 for workers with 15
               or more years of exposure. Furthermore in the concurrent histopa-
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                   However the study also observed a significatly increased relative
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               that brain tumors as well as ASl could be produc~ in rats exposed to
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              has been shown that the expected proportion of glioma-ieries tumors
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              were thought to be close to human occupational exposures. tsee, e.R..
               Wagoner and Infante. 1977). Vinyl chloride is the only occupational
               chemical carcinogen for which a correspondence exists,
                     Waxweifer at ál. (1983) also nole that iii the 9 glioblastoma multi-
               forme cases identified in the Vç workers hilitology study, the average




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                  ;on.                                                            A.l. MOS

                  time since first exposure to vinyl chloride was 21 yr, Thus tf'e epide-
                  miological observation of risk may have followe the oncogenic expo-
                  sure by a generation. and the circumstance of exposure could well
                  have changed by the tIme the risk was recognized. This long latency
                  period is characteristic of occupational carcinogenesis, The excess risk
                  of mesotheli,oma in asbestos workers. for example is not generally ob-
                  servable until20 yr after ex.posure (SeJikoft, 1977. The long latency pe-
                  riod has important conseqi.ences In the cae of brain tumors, which
                  are not rare tumors.
                     The identification of VC-produced brain tumors, currently the only
                  accepted example of occupational CNS carcinogenesis, ofters some
                  important lessons for studies of other industries, First, vinyl chloride
                  wa identified as a eNS carcinogen because it produces, as its primary
                  effec, the extremely rare ASL The excess risk of brain tumors would
                  probably not have been recognized if it had not "piggybacked" on the
                  rarer tumor. Second, the brain was only recognized as an additional
                  site of carcinogenesis because comparable ranges of tumors were seen
                  in human and animal inhalation studies. There is no other occupational
                  carcinogen for  which such a correspondence is currently known, Third,
                  the nLlmber of tumors reported in the primary study was very small:
                  there were 3 cases in the high-exposure cohort, and 10 in the concur-
                  rent histopathology study. Fourth, the period between Initial eXpO$UTe
                  and observation was so long that observed effects may in fact have
                  been arcliaeology rather tnan epidemiology-the carcinogenic situa-
                  tíon may well have no longer existed when the eXCess risk was ob-
                  served.

                         BRAIN TUMORS AND mROCHEMICAL EXPOSURE

                     The intensive study of brain tumors in the petrohemical industry
                  began in 1978 when as employee at the Union Carbide plant in Texas
                  City, Texas, reported a newly diagnosed brain tumor to the local office
                  of the Occupational Safety and Health Administration (OSHA). A ioint
                  study with the OiL. Chemical and Atomic Workers union (OCAW) and
                  company representatives identified a total of 10 brain-tumor deaths and
                  cases among workers at tlie plant (not Jneluding the original com-
                  plainant, whose turnr proved to be metastatic). Tfiis number was suf.
                  ficient for the OSHA offce to request oi formal study by NIOSH, A joint
                  study. with Union Carbide researchers. was initiated. A proportional
                  mortality study of OCAW members in South Texas was already in prog-
                  ress, and additonal studies in other refineries. and chemical plants were
                  initiated over the next year,
                         However, in 1979 both the Thre Mile Island incident and tne Fed-
                  eral declaration ot emergency status for the Love Canal area took place,




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                a.nd in the ensuing controversies over environmental carcinogenesis
                the atmosphere became polarized between industry and govern-
                mental-union forces. As a result, competing industry and govern-
                ment-union studies were set up in several of the eltpoed petrochem-
                ical cohorts in Tex and louisiana. When ¡ meeting was convened at
                the New York Academy of Sciences in 1980 to review the studies, a
                total of eight were presented, four from each group, The four ¡;overn-
                mental-union studies uniformly indicated a twofold risk ot brain
                cancer among petrochemical workers: the four industry studies uni-
                formly failed to detect any excess risk, "To the innocent observer,"
                Science reported. "the crisp pattern of fallng chips appeared :it rjrst
                sight to display blatant gerrymandering" ¡lewin, 198). It was also true.
                however, that the range of methods and cohorts involved was consid-
                erable and that there was extensive methodological disagreement.
                Reeve et al. (198) reviewed the issues. The primary methodological
                questions were (1 the tendency of proportonal mortality studies. as
                carried out by NIQSH. to inflate cancer ñsk, and (2) the tendency at
                industry-wide cohort studies, as carried out by the industry groups. to
                bury small groups of at-risk workers in very large cohorts, These issues
                were not resolved as. with the new Federal administration in 1981,
                NIOSH capacity to continue the epidemiology studies was lost. With
                no pressure from the regulatory side, the industry studies appear 10
                have slowêd down also.
                    However, most of tne proportional mortality studies were everitu-
                ally converted to standardized mortality form, and a review of these
                studies is now possible, Savitz and Moure (1984) have recently re\,jew~d
                the six prospective studies of refinery workers that were initiated by
                labor-governmental and industry groups in 1979-1980, Table I is
                adapted from Savitz and Moure, with the addition of results from two
                studies of petrochemical plant workers. those of Waxeíler et ai, (1983)
                and Reeve et ai. (198). (One study, that of Thomas et al. (1982); remains
                a proportional mortality rate study (PMR): the others use stilndardizcd
                mortality ratios.!
                   All conorts of petrochemical workers had low overal mortalit\'. .is
                is generally the case in studies of "healthy workers," and six or the
                seven for which all-site ca.ncer mortality or incidence were reporr~d
                showed lowered total cancer rates. (The exception was the lMR study
                of Thomas et al. ('1982).1 However, brain-tumor rates were elevated in
                all but tw ot the studies, the exceptions being the refinerY-Wide :.iudy
                of Wen et al. (1983), which included salaried workers, and tht. industrv-
                wide study at the British petrochemical industry by Rushrån and 1\1-
                derson (1981). There was ildditional evidence at an aS5Oiation in more
                detailed substudies, Thus Solvitz ôlnd Moure (19641 note that while H.inis
                et al. ('1982) report an overall relative risk of 1.02 for brain tumors in
                their study 01 the Baton Rouge Exxon refineries. a morc highly exposed




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                 subgroup had a higher risk. In the Reeve et al. study of Dow chemical
                 workers, while the overall relative risk was 1.09, the risk among workers
                 hire before 1945 was 1,83 (Reeve et aI., 1983),
                     On the basis of the first six studies, Savitz and Moore comment
                 that there was reasonably consistent evidence of a potential association
                 between petroc~micaJ exposure and brain cancer. The tw chemical-
                 plant studies apper to strengthen the association.
                        In an indepndent review of all NIQSH investigations in eight in-
                 dividual refinenes and chemica plants in Texa, Ree et at_ (19831 note
                 that inconsistencies remain in the plant-by-plant results, and that case-
                 control    studies within the studied c:ohort$ show no consistent patterns
                 of exposure. However tl'e consistently elevated brain-tumor risk in the
                 prospective studies appears suffcient at least for this line of research
                 to continue.
                      Savitt and Moure note that melanoma risk is rather consistenrfv
                 elevated in the studies ot petrochemical cohorts. as well as brain-tumor
                 risk. This result is of interet because of an emerging patlem in recent
                 studies of nuclear fabrication workers. Hadjimichael et al. (1983). in
                 their study of the United Nuclear faclIty in Connecticut, observed rel-
                 ative risks of 2,40 for brain tumors and 2.12 for melanoma. against an




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           OCCU,."TIONAl £XOSUU ANO IIAlN TUMORS                                                70

           ail-sites relative risk of 0.88. Furthermore, Wilkinson et al. (1983) ob-
           served a tripled risk of brain tumors at the Rocky Flat nudear plant,
           and Austin (1981) observ a tripled risk of melanoma at the Lawrence
           Livermore laboratory, Attempts to explain these risks by radiation ex-
           posures have proved generally unsuccessful; the similarity with the
           pattern of risk among petrochemical workers suggests that perhaps the
           cause Is in some other aspect of the fabrication process.

               CONaUSION
               Although this reew suggests that the issue of brain tumors in pet-
            rochemical workers is at least worth further study, most of the pro-
           specive studies appear to have ben dropped, However, il seond
           wave òt large case-cntrol studies of occupational exposure in brain
           tumors has now been set in motion (see Table 2). In these studies. all
            brain-tumor cases or deaths in a specific cae-flnding area over a spe
            cific period are intervewed, either in person or by proic. These large
            studies may eventually resolve tne Issue of whether there is i genuine

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                                  excess risk in petrochemical workers. (Howevr, Cole notes that such
                                  large case-control studies are only effective when the exposed group
                                  makes up at least 2-3% of the population studied (Cole and Goldman,
                                  1975.1 It should also be noted that while large ca-ctrol studies of
                                  briin tumors may identify industry-wide risk, they cannot, by their na-
                                  ture, identify the pattern of tumor sites associated with a specific ex-
                                  posure. This latter information is generally accepted as important in
                                  establishing risk,
                                     In conclusion, the prospectve studies of petrochemical worker co-
                                  horts reviewed here suggest that there Is an increased risk of brain
                                  tumors associated with petrochemical exposure, possibly accompanied
                                  by    an increased risk of melanoma, No evidence of a spifi cacinogen
                                  Iias been established, and while the current generation of large case-
                                  control studies will probaly identify any overall risk in the industry,
                                  these studies will not identify the pattern of siles at risk. In tne light of
                                  the consistency between the petrocnemica worker studies and the
                                  recent nuclear-fabrication worker studies, there is an argument tor a
                                  coherent program of prospective research in these cohorts. Other
                                  studies that could usefully be coordinated with such a program include
                                  a review of the speific-eicsure inquiries in the petrochemical worker
                                  cohorts, an examination of the change in the incidence of glioma series
                                  tumors among all brain tumors, and an exploration ot other associa-
                                  tions between brain tumors iind melanoma.

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            Exhibit 82: 4/12/1985 (CMA 009749 - 009751)
ICI (Bennett) to CMA (Shah), Enclosing Recent Correspondence with Doll Concerning
                           VCM Epidemiological Review




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              From                                              Imperial Chemical Indunries PLC
                                                                Hi IIhouse Site
             Dr B Bennett
                                                                PO Box No 4 Thomton -Cltv,llys
             5i te Medical Adviser
                                                                Blackpool FY5 400
                                                                Tileøhoni 0253 856161
              To                                                Telex 67483 lciplist Clvlys
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              Dr G H Paddle
            0/ Dr Has Shah, CMA, USA
              Dr T R Torkelson
              Dr J Whiston/Dr 0 J Wheeler
              Dr 0 H J Williams
              Dr A P Wright




              Your rif               Our rif BB/MO    Til iin               332                   Clt' 12 Apr 85


             VCM EPIDEMIOLOICAL REVIE

             I am enclosing 80me recent correspondence between Sir iibhard Doll and
             myself concerning the above.

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             alS agreed,  utbeen  calc1Ùated,
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             be tremendous value tor the work Sir Richad Doll is doing in this cODDectioñ.


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                            IMPERIL CANCER RESEARCH FUND
                                Cancer Epidemiology and Clinical Trials Unit
                                       UNIVERSITY OF OXFORD
                                                                  "
   D".mir: M.C. PIKE, Ph.D.                                                            Gibson Building
   T"iplio"r.IOI6') '3162                                                        The Radcliffe Infinar
                                                                                     Oxford OXL 6HE


               3 April 1985                                                      RD/CH/l



               Dr B. Bennett,
               Imperial Che~ical Industries PLC,
               HilLhouse Site.
               ro Box 4 Thornton-Cleveleys t
               Blackpool FYS 4QD.




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            (cJ  0" ," .- i
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                    I have not heard fro. the A.erleans about the proposed review of
              vinyl chloride cancer. Hay I take it that they ha.e dropped the idear




                                   ~ ~,/í'~
                                        ~--
                                              ~ Bicbård Doll




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                                                                                    Imperial
       Hillhouse Site
       PO Boii No 4 Thornton -Cliy,ley'
       Blickpoi FY54QO
       Telephone: Clev.liyt (STO Co.

       T.ltxlS7483 Ici"lat Clvlyt
                                       02531 858181                    ~            Chemical
                                                                                    Industries
                                                                                    PLC




      . Sir Richard Doll
        Imperial Cancer Research Fund
        University of Oxford
        Gibson Building
        The Radcliffe InfirmarJ
        OXFORD 012 6RE                                                        Medical Depart.ent


       Your r.f RD/CH/l 0.. ref BB/O                  T tl ext   332                Diui 12 Apr 85

       Dear Sir Richad,

        VCM EPIDEMIOIOICAL UVlD

        I refer to iour letter of , Apr.

        I have now had the necessarJ C..i-i" ii_i~ and fro.
        the PVC/VCM Industrie. in the U.K., and we re.l that we would be ver¡
        grateful it you could undertake the proposed YCM epidemiololical review.
        We will all be hapP1 to reimburS8 10u, .. we ha.e .gre.d.

       Both ~iself and the Americans will be onlJ too pleased to help 10U b1
       supplying loU with anJ information that lOU "1 requie to undertake this
        task.
       We are al very graterul for the ti.e ,oa are allocatinl to the project,
       which we feel will be beaericial to the YeM Industri in genera, and also
       to the world.

        I would be onl1 too hapPl to meet with 10U and discuss this task, if lOU
        feel lOU would like .. to do so.

        Yours sincerel,.


               ¡¡~.
        B BEHE
        M.A. ,
        H.B. B.Ch., B.a.O.
        D.Obst.R.C.O.O.
        D.I.H.. H.F .O.M.




                                                                                      eM" 009751




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                    Exhibit 83: 4/29/1985 (CMA 009743)
Dow (Torkelson) to Harry Verschuuren with copies to ICI (Bennett and Paddle) and CMA,
             re: ECE TOC Inquiry Concerning Doll Epidemiology Review




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                                                                           .('. .



.                 ~
                  1a03 Bul1ding
                                       DOW CHEMICAL U.S.A.
                                                                        MIDlND, MC ..
                  29 Aprl 1 1985




                  Harry Verschuuren
                  HORGEN
                                                                               ~~~~~¡8~'l
                                                                                       'E;NTl~'L n
                                                                                to t''rO ~ 'No. to
                                                                       ß'I"ó~eotc,...o~o JS~o\ ct. ·CO'l:t..
                                                                               V'J'~ T\1.S""         a,",
                  cc: Brian Bennett, M.D. - iei, England              'Rose 'V, ~ "1.a. 1. '- 1.o\li&"
                       Maurice Johnson, M.D. - B. F. Goodrich Co.
                                                                      ~t-n ~ìl, -'" t'a.ri.s':'
                       Geoffrey Paddle, Ph.D. - ICI, England              ca.1C2.S1.e\l
                           His Shih, Ph.D. - CM
                  Thank you for sendlng the EeETOC inquiry of March 6, 1985 in regard
                  to the Vinyl Chloride Epidemiological Review by Sir Richard 0011.

                  The discussion on page 3 of the minutes indicates explanation is
                  needed. Dr. Brian Bennett of ICI has been working with Sir Rlchard
                  Doll in preparation of a publication of the Angiosarcoin Registry,
                  which has been compiled for several years by Dr. John Stafford. also
';
    .;            of iei. Dr. Stafford, who recently retired. will of course be a
,                 co-author.
                  Whil e              this manuscri t

                  Brian relayed this interest to Dr. Maurey Johnson of BFG and to me.
                  Dr. Johnson is the current chairmn of the Vinyl Chloride Technical
                  COIittee of CM IS well IS the Vinyl Institute Health Co-iittee.
                  Because of the desire to encourage Sir Richard. Dr. Johnson requested
                  and recehed a roval frOl the Vinyl Institute to co-sponsor the



                   1'm not sure which companies or organizations in Europe are
                   sponsoring the work. In any case, the report will. at the request of
                  Sir Richard and insistence of the sponsors, be made public. The
                   sponsors are also encouraging Sir Richard to publish in an
                   appropriate journil if he so chooses. The project is to be started
                   this spring. but I do not know the coiletion date; obviously it
                   cannot be elrlier thin fill of 1983 and could take longer.

                   No strict protocol has been established but, very simply, Dr. 0011 i$
                   to exaMine IS many publications and reports as he can. He has been
                   asked to look at their strengths and weaknesses. whether the data
                   support their conclusions. how the data agree with other studies. and
                   to draw general conclusions for the sponsors.




                  ~u-
                   i hope these comnts are useful.


                   T. R. Tork.l son. Sc.D.
                   Health and Environmental Sciences                                      CHA 009743
                                   AN OP11 UM Cl on DO CI-iAL ~/l




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            Exhibit 84: 7/12/1985 (BFG 28430 - 28431)
  BFG IOC (Guyton to? - bcc: H,W, Dietz, M.D.) re: Activities Report June 1985



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BFG "RSTRICTED
                                                       JUL1S as
                                July 12, 1985



P. C. Ross


                 Activities Report - June 1985
         Health & Environmental Services Di'vi"si'on

Environmental Health
1. The Environmental Beal th Department is working with the
    Chemcal Group and Shell Oil in obtaining potable water
    clearance of an EPON/Estane syll intended for use in
    relining decaying water pipes. The system is unique in
    that it can reline and seal pipe running under cities,
    rivers, etc. without excavation. If the health issues
    can be addressed satisfactorily, BFG and Shell will be
    able to penetrate a very large and lucrative market. .

2. The petitioned amendment to permt additional food contact
    uses of ~oodrite 3114 was published in the Federal Register
    Monday, June 3, 1985. This additional FDA approval P~k~ts
    the use of 3114 at a level of 0.1% in various olefin copol-
    ymer food contact articles. The petition was initia.eè
    by Shell Oil's need for a suitable anti-oxidant in a copol-
    ymer for Tupperware. W. c. Bachtel discussed the new
    clearance with several customers who expressed a keen
    interest in it.
3. The FDA has notified BFG that our petition to per.it
    additional uses of Goodrite 3125 in olefin copolymer food
    contact articles was accepted for filing. The first 90
    day review period will be up on August 7, 1985.

4. We received a copy of a'letter from NIOSB to Michael Gaskill
    of Local 715 at Ft. Wayne advising the union of NIOSH's
    preliminary findings in the n investigation" of the union's
    concern over possible increased cancer in the milling and
    tubing area. This letter is very discouraging because
    without any real ~t~empt to, do any investigation




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                                                                              ~o
                                                                              ~o
                                                       BFG28430

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 Activities Report - June 1985
 Health & Environmental Services Division


 Environmental Health - contd

 4. Contd
       NIOSH made no effort to verify the accuracy of the diagnoses
       provided by the union, did not identify the entire population
       at risk and made statistical interpretations on ridiculously
       small numers de~pite the fact that they had been advised
       that the diagnoses were not all correct and they did not
       have the complete papulation. thê

                                                             d.
                         agnoses n the other cases were pseudo tumors
       of' the optic nerve and brain metas~es from other sites.
       Al though we :will attemt to confer with NIOSH to correct
       these errors, the letter already written provides fuel
       for potential adverse publicity.




                                          A~~
                                    Richard A. Guyton



 cc:    J.   D. One¡
        L.      Carter
        B. A. DiLiddo
        R. A. Eisentrout
       . L. v. Trigg-iani

bee:




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                                                                                 tr
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                                                                                 N
                                                           BFG28431


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            Exhibit 85: 1/1/1986 (ASI 005200 - 005214)
 Article - "Brain tumors and occupational risk factors" by Thomas and Waxweiller
                     recognizing VCM as a known cause of BCs




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ei:::VIEWS
   ~.:J"'! J Wo,k Em'¡'() Ht'l'li 12,i9S6) I-IS                                                                     /.
                                                                                                        Sl.O
   Brain tumors and occupational risk factors                                                               ~l .y ,Q' L ./

   A review                                                                                               ~l \~. 9l
   by Terry L Thomas, MS,I Richard J Waxweiler. PhD~
            THCi~IAS TL, WAXWEILER RJ, Brain iumor; 2.~d ,,,.:i:r.i:;,'n.il risk rii.:ors: A review. Scrid J Wo,k
            Em ¡'''ii IfffJ,h 12 (1986) I-IS. LiiiIe is known ,;Ì':ii.: ¡he ~:iok'2) of iumors or ih.. brain and cenlral
            n~!''OUS S)'siem (CNS); how'" er, epidemiologiC: Studie; l:.i\ e i:o1!.:.iied rectlv ihat exces brain and CNS
            iumor risk ma)' be aS$ialed with emplo)-ment in ceruin '....-upations or iodustnC:, Some studies have
            '"0..0 that certain whiie-cllar professional grou;:s (~. a~i~a. laboratory professionals, veiennanans
            tnihal~m;) ariar 10 Iive an elevated risk of bran ru"1", 3n~ th..~, rai~ the issue of a di:a¡:io!olc 5esitivil;
            biah. Some blue-collar ocpaional groups, inclu¿in, rui.ber ""r\.cn, oil refinery \!orkers, chemii plant
            lõ'orkc:s;ftol)-vl'ylduorU'.o;ker.$ machinisis, and --n.:s. haie ben reported 10 have an ele\'ated risk
            of ' . f ihese \\,)ikers a!e ?o:er.;i::j~: e,...\'"ed i,i muliip1e diemicals; nevertheless they

                                  formaldehyde. polycyclic a;om:n .: hyJr,..art'ol1s, an P eno ie eompouii s.

             Kt)' terms: organic solvents, lubricating oils, a;rylcniiii!~, \ iny; .:hlonde, formaldehyde, polycyclic aromali.
             h)drocarbons, phenolie compounds.
                                                                             f.. It t/ 5

                                                                           One of ihe difficulties in comparing epidemiOlcigic
    Tilt' age.ridjusicd average annual incidence rate for                $tudies of brain and CNS tumors is disease definition
    malignancie; of the brain and ,entra! nervous system                 and tt'rminology. The term "CNS tumors" includes
    ,CNS) among \\hite men in the Unitcd States (lS) dur-                tullMS of the brain, cranial nerves, and crani;1
     ing 1973-1977 "as 6.7 per 100 000, and ihe cor.e-                   meninges; however, because more than 90 ø;'o of C'NS
     sponding mortality rate was 4.9 per 100 00 (IQ.).
                                                                         rumNS 3re brain tumors (IO~), we have used the terms
     :\hirt:ility rales for malignant brain and CNS tumors               br.!in cancer (malignancies only) and brain tumor to
     among all age groups over 55 years have been steadily               refer to:il CNS tumors throughout our review, rl.gard-
     i"treasing since ihe 1940s (95). Moriality and incide~te            les of the original author's definition or termini)logy.
     rates for CNS malignancies in ihe United Sta:es are                 :\Icire c()nfusing is the fact ihat brain tumors can be
     ii;ghcr among white men ihan among women a.r.d                      coded as malignant rlni~rnational Classification or
     blacks (45, 104). About half of the brain tumors (be-               Diseases, Eighth Revision (ICDA-8) code 191, 192),
     nign and malignant) diagnosed among white men of                    benign (ICDA-8 code 225), or unspecified as to
     aU ages are glioblastoma multiforme. but this cell type             malignant or benign (ICDA-8 code 238). Unfortu-
     accounts ror a much lower percentage of the brain                    natt'ly, if a physician records just the words "brain
     iumors diagnosed among women and blacks (5). Tbere                   rul\or" on a death certificate, as is often the ca~e. the
     is:i dramatic peak in mortalit)' due to brain and CSS                unspecified code (lCDA-8 238) will be assigned as the
     malignancies among white men between 45 and 65                       undt'rlying cause of death. Upon later pathological
      years of age (45); the peak corresponds wiih tha: in                rei i..w, many of these cases may be shown to be
      ¡he incidence raie for glioblastoma multiforme be¡\\~n              priin:iry malignant tumors. In addition, there may be
      the same: ages (74), These patterns imply that some                 some ",i$Classifcation on the deaih certificates between
      genetic and/m environmenial risk factor(s) ma.;: be                 primary brain tumors and those that are metastaiic
      responsible for the elevated ratcs among \\ hite wen                from other cancer sites (62). Thus, if brain tumor risk
      compared with women and blacks. The age peak and                    is (0 be thoroughly evaluated, it is important to report
      increasing rates over calendar time suggest an e;i',i~on-           al\ ICD codes for primary brain tumors (lCD 191, 192,
      mental risk factor, possibly occupationaL.
                                                                          225. and 238) separately and combined. In most in-
                                                                          Slali.:.:S investigators have reported morlality or in-
      i Uiupali0nal Studie. Sciior., En\'ir~l'mt"nlal Ep:;;:::'::"t~       cidence only for tumors or the brain specified as
        Branch, !'ational C:incer Insiituie, Bethesda, ~ia~l::md           m:ilignant; however, in the accompanying tables, we
        20892, Uniied S13Ic§.                                              h:ii'c inJìcared which results also include luin0rs coded
      i Spedal Siudi~ Branch, Chroni.; Disea~"s Di\is:u:1. C",;1lcr        35 benign or unspecified.
        for Environmental Hcalih, Ceniers for Disease Cc;:¡:~. At.            Vcry liiiIe is known about the etiology or brain
        lanta, Georgia 30333. Uniied Slates.
                                                                           tumors; however se"eral associations with OCCU1)3tional
       Reprint requcsh to: I\s TL Thomas, Occupatio:... S::idies           aiid other environmental and genetic factors have ap-
       Setion, Eiwironmenlal Epidemiology Branch, i-Ci. L;jow              peared in the epid.:miologic literature (23). Although
       Building, Room 4C16. Beihesda, MD 20892, L'SA.



                                                                            'V 17-..-l'I-À1f.....II~~..1i -,ii ~                       ~..   AS! 00005200

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                Tabl. 1. Brain tumors among whlte-eollar and professional occutialions in surveys 01 mortality by OCCu¡)lil.on.

                                                                                            Observed
                Occupation or type of wor!.                     Study        Measure of       brain
                                                                period      association a    tumor       Ralio.      Aeference
                                                                                             BYen!s
                Professional & technlcæ, US                      195           SMR            169       1.34'        Guralnick (25)
                Professional & technical, Canada             1965-1973         SMR             10       1.95         Howe & lindsay (33)
                Accountants & auditors, US                       1950          SMR             27       1.93'        Guralnick (25)
                Financial wor!ers, MA                        1971-1973        sMOR             13       2.251"       Dubrow & Wegman (17)
                Treasurers, finaneiil mangers,
                bank ollicer., MA                            1971-1973        sMOR              5       3.~7'        Dubrow & Wegman (17)
                Managers, offcialS, proprietors,
                manufaeturing. US                               1950            SMR            0(3      1.30         Guralnick (25)
                Managers, offcials, proprietors, WA          19SO-1979          PMR            64       1.SO'        Milham (4B)
                Purchasing agents, buyers,
                sales managers, WA                           1950-1979          PMR            12       178          Milham (~)
                Saln managers (age 6~-70( years), UK         1970-1972          PMR                     2.47         Registrar General (65)
                Purchasing agents & buyers,
                sales manag.rs, CA                           1959-1961          PMR             5       289          Peterson & Milham (63)
                Credit men, WA                               195-1979           PMR             6       2.97"        Milham (48)
                tnsurance agents, brokers,
                underwriters, & appraisers. WA               1950-1979          PMR            21       1.5          Milham (4B)
                Engineers, nec, WA                           1950-1979          PMR            26       U7           Milham (48)
                Engineers, nec, CA                           1959-1961          PMR            10       2.16"        Peterson & Milham (63)
                Mechanical engineers. WA                     1950-1979          PMR             8       4.22"        Milham (4B)
                Aeronautical engineers, CA                   1959-1961          PMR             .(      2.17         Peterson & Milham (63)
                Electrical englnePrs, CA.                    1959-1961          PMR             5       1.55         Peterson & Milham (63)
                Eleetrical engineers (age 65-70( years). UI' 1970-1972          PMR                     2.75         Registrar General (65)
                Inspectors, nee, W A.                        1950-1979          PMR             7       2.4B         Mil~am (48)
                Inspectors, nec, CA                          1959-1961          PMR            10       2.55'        Peterson & Milham (63)
                Checkers, examiners, inspeetors, MA          1971-1973        sMOR              4       5.57"        Dubrow & Wegman (17)
                Pubhc utility supervisors & olleials, WA. 1950-1979            PMR             10       1.99        Milham (4B)
                Clergymen, WA                                1950-1979         PMR             14       1.99'       Milham (48)
                Dentists. CA                                 1959-1961         PMR              2       1.52        Peterson & Milham (63)
                Teachers, US                                    1950           SMR             21       1.75"       Guralniek (25)
                Artists & art teachers, CA                   195-1979          PMR              4       2.98        Peterson & Milham (63)
                Teachers. axcepi music & art, CA            1959-1961         .PMR              8       2.41"        Peterson & Milnam (631
                Teaehers, elementary & stcondary. MA        1971-1973         sMOR              7       3.71"        Dubrow & Wegman (17)
                Proless~rs & instructors. CA.               1959-1961          PMR              6       2.92'        Peterson & MIlham (63)
                School professions. MA                      1971-1973         sMOR             10       2.54"       Dubrow & Wegman (17)
                lawyers & judge" CA                         1959-1961          PMR              5       1.91        Peterson & Milham (63)
                lawyers & judg"'s, WA.                      1950-1979          PMR             13       1.8B'        Milham (4B)
                lawyers & judges, MA                        1971-1973         sMOR              7       5.56.       Dubrow & Wegman (t1)
                Postal elerks, CA.                          1959-1961          PMR              6       2.76'       Pelerson & MIlham (63)
                Postal clerks, MA                           1971-1973         sMOR              5       2.86        Dubrow & Wegman (17)
                Olleers, enlisted men, armed forces,
                nec, CA                                      1959-1961         PMR             27       1.SS"       Peterson & Milham (63)
                Armed forces (BritiSh & foreign), UK         1970-1972         SMR                      1.83        Registrar General (65)
                Armll forces (British & foreign), UK            1961           SMR                      1.67        logan (39)
                · US = United States, MA = Massachusetts, WA.. Washington, UK:: United Kingdom. and nee = not elsewhere classified.
                b PMR", proportionate mortality ralio, SMR = standardized mortality ratio, PIR = prortionate incidence ratio, SIR = standardized
                  incidence ratio, SRR.. standardized rate ratio, sMOR.. standardized mortahty odds ratio, and OR.. odds ratio.
                e Ratio", observed.expeted ratio or odds ratio
                . Statishcally significant (Poisson) at the 005 leveL.




               no causal industrial exposures have been identified,               riety of statistical tests to judge the significance of their
               brain tumors seem to cluster in certain occupational               results, we ha\'e ignored the original signifcance tests.
               groups, Historicaly, the first occupational assoiation             Instead, we applied a common test statistic to each re-
               with bran tumors was reponed among workers in the                  suli for which the authors supplied an observed num.
               rubber industry (42). Since 1968, clusters or brain                ber of brain tumor events and an expected number of
               tumors have been seen among workers involved in                    events or an observed:expected (O:E) ratio. If ihe O:E
               polyvinyl chloride production, oil refining, petrocem-             ratio was not provided by the original author. we cal.
               ical production, pharmaceutical production. use or                 culated it from the data published, This calculation in-
               production or formaldehyde. and other occupations,                 cludes results presented in rhe form or the propor-
               This review summarizes the scientific literature on oc-            tionate mortalit)' ratio (PMR), the standardized mor.
               cupational risk factors ror brain tumors and examines              tality ratio (SMR), the standardized incidence ratio
               some of the exposures that may be implicated,                      (SIR), the proportionate incidence ratio (PIR). the
                    The meaures or association shown in the tables are            standardized mortality odds ratio (sMOR), and the
               not directly comparable; thus we have used a test of               standardized rate ratio (SRR). The statistical signif-
               statistica significance to evaluate the relative impor-            icance or each or these results was determined from
               tance of the results shown. Because the authors of the             a table or significance ractors rOt the ratio of a Pois-
               numerous studies discussed in this review used a va-               son variable to its expectation (6). Since briin cancer
                2

                                                                                                                  AS! 00005201                -
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       :iccounts ror only 2,5 0;0 or all cancer deaths (45), the            and judges, postal clerks, and persons in the armed
       underlying Poisson assumption or a rare event is                     forc~s. These occupational groups pre\umably have
       satisfied in this case. Because our test is inappropriate            minimal exposure to chemicals and other potentially
       ror case-referent analyses, the statistical significance             cacinogenic agents in their jobs. White-collar and pro-
       of the odds ratios from the cae-referent analyses pre-               fessional groups may receive beller than average
       sented in the rabIes was determined with the 95 % con-               medical and diagnostic services beuse of their soio.
       fidence intervals provided by the authors.                           economic status and, thus, may be more likely than
                                                                            the population in general to have a brain tumor
                                                                            diagnosed (24). Mortality was elevated among Cali-
                                                                            fornia residents in the armed forces (63) and among
                                                                            British members of the armed forces (39, 65), who
       Surveys of mortaliy by occupation
                                                                            typically receive regular medica surveilance,
       Information from death certificates, registries, or                    Table 2 shows blue-collar worker groups with ele-
       record linkage systems has been used in many surveys                 vated brain cancer mortality in ocupational surveys.
       to examine disease risks by occupation. Surve)'s of                  The most interesting are the elevated brain cancer mor-
       monalíty by indust!) were not included in tables 1 and               tality ratios for electricians and power servicemen in
       2 because of a lack of specificity with regard to occu-              four of the surveys (25,48, 63,64). Several of the oc-
       pation; however results rrom some or these surveys are               cupations listed in table 2 invoh'e exposure to solvents
       discussed in relationship with specific hypotheses pre-              and organic chemicals, but no prominent patters of
       sented later in this review. Because an exhaustive list              common exposures are evident ror particular occupa-
       of occupations reponed in these surveys would be too                 tions.
       lengthy to show in a single table, we decided to limit                  Several of these surveys obtained the information
       the results shown; thus, standardized mortality ratios,              on occupation from death cenificates. Because the
       standardized incidence ratios, and standardized mor-                 "usual occupation" listed on the death certificate may
       talit), odds ratios of less than 1.3 are not shown and               be more representative of last ocpation, many of the
       proportionate mortaHt)' ratios or less than 1.5 are not              persons classified in white-collar management occu-
       shown. Results from the Washington state mortality                   pations could have begun their employment in blue.
       data (48) were obtained from a table of statistically                collar jObs, Occupations were not cross-classified by
       significant resulis for brain cancer,                                industry; thus it is not possible to evaluate \\ hether ele-
         The data indicated that certain white-collar and pro-              vated risk occurred among white-collar managers in
       fessional groups may ha\'e an elevated brain canttr risk             particular industries. Furthermore, relatives of a de-
       (table 1). These groups include financial managers and               ceased individual may tend to "upgrade" the de-
       accountants, sales agents, engineers, teachers, lawyers              ceased's occupation socioeconomically,



       Tabl' 2. Brain tumors among blue-collar occupations in surveys 01 mortaliy by occupation.
                                                                                     Observed
                                                       Study        Measure of         brain
       Oecupation or type 01 wor1'                     period      associalion ~      tumor       RatioC       Relerence
                                                                                      events
       Operatives & kindred wor1ers, MA             1971-1973         sMOR                ,.      3.26         Dubrow & Wegman (17)
       Painters, paperhangers, glaziers, US             1950           SMR               32       1.39         Guralnick (25)
       Carpenters (age 20-54 vears). MA             1971-1973         sMOR                7       2.7"-        Dubrow & Wegman (17)
       Brickmasons, slonemasons, tile
       selters, MA                                  1971-1973         sMOR                4       3.14         Dubrow & Wegman (17)
       Electricians, US                                 1950           SMR               31       2.21'        Guralnlck (25)
       Electricians, WA                             1950-1979          PMR               43       1.60'        Milham (48)
       Electricians, Los Angeles County, CA         1972-1977           PIR              11       1.42         Preston-Martin et al (~)
       Linemen & servicemen, telegraph,
       telephone, power, CA                         1959-1961           PMR                5      2.07         Pelerson & Milham (63)
       Welders, metal, Sweden                       1981-1973           SRR              ,.4      1.0l .       Englund et al (18)
       Boilermakers. CA                             1959-1981           PMR                3      2.18         Peterson & Milham (6)
       Machinists & JOb selters, US                     1950            SMR              37       1.42         Guralnick (2S)
       Machinists (age 20-54 years). MA             1971-1973          sMOR                5      3.12'        Dubrow & We9man (17)
       Air.,lane mechanies & reparrmen, WA          1950-1979           PMA              14       2.01-        IwWham (48)
       Firemen &. fire protection wor1ers, WA       1950-1979           PMR              14       1.77         Milham (48)
       Crane derríckmen & hoislmen, CA              1959-1961           PMR               3       2.23         Pelerson & Milham (63)
       Dehverymen & routemen, CA                    1959-1961           PMR               6       2.03         Pelerson & Milham (63)
       Glass & ceramiC makers, UK                   1970-1972           SMA                       1.31         Registrar General (65)
       Glass workers, Sweden                        1961-1973           SRR              10       2.39'        Englund et al (18)
       Farmers & larm workers, Canada               1965-1973           SMR               ,.      1.77         Howe & lindsay (33)
       Railroad elerks, WA                          195-1979            PMA              13       3.,.8'       Milham (48)

       · See lable 1 (loot note a) for a definition 01 the abbreviations.
       ~ See table 1 (loot note b) lor a definition of the abbreviations.
       C Ratio = observed:expected ratio or odds ratio.
       - Statistically significant (Poisson) at the 0.05 levtl.


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.. -    ~-~T       b. 1.                                 r ..                       J_                   --        ..   ~-..-.                l. I.l-

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                  Produetion of synthetic rubber                                                        solvC'nts (51, 52), A slightly elevated brain cancer ri~k
                  Table 3 shows results from studies of workers in ihe                                  was seen among \\orkers in the rubber indii)iry in
                  production of synthetic rubber, In 1949, an unusual                                   Sweden (18), but brain cancer mortality wa~ not
                                                                                                        elev¡it~d among US rubb~r \\orke'f in a 1950 SUf\'CY
                 c1usEer or deaths rrom CNS tumors was obsened
                 among residents of Summit County, Ohio. and a pos-                                     by inJustry (26) nor in other cohort studies of US rub.
                 sible link with the rubber industry was suggested (42).                                ber plants (46, 83) nor among worker~ in the rubber
                 Subsequently, a cohort mortality study of workers in                                   and cablemaking industries in England (19).
                 a rubber plant in the same county indicated an elevated
                 brain cancer risk among employees in the curing and
                 tire-building department (43). Later studies of the same                               PolyYinyl chloride production
                 plant population also implied that men employed in                                     A cohort was ;wembled rron&lants to examine the
                 tire assembly and tire building had an elevated brain                                  relationship between polyvnyl chloride (PVC) expo-
                 cancer risk, but brain cancer mortality was less than                                  sure and risk or cancer (II. 85). Among persons who
                 expected in the entire plant population (51, 52). The                                  had worked for at Ie . a job invoh ing e,(.
                 eleiiated ri~k occurred primarily among men whose at-                                  posure to vinyl c:hlori
                 tained age was less than 65 years (0:E=8:1'3), tho.e
                 who ll1d worked le~s than 15 years (O:E '" 7: 1.4), and                                           e twe \'e ram cancers observed during the
                 those \~ho started working in the industry arter 1925                                 stud)' period included rour glioblastoma. two astro-
                 (O:E = 8: 1.8). The findings suggested that the elevated                              cy..,      ,a"", ,g".,II,',~,~II.,w"~,.,l"v".,~~,,i¡i, ,~~!llb",2~à,; ;m,ro,l? O,Il m~~,' """'.,'",.,,peci fied.
                 risk ina)' be associated with exposur.:s introduced into
                 the work environment in more reccnt time periods (51),
                                                                                                                  . ~d--lof deceased
                                                                                                       workers in twO plants using vinyl chloride monOffi:r
                 Exposures in the tire curing, building, and assembly                                  indicated an incrca,cd relative frequency of brain can.
                 area. includc:d hexamethylenetetramine and drum resins                                                   . tre obsei \ed;''1nttont;''t'~'''wt're
                 contaiiiing coal tar, carbon tetrachloride, and other                                                                          ree of the fi~i: brain cancers were

                Table 3. Biain lumois ¡¡mong wOfkeis in the pioduchon of synthetic rubber.


                                                                                                                    Observed
                Occupation or type of work'                                           Study     Measure of            brain
                                                                                               as soci alio n "      tumor                 Ratio'                Reference
                                                                                      period
                                                                                                                       events
                Tire building & curing, Ohio                                      1940-1964         SRR                       4            5,63.                 t.hnclJSO et al (43)
                One rubo"r plarit. US                                             1940-1974         SMR                     20             0.80                  Monson & Nakano (52)
                  Tile building                                                   1940..1974        SMR                       7            190                   Monson 3. Nakano (52)
                  Tire assembly (~ 5 years)                                       1940-1976         SRR                       7            ..,.                 Monson & Fine (51)
                Rubber industry, Sweden                                           1961-1973         SRR                     30             123                  Englund et al ('8)
                Rubb~r prOducts industry, US                                           1950         SMR                     13                                  Güralnick (26)
                Four US rubber plants - Men                                       1940-1973         SMR                     14             078                  McMichael et al (~6)
                Tire building, US                                                 1951-1971         OR                        5            1.10                 Symons et al (83)
                liie assembly, US                                                 1951-1971         OR                        1            043                  Symons et al (83)
                Rubber & cablemaking industry, UK                                 1968-1974         SMR                    20              084                  Fox & Collier (19)
                 Tire seclor                                                      1968-1974         SMR                     10             1.08                 Fox 3. Collier (19)
                · See table 1 (footnote a) for a delinition of the abbreviations.
                " See table 1 (footnote b) for a definition 01 the abbre.iations.
                · Ratio = ObS~t\ed:expected ratio or odds ratio
                . Statistically significant (Poisson) at the 0.05 level,




                                                                                      Shldy    Measure of
                OcclJpation or type 01 work.                                          period   association"                                Ratio'               Reference



                PYC workers txposed ;, 5 years,
                 ;: 15 years lalency, US                                          1942-1973        SMR
                Vinyl Chloride monomer & PVC
                production workers, Sweden                                        1940- 1974       SMR                       2             6.12                 Byr"n et al i91
                PVC workers, Germany                                          c: 1959-1974         SMR                       2             1.62                 Weber et al 19a)
                PVC workers ever exposii, UK                                     1940-1974         SMR                       2             055                  Fox & Co!:'" (20)

                · US = United States, Germany = Federal Republic of Germany, UK = United Kingdom.
                . See table 1 (footnote b) for a definition of the abbreviations.
                '--Ri! IQ-\h "1:_" ,Hl119,J;~ÆA!Jgimm.',""
              117\"'.. """," '!5'~ ,~ . '''''''Y' .'..~""'...'..."'.'I!.t"\,;,..lÍi:::::
              ~~_ " "'"" _____..:0 " ;0' ,,;'Æ &:~".,,,,,~,:,.,~,,,::;~.jlMIUlt,:':::,:~~::~~:~m:::::::::::::m:m~~
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                                                                     7 00 men potentially exposed to \'inyl chloride
                                                                       onomer in the manufacture of pol)'\'inyl chloride in
                                                                       reat Britain indicated no excess brain cancer risk (2).




(97) major pant il ion,ltlG to this study and                        Petroleum refining and petrochemical production
tbose done
son (53),                                                            The first report of ele\'ated brain tumor risk among
posure 10                                                            oil refinery workers appeared in i 979 (table 5). In a
since firs ain cancef5 occurred and                                  cohort study of 1 205 men employed in a Canadian
~,_~iAW'WIU ftl_';lt. ~ii1!~l;W:-.. brain                            oil refinery for more than five )'ears, three deaths from
tumors OCurred among emplo)'ee who had less than                     brain cancer were observed and only 0.77 was expeted
five year' exposure to vinyl chloride. ~,..iWiß                      (87). This excess was confined to workers for whom
who \Vorke: at   the plants under study but never in the             less than 20 years had elapsed since first employment
vinyl chloridi:-exposed area also died from brain                    (O:E = 3:0.46), The work histories of the three brain
tumors. 1'0 expected numbers were shown for ihese                    cancer cases were vague with regard to occupational
categories of workers. Nine of the ten brain tumors                  exposures. Two died at 41 years of age and one at age
were histologically confirmed as glioblastoma multi-                 43.
f(irme, Age at death for these decedents ranged be-                    A proportionate mortality ratio stud)' of deceased
i.."een 33 and 65 years, Other exposures that workers                active and retired members of the Oil, Chemical, and
might ha\'e encountered included acrylates, acrylo-                  Atomic Workers International Union (OCAW) in
nitrile, and chlorinated soll'ents (96).                             Texas indicated an elevated frequency or deaths from
                                                                     brain cancer among white male hourly workers em- .
                                                                     ployed in petroleum refining and petrochemical plants
4), but the observed numbers of brain cancer deaths                  (90, 92). The increased relathe frequenty of brain
\lere \ er~ small (9, 98), Analyses of mortality among               tumors occurred primarily a~ong active employees in

Table 5. Brain tumors among workers in petroleum refineries and petrochemical productiOn.

                                                                              Observed
Oc~upalton or type of work'                     Study        Measure of         brain
                                                                                            Ratio.    Reference
                                               periOd       associalion b      tUr.or
                                                                               events
Refliie') wo~kers (õ! !i years), Canaoa      1928-1976          SMR               3         390       Theriault & Goulet (87)
..11 OCAW members in rehneries
... B, C, TX                                 1943-1979          PMR              33"        2.10'     Thomas et ai (92)
Aelive OCAW members in refineries
A,B.C                                        1943-1978          PMR              25d       2.29'      Thomas et al (92)
OCAW members - refinery A                    1943-1978          PMR              11Sd       2.14"     Thomas at al(92)
OCAW members - rahnery B                     1943-1978          PMR              10-        1.90      Thomas et al (92)
OCAW members - refinery C                    1943-1978          PMR               7d        2.35      Thomas at al (92)
OCAW ml'rnbers in rellnenes A, B, C
  l.ibe oil refining                         1943-1978          OR                5         1.6       Thomas et al (91)
  Pumpinc of prOducts                        1943-1978          OR                7         2.8       Thomas et al (91)
Texaco (A) - salaried & hourly               1947-1977          SMR              31         1.08      Divine et al (15)
Texaco (A) - research & qualily
control la!ls                                1947-1977          OR                8        3.9"       Divine et al(15)
Texaco (A) - lube oil refining               1947-t977          OR                3         4.1"      Divine et al (IS)
Gull (8) - all hourly workers                1935-1978          SMR              20d        0.90      Wen et al (99)
Gull (BI - hourly workers (~ 20 years)       1935-1978          SMR              15         1.40      Wen et .1 (99)
Mobil eC) - salaried & hOurly                1945-1979          SMR               9         1.09      Morgan & Wong (54)
Ninlaen refine"es, US                        1977-1979          SMR               8         1.63      Schollenfeld et al (75)
Ninteen refinenes, US                        1977-1979          SIR               9         129       Sehollenfeld et a1 (75)
Petroleum & coal products, US                    1950           SMR              13                   Guralniek (26)
Eight oil rellOerias, UK                     195-1975           SMR              36        0.80       Rushton & Alderson (70)
Oil disirit:ut,on centers, UK                1950- 1975         SMR              39         1.07      Rushton & Anderson (71)
Euon - o~!:r¡ilor, mechanie, laborer         1970-1977          SMR               4         1.1 i     Hanis et 91 (28)
Union Ca'::iiaa (NIOS,"), TX                 1941-1979          SMR              22-        2.06"     Waxweiler et al (95)
Union Ca'bide (company) - ,. 6 months        1941-1977          SMR              10         '00       Austin & Sellaller (3)
Petrochemical operators, LA and TX           1970-1980          PMR              12-        3.40'     Nicholson et al (56)
Dow Chemical, TX                             1949-1977        Sampie.            25d        1.26      Reeve et al (66)
                                                             based SMR

· OCAW = Oil, Chemical, and Atomic Workers International Union; TX '" Texas, US = United Stales; UK = Unlled Kingdom.
  NtOSH = Nalionai Institute for Occupational Safety and Health; LA:; Louisana
~ See ta!lie I \footnote b) lor a definition of the abbreviations.
· Ratio = observed.expected ratio or odds ratio.
· Observed includes benign and unspeified brain tumors.
. Statistically significanl (Poisson) at the 0.05 level.
.. Statistically significant at the 0.05 level using the author's signifcance lest.

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                  three oil refineries (A, B, and C) in the Beaumont-Port
                                                                                   employees. In one study of refinery workers, investi.
                  Arthur area of the Texas gulf coast (table 5), A nested          gators found no association bet\\een brain cancer ri.k
                  case-referent study comparing work hisiories of the              and oil refinery employment (28), and two other groups
                  brain tumor caes with those of persons who died from             of investi1!ators did not report the observed and ex.
                  other causes indicated an elevated brain tumor risk              pected values for brain cancer (29, 84), The follow-
                  among OCA W members whose jobs involved the intra-               up periOd for several ~tudjes (28.29,75, 8.l) was very
                  plant pumping and transporting of bulk liquids (mide             short (less than 10 years), and risks of f:ital disease with
                  oil and products) and the manufacture of fubric:iting            long latency periods may hne been underestimated.
                  oil, but the odds ratios were not statisticall)' significant       A cluster of primary brain cancer deaths among
                  (91).                                                            workers at a Union Carbide petrochemical plant in
                    Industry-sponsored studies of refineries A, B, and             Texas City, Texas, was reported in 1980 (2). All of the
                  C indicated slightly different results (table 5); however,       decedents were less than 66 years of age at death, and
                  the study groups differed substantiall)' in terms of             the best medical information available indicated that
                 hourly/salaried status, average duration employed, and            15 of IS tumors were ilioblastoma multiforme. A
                 induction-latency period. A cohort mortality study of             cohort moriality study of workers at this plant showed
                 white male Texaco (refinery A in references 90, 91, 92)           a signifcantly elevated standardized mortality ratio for
                 salaried (white-collar) and hourly (blue-collar) em-              brain tumors among white male hourly workers (table
                 ployees combined indicated no excess mortality from              S) (95). A similar analysis of the same data by the com-
                 brain cancer (15). A nested case-referent anal)'sis in-          pany also indicated a Significantly elevated brain can-
                 dicated significantly elevated odds ratios for brain can-        cer risk among workers who ever held hourI)' positions
                 cer among persons whose longest job was in research
                                                                                  (3), but nested case-referent analyses indicated no ~ig-
                 and quality control laboratories or in lubricating oil           nificantly elevated odds ratios asso~iated with expo-
                 refining (15). All male hourly employees of the Gulf             sure to any specific chemicals (4, 35).
                 refinery (refinery B in references 90, 91, 92) did not              Operating engineers employed in the petrochemical
                 have a significantly ele\'ated standardized mortality ra-        industry in Texas and Louisiana had an ele\'ated fre-
                 tio for brain cancer; however, mortality was slightly            quency of brain tumOrs (observed 18, PlvlR 1.73) (56).
                 elevated among those who had worked at the plant for             This excess was primarily due 10 a significantly dei ated
                 more than 20 years (99). The number of brain cancer              proportionate mortality ratio for brain tumors among
                 deaths observed among white male salaried and hourly             persons employed as operators in oil refineries and
                 employees of the Mobil refinery (refinery C in reference .
                                                                                  petrochemical plants (table S),
              90,91,92) was almost the same as that expectéd (54).                   A sample-based cohort mortality study of workers
              Among white men employed 10 Or mOre years at the                    at a Dow Chemical petrochemical plant in Freeport.
              Mobil refiner) there were slìghtly elevated standardized            Texas, suggested a slightly increased risk from brain
              mortality ratios for brain cancer (10-29 years, SMR                 tumors (table 5) (66). Clinical or paihOlogical infor-
              142.4; ?: 30 years, SMR 133.5),                                     mation was obtained for 19 of 25 brain tumors. Based
                In a mortality study of oil refinery workers employed            on the best medical information available, 12 were glio-
              by 19 US companies (table 5), eight deaths from brain              blastoma multi forme, and two others were gliomas. A
              cancer were observed, and 4.9 were expected (SMR                    nested case-referent study failed to identify a signif-
              1.63) (75). The investigators suggested that there may             icantly elevated risk assoiated with employment in any
              have been underreporting of deaths because of the                  particular department or \\ ¡th expOsure to any specilic
             short study peiod (two yeas) and the lag time between               chemical or other agent (8).
             the date of death and receipt of a death certificate.
             Cancer incidence among actively employed refinery
             workers during the study periOd was compared with
             that for the United States from cancer registr)' inci-              Other chemical production
             dence data. Nine incident cases of brain cancer were                Studies of chemical plant workers exposed to formal-
             reported, and about seven were expected. No analyses                dehyde showed inconsistent results regarding brain tu-
             by duration of employment or occupation were shown.                 mor risk. A cohort mortality study of 2026 workers
                  Brain cancer mortality was not excessive among                 at a large formaldehyde-producing plant suggested that
              35 00 employee of eight British oil refineries between             workers hired before 1961 had an ele"ated brain can-
              January 1950 and December 1975 (table 5) (70); how-                cer risk (table 6) (103). Two of the three persons with
             ever, about    20 IV, of the   study subjects had scientifc,        brain cancer died after a latency period of 10 years.
             technical, administrative, clerical, or engineering jobs,           A proportionate mOrl:ility ratio study of \\ (lkcr~ ;it
             most of which are presumably low-exposure occupa-                   another plant involved in the production of formal-
             tions, The same diffcuJiy occurred in a cohort of                   dehyde and its use in the production of resins did not
             workers at oil distribution centers in England (71), in             show an elevated frequency of brain cancer (44); how-
             which supervisors, managers, administrators, and                    ever only 136 decedents had been exposed to formal.
             clerical workers were included in the analyses. Analyses            dehyde, Both of these studies included small numbers
             were not shown separately for blue-collar (hourly)                  of exposed workers. No data for observed and ex-
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     peeted numbers of lirain cancer deaths were presented                plant were similar to tho!.e in metal working and fab-
     in a report of the moltaIity experience of 7 680 work-               ricating plants and included metal fumes. metal dusts.
     ers exposed to formaldehyde in the British chemical                  and oil mists. Seven of the eight incident brain tumors
     industry (i).                                                        were gliomas. and one was not specified. All except
       An e1e\'atc:d relative frequency of brain cancer was               one of the men with a brain tumor were between the
     seen among plant employees but not among sales rep-                  ages of 40 and 56 years at death.
     resentative~ of a large pharmaceutical firm (89). Brain                \\1iiie men employed at the Rocky Flats nuclear
     cancer mortality was elevated among white male                       weapons fabrication facilty ror at least two years
     production workers (O:E == 8: 1.6) and administrative                between 1952 and 1979 (102) had a slight exces mor-
     and clerical workers (O:E == 4: 1.0) (table 6). Produc-              tality from malignant brain tumors (table 7), and there
     tion workers in this industry are exposed to multiple                was a significant excess of benign and unspecified tu-
     chemical and biological agents.                                      mors of    the brain (O:E == 6: s 1.48). Exposures in the
       Acrylonitrile has been reported to cause brain tu.                 work environment included plutonium, uranium, be-
     mors in animals (41); however only one epidemiologic                 Iium, other metal dusts. oil mists. and other exposures
     study of acrylonitrile-exposed workers has shown an                  typical of machining operations, Increasing mortality
     excess of brain cancer (table 6). Two brain cancer                   trends by latenc)' were seen for brain tumors; however
     deaths were observed among acrylonitrile polymeriza-                 most of the tumors occurred among persons employed
     tion workers in the United Kingdom. and only 0.7 was                 less than i 5 years. A hospital record review of i 6 cases
     expected (100), In other studies, brain tumor risk was               in persons who had ever worked at the plant indicated
     not elevated (57) or not shown (14, 88).                             that 14 were gliomas, Age at death ranged from 31 to
                                                                          77 years. ..ith a median age of 50.5. A nested case-
                                                                          referenr srud)' failed to identify any particular jobs or
                                                                          exposures associated with unusually high brain tumor
     Nuclear industry                                                     risk (67).
     A stuJy of workers at a nuclear fuels fabrication plant                A cohcort mortality study of white men employed at
     indicated elevated brain cancer mortality and incidence              a Union Carbide nuclear weapons facilty sho..ed an
     among male plant employees (table 7) (27). It was as-                excess of brain cancer deaths among workers in de-
     sumed that all employees had exposure to low levels                  p:inrnents that did not have exPosure to mercury (table
     of gamma radiation; however other exposures in the                   7) (12). The operations in these departments included

     T.blii 6. Brain tumors among workers in other chemical plants.
                                                                                     Observed
                                                      Study       Measure of           brain
     Occupation or type of work'                      period     association b        tumor          Ratio'   Reference
                                                                                       events
     Formaldehyde prodi.cers, US
     (hired ~ 196)                                 1940-1977         SMR                  3          2.13     Won (103)
     Pharmaceutical production. US                 1954-1976         PMA                  8          5.00'    Thomas & Decoi.fle (89)
     Pharmaeeutical office workers, US             1954-1976         PMA                  4          4.00'    Thomes & Decoufle (89
     Acrylonitrile polymeriZation, UK              1950-1978         SMR                  2          2.90     Werner & Carter (100
     Acrylonitrile polymerization, US              1950-1976         SIR                  1                   O'Ber9 (57)
     Chemicals & alled prodi.cts, US                   195           SMR                 22          1.00     Guralnick (26)
     Chemical workers, Italy                       1979-1980         OA                   4          1.9      Musicco et 81 (55)

     · US" Unlled States, UK" United Kingdom.
     II See table 1 (footnote b) for a definition of the abbreviations.
     · Ratio" observed:expected ratio or ocds ratio.
     . Statistically significant (Poisson) al the 0.05 leveL.




     T.bl. 7. Brain tumors among workers In the nuelear fuels and weapons fabrication industry,
                                                                                     Observed
                                                      Study       Measure of           brain
     Occupation or type of work                       period     association ii       tumor          Ratio.   Reference
                                                                                      events
     Nuclear fuels fabrication                     1955-1978         SMA                  ~          2.40     Hacljimichael el aJ (271
     Rocky flats - employed .. 2 years
        Malignant brain tumors                     1951-1977         SMA                  I)         1.49     Wilkinson et al (102)
        Benign & unspecilted                       1951-11177        SMA                  6          4.05'    Wilkinson et al (102)
     Union Carbide - nonmercury                    1953-1978         SMR                 13          2.30'    Cragle el al (12)
     Hanford plant employees                       1955-1974         SMA                 28          0.99     Gilbert & Marks (22)

     . SMA = standartlhid mortality ratio.
     II Ratio" observeiJ:8Kpecled ratio or odds ratio.
      , Statistically significant (Poisson) at the 0.05 leveL.


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                  separation of a uranium i..otope through an electro-              cesing workers exposed 10 color de\elopers (2-l). Ri$l~
                  magnetic process and oiher engineering and manufac.              were slightly elevated amon,! workers e.~poscd to ~ol-
                  turing procöse in the fabrication of nuclear weapons.            vents, animalibsue. and film developers (i:ible S).
                    Workers employed in ihe manufacture. chemical                  None of the results "ere statisiically signiric~f1t. ;'0
                  separation, and purification of plulonium at the Han-            de:iths from brain cancer were obsen'ed amon2 ~o~
                  ford plant in Washington stale did not have an elevaied          deceased whiie male press phoiographers \, ho ~f:en
                  brain cancer risk (22) overall (table 7) or in any               developed their 0\' n fim (-l9),
                  cumulative radiation dose category. Data for men in                 A siudy of 47 glioma cases diagn05ed in 1979 and
                  metalworking and machining occupations were noi                   1980 in Milan, Italy, indicaied a twofold excess ri~k
                  shown separately,                                                or glioma among iex         tile workers (55), The odds ratio
                    None of the studies at nuclear weapons fabrication             of 2. I was not statistically significani (table 8). About
                  facilties showed an association of elevaied brain can-           20 % of the cases had worked in ihe textile industry,
                  cer risk in relation to any particular radiation leveL.          where formaldehyde and oiher chemicals were used in
                  One factor common to all of the facilties was the                pro.'esing fabrics, In a 1950 survey, US men employed
                  presence of machining operations in which there \Vas             in yarn, thread, and fabric mils had an eleval.'Ò
                  an opportunity for exposure to melal dusts and fumes             standardized mortality ratio for brain cancer (26).
                  and Iiibricaiing oil mists. Beryllium was machined at               White male members of the Pattern ~iakers League
                  one of the facilities (102).                                     or North America who died between i 972 and 1978
                                                                                   had an increased relative fre-quency of brain tumor
                                                                                   deaihs (68). The proponionate mortality raiios '\ere
                                                                                  e1e\'ated among pattern maJ.ers who worked pr.-dom-
                  Other industrial workers                                        inantly wiih wood and among those who worked pre-
                                                                                  dominantly with metal (iable S). A cohort analysis of
                  Numerous chemicals, some of whkh contain formal-                cancer morbidity among automobile pattern makers
               dehyde, are uscd in photographic processing op~ra'                 who worked with wood round no significant e~cös or
               iion), and high levels of formaldehyde have been mea- brain cancer (79).
               sur:d in print l:iboratories (21). After preliminary stud-, Machinists employed at an automobile mamifa.;tur.
               ies indicated a po~sibie brain cancer excess amóng em. ing plant for five years or more in jObs \\ ith exposure
               ployees of an Eastman Kodak plant, a nested case- to cuiiing oil mists did not have a ~ignifkantly "Ie, aied
               referent siudy of brain cancer by exposure caiegory                risk of death due to brain cancer (O:E '" 5:3.3) (I ~).
               indicated an elevated risk among phoiographic pro-                 Among men who emered the study group arler 19-l8,


              Table 8. Brain tumors amOng other industrial workers,

                                                                                           Observed
              Oceupation or type of work'                      Study       Measure of        brain
                                                               periOd     association b     tumor        Ratiot        Reference
                                                                                            events
              Kodak WOrkers (age 55-59 years), NY           1964-1975         SIR             14         2.81'        Greenwald et al (2()
              Kodak workers - solvenls                      1956-1975         OR              32         1.40         Greenwald et al (24)
              Kodak wor~,ers - eoior developers             1956-1975         OR               6         2.16         Greenwald et al (24)
              Kodak workers - animal tissue                 1956-1975         OR              13         1.32         Greenwald et al(241
              Kodak workers - black & white
              developers                                    1956-1975         OR               7         1.31
              Textie ,"orkers, Italy                                                                                  Greenwald et al (24)
                                                            1979-198          OR              10         2.1          Musicco et al (55)
              Yarn, threaj, fabric mills, U5                   1950           SMR             32         US
              Patte", makers - wood, US                                                                               Guralnick et al (26)
                                                            1972-1978         PMR              7d        1.75         Robinson et al (68)
              Paii   ern makers - metal, US                 1972-1978         PMR              Sd        2.94         Robi~son et al 15ai
              Aulomobile wood pattern makers, 111           1970-1978         SIR              1         1.63         Swanson & Belle (791
              Automobile machinists (1948+), US             1937-1967         SMR              3         3,75         Decoufle (13)
              AIIÎalion eleetronies workers, US             1950-1980         PMR              9         3.0l"
              Alum"ium reduction workers, US                                                                          Sweeney & Ahrenhol: (80)
                                                            1945-1976         SMR              8d        2.25         M'lham (47)
              Bus mechanics, UK                             1967-1975         SMR              4         3.20         Rushton et al (72)
              Railroad carmen, Canada                       1965-1977         SMA              7         2.78'        Howe et II! (321
              Railroad - welding fumes, Canada              1965-1977         SMR             10         3.18'        How;! el al 1.321
              Railroad workers, US                          1967-1979         SMR              5         1.32         SChen"er e: al (731
              Asbestos insulalion workers, US               1967-1976         SMR             21 d       159          Seidman et al (76)
              Electricians, linemen, serYicemen,
              engineers, MD
                  Ghat tumors                               1969-1982         OR              27         2.15'        Un ei al (38)
                  Unspecified brain                         1969-1982         OR              15d        1.54         Un el al (38)
              · NY.. New York, US.. Uniled Stales, 111.. MIChigan, UK.. United Kingdom, 110 = Maryland.
              II see table 1 (footnote b) tor a definilion of the abbrev,ahons,
              C Ratio = observed:e"pected ,aho or odds ratio.
              · Observed ineludes benign and unspeCified brain rumors,
              . Statistieaiiy signifieant (Poisson) at the 0,05 leiiel.


              8
                                                                                                                        ASI 00005207
                     -          "      -u..&_~..________._~ ___..___ _~_..___.. ~'#."""_.'.'" ...
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    IiCl\\e\'er, there: was a notable excess of brain cancer   elevated brain cancer morial¡t~. among electricians and
    deaths (table 8),                                          power servicemen. Electrical engineers (table i) also
l     A proportionate mortality ratio analy.is indicated       ha elevaied brain cancer mortality. Thes occupations
    th:u while male hourly and salaried employees of an        have potential exposure to electromagnetic fields, po-
    a\'iation electronics plant had an elevated frequency      lychlorinated biphenyls. solder fluxes, and solvents.
    or deaths from brain cancer (table 8) (80), Six of the
    nine brain cancers were glioblastoma multiforme, one
    "a~ neurilemmoma, and tW(\ were unspecified. Poten-
                                                               Professional and other noninduslriel groups
    tial workplace exposures included trichlorethylene, be-
    r)'lIum, and a halogenated aromatic h)'drocarbon           The National        Institute for Occupational Sarety and
    balandng fluid, All five hourly employees with brain       Health (NIOSH) evaluated the mortality experience or
    cancer had worked as machinists.                           white men employed as motor vehicle examiners in
      A mortality study of aluminum reduction plant            New Jersey for at least six months between 1944 and
    workers (table 8) indicated an ele\'ated risk of benign    1973 (77). The examiners were exposed daily to mo-
    brain tumors (observed 5, SMR 9,09) but not malig-         lor vehicle exhaust con.i$ting of aldeh)'des, carbon di-
    nant tumors (observed 3. SMR 0.99) (47). All fj\'e per-    oxide, carbon monoxide, hydrocarbons, lead com-
    sons with benign brain tumors had worked in "ex-           pounds, nitrogen, oxides of nitrogen, oxygen, and sul-
    posed" jobs in the carbon plant, rodding, potlining.       fur dioxide, Four deaths from brain cacer were ob-
    potrooms, or quality control. Exposures included fluo-     served, and only 1.7 were expected (table 9), All four
    rides, particulate alumina, polycyclic aromatic hydro-     brain cancers were malignant gliomas.
    carbons, and sulfur dioxide. An excess of benign neo-        A proportionate mortality ratio study of profes-
    plasms wa, found in another study of workers em-           sional artbts indicated a significant threefold excess
    ployed in 14 aluminum reduction plants (69); however       frequency of brain cancer deaihs among white male
    no details \\ere given regarding the primar site of thes   artists (table 9) (50). The excess deaths were not linked
    tumors.                                                    10 any particular art specialty. Arists may be expose
      Maintenance workers exposed to hydrocarbons in           to numerous potentially carcinogenic substances in-
    the form of diesel exhaust in London bus garages had       cluding componeni~ of pigments, dyes. solvents, metal
    a slightly elevated standardized mortality tatio for       fumes, and dust,
    brain cancer (S!\fR 1.21) (72). This excess was prima-       Professional chemists are exposed to numerous
    rily due to ihe elevated standardized mortalìty ratio      chemical agents in the laboratory setting. An elevated
    for brain cancer among bus mechanics, who were also        standardized mortality ratio for brain cancer was seen
    e.~posed 10 oils, greases, and solvents (table 8).         among 526 chemists who had been educated at one
      A study of Canadian railroad workers exposed to          school in Sweden (58) between 1930 and 1949. No brain
    die~el rumes and coal dust showed an elevated brain        cancer deaths occurred among 331 men educated at
    cancer risk among carmen (table 8) (32). Railroad          a second Swedish school (58), Further rollow-up or the
    workers exposed to welding fumes had a threefold ex-       first cohon indicaied a significatly ele\'ated mortality
    Ct\S or brain cancer mortality. A survey of mortality      from brain cancer (table 9) (59). Other studies of
    ~y occupation in Sweden also showed excess brain can.      chemists ha\'e not reponed ele\'ated brain cancer mor-
    ccr among welders (table 2) (18), US railroad workers      taliiy (3 I, 37).
    had a slightly elevated standardized mortality ratio for     Members of the Royal College or Pathologists in
    brain cancer (table 8), but no data were shown for         1973 were followed for vital status in 1981 (30). Among
    those with high levels or exposure to diesel or welding    2 300 men. six deaths from brain cancer occurred and
    rumes (73).                                                less than two were expected (table 9). Hematology was
      A slightly elevated brain tumor risk was reported in     a common subspecialty among the decedents with
    a cohort study of asbestos insulation workers (table       brain cancer. Pathologists are ex!'osed to rormalde-
    8) (76). These workers were employed primarily in the      hyde and other laboratory chemicals, Anatomists, who
    building construction trades, but they also could have     are exposed to similar chemicals, had a significantly
    worked in shipyards, chemical plants. and oil refin-       ele\'ated brain cancer risk (78) compared with the US
    eries, \\ here there are exposures to numerous sub-        general population (table 9), When another profes-
    stances.                                                   sional group was used for a comparison, the stan-
       A case-referent study using the ocupation listed on     dardized mortaliiy ratio was 6.00. Risk appeared to
    death certificates suggested an elevated risk or glioma    increase by duration of employment, but was also
    and unspecified brain tumors among a category or           ele\ated among ihose employed less than 20 years. Risk
    workers which included electric and telephone com-         was elevated regardless of presumed le\'el of exposure
    pany servicemen, linemen. foremen, and engineers;          to formaldehyde, Four or the 10 brain cancers were
    railroad and telecommunication engineers; electricians;    listed as "astrocytoma" on the death cenificate, while
    and electric and electronic engineers (table 8) (38),      the remaining six \\ ere listed as "glioblastoma."
    These findings are consistent with those seen in four        Proportionate mortality raiio analyss of deaths
    SUT\'eys of mortality by occupation (table 2) that found   among embalmers and runeral directors in New York

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                 Tabla t. Brain lumors among profession.1 and olher nonindustrial workers.

                                                                                              O~$erved
                 Occupalion or lype of work.                    Siudy        Measure 01         brain
                                                                periOd      assoc,alion ·      lumor       Ratio"     Reference
                                                                                               events
                 Moto vehicle examiners, NJ                  1944- 1973         SMA                4       2.35       Stern ei al (77)
                 Professional artists, US                    1940-1969          PMR                8       290'       Miller et 81 (50)
                Chemists - one sehool, Sweden                1930-1977          SMR                5       '.17'      Olin & Ahlbom (591
                DuPont chemists, US                          1964-1917          SIR                2       0.67
                Palhologists, UK                                                                                      Hoar & Pell (31)
                                                             197'-1981          SMR                6     :. 3.00'     Harnngton & Oakes (30)
                Anatomists, US                               1924-1979          SMR               10        2.71'     Slroup et at (78)
                Embalmers, NY                                1925-1980          PMR                6       2.34       Walrath & Fraumeni (93)
                Embalmers, CA                                1925-1980          PMR                9       1.94       Walrath & Fraumeni (9')
                Embalmers, Ontario                           lLL0-1977          SMR                3       1.5        Levine et al (361
                Female cosmetologists, CT                    1935-1978          SIR               16       1.68       Teta et al (861
                Registered female nurses, Wi                 1963-1977          PMR               21       1.61       Katz (34)
                Veterinarians, US                            1947-1917          PMR               28       1.63'      Blair & Hayes (7
                Farmers afliir 196, Italy                    1979-1980          OR                13       3.6'       Mualcco et al (55)
                Agrieultural industry, Canada                1965-1973          SMR                "       268        Howe & Lindsay (33)
                Agricultural workers, Swaden                 1961 -1973         SMR             744        1.08'      Wiklund (101)
                · NJ '" New Je,sey, US:: United States, UK", United Kingdom, NY:: New York, CA:: California, CT:: Connl!cTicut,
                  Wi = Wisconsin.
                II See table 1 (footnote b) for a dtfinltion of the abbreviations
                · Ratio:: observed:e~peeted ratio or oddS ralio
                . Stiitistically signifcant (Poisson) at the 0.05 level.


                (93) and California (94) indicated elevated frequencies             compounds became vcr)' common as pesticides in (¡a.
                of brain cancer deaths (table 9). Among white men in                ly (55), A study of primary eNS neoplasms in !'linne-
                New York licensed only as embalmers, there was a                    sota indicated a slightly higher than expected propor-
                l.S-fold excess (93). A cohort mortality study of On-               tion of farm residents among the brain tumor ca-es
                tario embalmers did not show an excess brain cancer'                (10). The authors speculaied that there may be an as-
                risk, but the study group was small, and no data were               sociation with to.\oplasmosis gondii inrection. Elevated
                shown by latency or duration of exposure (36). Em-                  brain cancer risk was also found in a study of Swed-
                balming fluids consist primarily or formaldehyde, but               ish agricultural workers (IOJ) and among agricultural
                also contain phenol and methanoL.                                   workers in Canada (33).
                  Professional cosmetologists are occupationally ex-
                posed to numerous chemical substances, including for-
                maldehyde solutions, hair dyes, permanent wave solu-
                tions, and other cosmetic preparations. Female cos-
                metologists in Connecticut had an elevated incidence                Discussion
                of brain cancer (table 9) (86). This excess was more                There were several     limitations in the presented epide-
                prominent among those who began hairdressing school                 miologic studies, First, there is a paucity of case.
                between 1925 and 1934 (observed 6, SIR 2.02). Ten                   referent studies of brain tumors; thus most of the in-
                of the 16 cas observed were histologicall,' confirmed               formation was obtained from mortality studies that
                gliOblastoma multiforme,                                            lacked suffdent statistical power to evaluate specific
                  A significantly elevated frequency of nervous sys-                ocupational risk factors adequately for brain tumors.
                tem cancers was seen among registered nurses in Wis-                Tbe observed and expected numbers of brain tumor
                consin in a comparison with other gainfully employed                caes in most of the studies were very small. Exposure
                women (table 9) (34). The observed number of deaths                 information was ascertained from work histories in
                was also greater than the number eltpected on the basis             some of the studies and from interview data in some,
                of mortality among other female professional workers                but, in others, no specific information on \\orlplace
                (PMR 1.47).                                                         exposures was available. In the nested case-refereni
                  An analysis of mortality among veterinarians indi-                studies the numbers were very small, and there were
                cated an excess frequency of deaths from brain can.                 diffculties in relating exposures It specific jobs. In
                cer (table 9) (7). The increased relative frequency was             most instances workers had multiple exposures, and
                not confined to any particular veterinary specialty                 risks due to any single eltposure could not be ade-
                group.                                                              quately evaluated,
                   Four studies have shown an ele\'ated brain cancer                  Brain tumor diagnosis was ascertainc-d from death
                risk among farmers (table 9). Odds ratios ror gliomas               certificates in most of the studies; therefore the accu-
                were statistically significant among Italian farmers who            racy of the diagnoses may be questionable. The diag-
                had been farming for more than 10 years and among                   nosis "brain tumor" listed on a death certificate would
                those who bad been engaged in farming since 1960,                   be nosologically coded as ¡¡ pnmary tunior of th~ brain,
                when the use of phosphoric acid and organochlorine                  unspeified as to whether malignant or benign. Many
                10


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.': :h..i. tumors may actually have been primary ma.          populations (eg, workers in the tire building sector or
                                                              rubber production, refinery workers in lubricating oil
!.;",;iides of the brain. Alternatively, since the brain
."1 .ommon site for metastases of other primar can-           manufacture), In addition other groups \\-ith medical
. :r-, some death certificate diagnoses may not renect        surveilance programs, for example, Du Pont em.
:1:.' ai:tual primary site. A study of deceased persons       ployees. do not show an elevated brain tumor risk (61).
,;! tile Third National Cancer Survey area indicated
                                                                Despite limitations in study methodology, some si-
th.U about 97 l!. of deaths from malignant brain tu-          milarities are seen between the findings or these stud-
IllNS would be ascrtained from death certifcates (62),
                                                              ies with respect to age and cell type diagnoses. Ages
                                                              at death ror most of the brain tumor cases ranged
\\ hereas only 89 11. of all primar brain cacer diag-
n~ht' on death certificates were confirmed by hospital        between 40 and 65 years, It is not clear whether this
iecords. This finding indicates that about 10 l!.ofthe        pattern renects the age distribution or the populations
                                                              studied or a biological phenomenon related to the
brain cancer cases ascertained from death certificates
iia) be misdiagnosed. The issue of misdiagnosis is not        origin or brain tumors, Age-speific mortality rates for
.:onsidered a major problem, particularly if the general      US ",hite males indicate a peak between the ages of
                                                              45 and 65 years (45),
population is used to calculate expected numbers of
death in studies that ascertain cause of death from              Very few studies included diagnostic information
d~at h certi iicates.
                                                              from sources other than death certificates, Since death
                                                              certificates do not often indicate the cell  type of these
   In 1981 Greenwald et al (24) concluded that an ex-
.:e~s or brain tumors noted among Kodak employees             tumors, most studies grouped all brain tumors without
maì ha\'e resulled ftom a "diagnostic sensitivity bias,"      distinction by cell t)'pe, It is possible that risk factors
This conclusion was drawn because none of the results         vary by cell type. In the studies that had diagnostic
of the nested case-referent study were statistically sig-
                                                              information from medical records, a high percentage
liilÏcant and because Kodak employees had brain tu-           or the diagnoses were gliomas. particularly glioblas-
mor diagnoses that were histologically confirmed more         toma multiforme; however, no expeced numbers
orten than did other brain tumor patients in New York.        could be calculated for this type.
This explanation might appear plausible in light of the            Table 10 shows selected categòries of exposures com-
excess rhk noted in several professional and white-            mon to the work environments of the occupational
collar groups; however, all of the workers reported to         groups that appear to have an elevated brain tumor
h;i\"' ele\ated brain tumor risk in this review were           risk, This list is by no means all-inclusive, and one must
                                                               keep in mind that most of the occupational groups
probably not enrolled in comprehensive medical sur-
\'cilance programs. Furthermore excess brain tumors            listed are exposed to multiple agents, Numerous groups
were seen only among cenain subgroups or some plant            with elevated brain tumor risk are likely to be exposed


Tabl' 10, Common ocupational exposuras among groups with elevated brain tumor risk.
                                                                                  Exposure
                                                                        Acryloni.                  Polycyclic     Phenols
 Occupali~nal group potentially exposed                     Lubri.       trile or      Formalde-    aromatie        and
                                            Organic         cating
                                           solvents                       vinyl          hyde       hyd ro-      phenolic
                                                             oils        chloride                   carbns      compounds

                                               )(                           )(
 Acrylonitrile polymerization workers                                                                  x
 Airplane mechanics and repairmen              )(             x
                                               )(                                                      x
 Aluminum reduction plant workers                                                            )(                     )(
 Anatomists
 Artists                                       )(
                                               x              )(                                       x
 Bus mechaniCS                                                                                                      )(
 Chemists                                      x                                                                    )(
                                                                                             X
 Cosmetologists
 Electricians                                  X
                                                                                             x                      X
 Embalmers                                                                                                          x
 Farmers and agricultural workers              x              X
                                                                                             )(
 Formaldehyde production workers                                                                        x
 Maehinists                                    X              X
                                                                                                        li
 Motor vehicle examiners                                                                                X
 Nuclear fuels & weapons fabrication           x               x
                                                                                                                    x
 Nurses                                                                                                 x           x
 0,1 refinery workers                          X               x
                                                                                             x                      x
 PathOlOgists
  Pattern makers - metal                        x              x
                                                x                                                                   x
  Petrochemical plant workers                                                                 x                      X
  Pharmaceutical workers                        x
                                                X                                             x                      X
  Pholographic process workers
  Polyvinyl Chloride production workers         X                            x
                                                x                            li                         x            x
  Rubber workers                                                                              X                      )C
  Textile workers                               X
                                                                                              X                      X
  Veterinarians

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                 to organic solvents, This broad category of compounds       tumors in laboratory animals. These include certain
                 includes aliphatic hydrocarbons and aliph:i¡ic ha-          polycyclic aromatic h~'drocarbons, ..inyl chloride. and
                 lognated hydrocarbons like methylene chloride, car-         acrylonitrile. Ho"e\'er, se\'~ral of the subsean,es, sp('-
                bon tetrachloride, tetrachloroethylene, and others. It       cincall~', rormaldehyde, certain solvents, and some
                also includes aromatic hydrocarbon sol\'~nts like ben-       phenolic compounds, are kno\\n to caus~ neurotoxic
                zene and toluene. One of the common acute errects            effecs arter acute high-level exposure, Thus, th~ brain
                or exposure to many of these compounds is CNS d~-            is obviousl)' a target organ for the toxic effects of these
                pression (16); however solvents are not known to cause       materials.
                brain tumors experimentally. Oil refin~ry workers,             Clear!) , further epidemiologic studies are necessa.
                chemical plant workers, rubber workers, and many             ry to evaluate the relationship between brain tumors
                other occupational groups are exposed to organic             and occupational exposures. These studies ~hould in-
                solvents,                                                    clude lar!!e numbers of cases and diagnostic confirma-
                   Exposure to polycyclic aromatic hydrocarbons oc-          tions so that data may be analyzed by cell t~'pe. Suffi.
                curs in the rubber manufacturing, petroleum refining,        cient care should be used in selc-ting referents so that
                and aluminum reduction industries, Motor vehii.e ex-         the diagnostic sensitivity probkm, if it ~xists, is mini-
                aminers and bus mechanics may also b~ exposed to             mized. Finally, and most importantly, an allempt
                these hydrocarbons in motor vehicle exhaust. Certain         should be made to develop d~ta¡led occupational ex-
                polycyclic aromatic hydrocarbons have induced brain          posure indices.
                tumors in animals by direct implantation and trans-
                placentally, but not by inhalation exposure (81).            NOTE: Use or trade names is for identification only
                  Lubricating oils produced by oil refineries are used       and does nO! constitute C'ndorsernent b)' the Public
                for maintaining mechanical equipment and machines            Health SeT\'ice or by the United States Department of
                and ror lubricating \.utting edges, Thus ~\'eral of the      Health and Human Services,
                groups with c:evated brain cancer mortality are ex-
                posed to various t)'pes of lubricating oils.
                  Gliomas have been experim~ntally induced in ani-
                mals b~' inhalation exposure to acrylonitrile and vinyl
                                                                             References
                chloride (40, 41). These compounds are similar in              l. Acbeson ED, Gardner :ilJ, Panneii B, Barnes HR. Os.
                                                                                  mond C, Taylor CP. Formaldehyde in the British chem.
                chemical stricture and are found in plastics depart-              ical industy. Lancet I (I9~) 611-616.
                ments in the rubber industry, in pol)'vinyl chloride          2. Aleunder V, Leffngwell 55, Lloyd J\\, Waxweiler
                produ'tion, and in acrylonitrile polymerization.                   RJ. Miler RL Brain c:in.:er in petrochemical workers:
                   Formaldehyde has recently been shown to induce                  A caseseriesreprt. Am J Ind \Ied t (1980) 115-123.
                nasal cancer in rats (82), a finding implying that it may      3. Austin SG, Scbnalter AR. A cohort moriality stud)'
                                                                                   of peiro.hemical workers, J Occup l\led 25 (1983)
                also be carcinogenic in humans. Several of the groups             30.i-312.
                with elevated mortality from brain cancer \\ere occu-         4. A usiin 5G, Schnatler AR. A case-control stud\" of
                pationally exposed to formaldehyde, These groups in-              chemicar expo.ur~ and brain tumors in pelro.:he~icai
                                                                                  workers. J Occup Med 25 (1983) 313-320.
                clude blue-collar workers involved in formaldehyde            S. Á'tell L:It, Asire AJ, :I1)'ers MH. ed. Cancer parienr
                production, photographic processing and textile                   sun ivaI. repor! number S. US Government Priming
                production, profesionals who use formaldeh)'de in the             Office. Washington, DC t9;6. (DHEW publi.:ation no
                laboratory setting, and embalmers.                                (l'IH) 77-992).
                                                                              6. Bailar JC, Ederer F. Note: Sisnifkance factors for ihe
                     Phenols and phenolic compounds are used widely
                                                                                  ratio of a Poisson \"ariable 10 iis e~pelaiion, Biometrics
                in manufacturing industries, and many of the com-                 20 (1964) 639-643.
                pounds have commercial uses. These include phenol,            7. Blair A, Hayes HM. !\orralir)" patterns amona US \'e-
                chlorophenols, cresol, resorcinol, hydroquinone, and              tennarians, 19.i7-1977: An ei¡pandOO siudy. Int J Epi.
                                                                                  demio! iI (1982) 391-397.
                Quinone. Phenolic compounds are used in the produc-           8. Bond GG, Cook RR, Wighi PC. Flores GH. A case.
                tion of explosives, fertilzers, textiles, paints and paint        control study of brain iumor mortality at a Te~n5 chem.
                removers, rubbe, woo presrvatives, synthetic resins,              ical plant. J Occup ~Ied 25 (1983) 377-386.
                pharmaceuticals, photographic chemicals, rubber. and          9. B)'ren D, Engholm G. Englund A, Wcsierholm P. '"lor.
                                                                                  ialii)' and cancer morbidiiy in a group or Swedish "cm
                organic chemicals. Commercial uses include fungicides             and p\e production workers. Environ Heahh Perspe¡
                and herbicides, disinfectants, laboratory reagants, and           17 (1976) 167-170.
                photographic processing (60). Acute intoxication of          10. Choi N\\. Schuman LM, Gullen WHo Epid.:miology
                thes compounds causes severe CNS effects, induding                of primary central nen'OUi system neop!:!"ns: 1 \ lor.
                                                                                  lalii~ from primar)' central nen'ous sysicin neoplasms
                trers, convulsions, verigo, and mental disturbances.
                                                                                  in :Ilinnesota. Am J Epidemiol 91 (1970) 238-259.
                None of these compounds have induced brain tumors            1 i. Cooper WC. Epidemiologk study of vinyl chloride
                experimentally; however some phenols are known to                 y..or\.rs: :Ilortality throug:h December 31, 1972. Envi.
                be tumor promoters and cocarcinogens in certain tis-              ron Health Perspet 4t (1981) 101-106.
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                sues (16).                                                       Fry SA. A mortality study of men expo.ed to elemental
                     Of the broad categories of aforementioned sub-              mercur)". J Occup :-100 26 (I9S-l) 811-821.
                stances, only a few have been shown to cause brain           13. De.oune P. Further analysis of cancer mortalit~. pat.

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                                                                                                               ASI 00005211
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        i..rn~ among workers expost 10 cutting oil mi~s. J Nail    35.   Lcrrin!!""ll 5S, Wa.\"eiler R, Alex:indcr V, Lud",ii
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                       Exhibit 86: 8/8/1986 (SL 067033)
CMA refers to the next Wong report as "final" and 'accepted" with Gaffey's apologies that
 he was not able to make all    the sponsors substantive changes. In 1991 the CMA group
would falsely accuse Wong of breach of contract for not submiting this ve/y report to them
      before publication. (a support that the group had suppressed in 1986, just prior to
   disbanding, their work completely - only to be immediately resuscitated in 1991 after
 Wong had the nerve to actually publish 5 year late) accusing him of "breach of contract."




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.                          CHEMICAL MAACTURS ASSOCIATION


                                   Record of Meet ing

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                              Vinyl Chloride Panel ~eeting                                  4'&6' /.,
                                                                     \'" --;..,
                                             with
                              Environmental Health
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                                                                         '(Qj -
         Date: September 8. I~                        Place: Environmenta11(~h A:i~or: jRtes
         Time: 9:30 a.m.                                       Oaklanrl, CA

         List of Attendees:


         Willi41 Gaffey               Monsanto Company
         Sally Cowles                 Shell Oil Company
         Donald Whorton               Environmental Health Associates
         Otto Wong                    Environmental Health Associates
         Has Shah                     eM!


                                      discussed comments received by
                                          ogy Study of Vinyl Chloride
                                             . _ofmthecomen
                   Products could not be incorporated in the
                   because they would require additional wor
                   in the scope of work for the current contract.
                   Gaffey will prepare a written record of comments
                   that could not be addressed for various reasons,

              2.0 ERA will revise the draft report based on the comments
                   received and will submit the final report by the end
                   of September.

              3.0 A Panel meeting will be scheduled soon ôfter the final
                   report is received to discuss a future course of ~ction.

              4.0 Th meeting adjourned at approximately 12:00 noon.



                                                    ,.\ CVJYYVv~ 9~~l'-
                                                    Has Shah, Ph. D,
                                                    Manager, Vinyl Ch loride Program




                                                                                               SL 067033



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                    Exhibit 87: 8/26/1986 (BFG 21231001)
 BFG IOC Harold W. Dietz (BFG Louisville Occupational Health Director) to Beeler (BFG
  Atty/Plant Mgr) re: Sending you the information we have on brain cancer at Louisville.
which was only 4 BCs (while the atty. had 11) and, for at least the first time expressing his
conclusion that he saw nothing else (a subject he had been directed to consider) besides
      the "recognized" association with VCM exposure could have caused the BCs.




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    August 26, 1986


    E. L. Beeler
    Louisville
    Pursuant to our telephone conversation on August 25, 1986
    I am sending you the information we have on .~~...
         i U_
    Attached are sheets showing ratios of observed and expected
    cases and a list of those individuals involved. I have not
    included individual department data because we have not been
    receiving department number changes and job changes so that we
    have old numers with missing titles. However it appears that
    no two cases were in the same department at the time of deatti
    or diagnosis. Job histories might show common exposures in
    the past, of course.

    As I recalled, there appears to be an excess of brain cancer
    deaths at Louisville, although with these small numers, sta-
    tistical significance is not reached. The number of cases
    (morbidity) does not appear excessive when compareQ ~i of
    BFG. I cannot find any real explanation for this.
    You    will note that we have while
    I believe you indicated eleven. there are more
    brain cancer cases, I would like if possible.. a list
    of names, 55 numbers and date of death or diagnosis to determine
    if these are true brain cancer cases or why they have been missed.

    The latest update of the epidemiology stud
    a draft of . d,
    betwe
                                                    of VCM/PVC workers i
                                                              n association
                                                             ee any exces s
    of brain cancer                                        H'f:'J!tt, is also
    manufactured bu




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               Exhibit 88: 8/28/1986 (BFG 11521 -11522)
Letter to H. Shah; CMA from H. Dietz re: comments on draft final report - Epidemiologic
                       Study of Vinyl Chloride Workers; Wong




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             O;ty.:Goo. h
             ::,~. fie
            The BFGoorlh Compny                                          Acdiess Reply To:

            500 Sou Main Strt                                            Det. 0020
            AJ. Ohio 44318                                               Blg. 24-B

~            August 28, I~
             Has Shah
             Chemical Manufacturers Association
             2501 M Street, NW
             Washington, DC 20037
             Dear Dr. Shah:

            . We have reviewed thelB: final report entitled "Epidemio-
             logic Study of Vinyl Chloride Workers" in this office and
             find ~~ -~ r-~ ~~~ n_~hi ~-s for comment.
                                paragraph on page 15 appears redundant but this is

                                  interesting. We wonder if it is wort
             a study of the feasibility of determining prior work history
             or prior exposures in thi s group as part of a case control
             study.
             If, at the meeting with Dr. Wong, the data on deaths due to
             (~llpt.L'-~)"ê! continues to appear valid, we would support &*i
             reporting of that information. In our own analysis of deaths
             over the past ten years we do not find an excess of deaths due
             to emphysema in our own VC /PVC plants.

             I regret that my personal medical difficulties make it difficult
             for me to participate in the September 8 meeting.
                                                          Sincerely,

                                                         1! L / #..W-
                                                         ~~ietz, M.D.
                                                          Director
                                                          Heal th and Environmental
                                                          Services
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                                                    CLL~
                       CHEMICAL MANUFACTURERS ASSOCIATION



                                                                                                     AUG 25 1986
                                                                      Aug. 20, 1986



    De ar Viny 1 Chloride Panel Member:
         By now you would have received ~~finai report
    entitled "Epidemiologic Study of Viny"~"Mide Workers. II
    I have scheduled a meeting wi th The Environmental Health
    Associates to discuss the draft final report. The meeting
    will be held at 9: 30 a.m. at Environmental Health Associates
    in Oakland, California. The ERA offices are located at
    520 Third Street, Suite 208. The telephone number is 415-
    451-1888.
         Please call me by August 29 wi th your major comments
    on the report so that I can convey those to Dr. Otto Wong
    prior to the meeting. It is imperative for you to submit
    your comments to me by the end of the month especially if you
    are not planning to attend the meeting.
         Please call me at 202/887-1192, if you have any questions
    or need addi tiona! information. Also please call me to
    let me know if you are planning to attend the meeting.
         Looking forward to seeing you on September 8 in Oakland,
    California.
                                                                      Sincerely,
                                                                      J1tL':J .9\J"-
                                                                      Has Shah
                                                                      Manager, Vinyl Chloride Program




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                Formerly Manufacturing Chemists Association-Serving the Chemical          Industry Since 1872.
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          2501 M Slreet, NW ..Washington, DC 20037 -Telephone 202/867.1100 -Telex 89617 ICMA WSHi


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          Exhibit 89: 10/14/1986 (BFG 21238001 - 21238023)
      BFG IOC to E.L. Beeler (BFG Atty/Plant Mgr) from H.W. Dietz (BFG Louisville
Occupational Health Director) Re: Enclosing a list of 11 BC victims, some not included in
 EPI Studies, some of whom never will be included in any future studies, and restating his
previous (8/26/86) conclusion that nothing (that he had been directed to consider) besides
   the "recognized" association with VCM exposure could have caused them - directly
 contradicting the corrupt UOL 2002 published and pre-ordained conclusion (solicited by
   outside counsel for PPG in BC cases) that it must be some unspecified something-
certainly not VCM - that cause them, as per UOL's explicit guarantee of this result 8 years
                                         earlier!


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                                                                                                                                  10-14-86
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                         dQcmt~e tG~,~£Aa4¡'_IC~"~ Ni.n our                                                               internal BFG
                         Of these, one has a beiii.g~, brain tumor, not                                                   a cancer, and
                    has a~"'~wnr-'Ø~~~"l:~--h~~ft~-&3:                                                                           w_wl:
   ~~I:~ao~4 among brain cancers. ~lEemaiRij                                                                                         i:story
   of VCM exposure Ii \-vv o:iio.:"i to know whether or not there is a
 1I1..1¡l   ~L='. ".LIt ,~Îj~'k~" ""it but we will
 certainly continue to watch this situation in the chemical plants.



   wi th the reduction in exposures to VCM and AN and probably to other
   chemicals as well, I hope that the incidence of all cancer will drop
   to less than or certainly no greater than that of the general .
   population and we will not' need to and will be unable to identify
   occupational causes.



    jp 1014-2
                                                                           ~~~  Harold W. Dietz




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        FFlOM                                               i ~IEL.O. POINT OR OEPT. & BLOG. NO.
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Noe, Merrille                                                    S.S. I: 23S-S6-39s1r
D.O.B.: 10-11-36                                                 Sere Date: 3-29-66
ACTIVE




  Date                         Classification                           Dept.         Building(s)

3-29-66           Chemical Helper                                      PVC-2           I,    15
6-5-67            LAYOFF

6-16-67           Chemical Helper                                      PVC-1           121
7-2-67               ..      ..                                        PVC-2           I,    15
12-22-68          Janitor                                              Maint.         Plantwide
1-5-69            Chemcal Helper                                       PVC-2           I,    15
                     ..          ..                                    Compound        2, 20
1-12-69
1-19-69              ..          "                                     PVC-2           I,    1S

4-20-69           Relief Operator                                      PVC-l           121, ILL

8-31-69           Chemical Helper                                      PVC-2           1. IS

10-5-69                   "      "                                     PVC-l           121
2-22-70           Chemcal Operator          (Solution Poly)            PVC-2           15

3-29-70           Chemical Helper                                      PVC-2           1. 15
4-5-70            Chemical Operator         (PVC Poly)                 PVC-2           1

                          ..           ..                              PVC-2           15
5-3-70                                      (Solution Poly)
8-30-70           Chemical Helper                                      PVC-1           121

9-20-70           Chemical Opera tor        (Solution Poly)            PVC-2           15

 10-4-70          Chemical Helper                                      PVC-l           121

 12-20-70         Chemical Operator         (PVC Poly)                 PVC 2           1


 1-17-71          Chemical Helper                                      PVC-2           1. 15
2-6-71            LAYOFF

3-2-71            Chemical Helper                                      PVC-1           121

6-26-71           Chemical Opera tor        (HRC)                      PVC-2           15

 7-11-71          Chemical Operator         (Solution Poly)             PVC-2           15
                          ..          II                                PVC-2           15
1-14-73                                     (Solution Resin Poly)
                          ..          "                                 PVC-2           15
1-5-73                                      (HRC)
                          ..          II                                PVC-2           1
1-26-75                                     (PVC Poly)
                                                                                                       N
                          ..          "                                 PVC-2           15
6-22-75                                     (HRC)

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Noe. Kerrille -- continued.




  Date                   Classification                            Dept.      Building(s)
8-22-76         Chemical Operator (PVC Poly)                     PVC-2        1

7-27-80             "           "        (Bagging)               PVC-2        15, 111
8-31-80             "           "        (G-92 Charging)         PVC-2        1

1-10-82             "           "        (Bagging)               PVC-2        15. U1
5-2-82              "           "        (Washing)               PVC-2        4
8-22-82         Boiler Operator                                  Utilities    103
DATE OF
DIAGNOSIS ~.~-- 5-23-79

DIAGNOSIS ---- Benign brain t~or, left side.
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Ga1lon,    C. K,                                             S.S.   II :           XXX-XX-XXXX
D.O.B.:      8-27-27                                         Sere Date:            9-15-49
D.O.D. :     10-25-81                                        L.D.W. :       ,      9-21-81



  Date                      Classification                                 Dept.         Building(s)

9-15-49            Chemical Helper                                     Hycar             122, 130
11-20-49           Chemical Operator                                   Hycar             122. 130
                       "      "                                        Tank Farm
3-18-56
                       "      "                                        Hycar             130
4-13-58
4-1-64             Production Foremn                                   Hycar             122, 130

 DATE OF DIAGNOSIS ---- 10-5-81

 DIAGNOSIS ------------ Left cerebellar tumor (hemangioblastoma).
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Mischler, e. B.                                            S.S. #: XXX-XX-XXXX
D.O.B.: 12-10-21 (32)                                      Sere Date: 1-21-54
ACTIVE




 Date                      Classification                         Dept.          Building(s)
1-21-54           Chemical Helper                                 Hycar           122, 130
3-28-54               "      "                                    Compound        2, 20

5-2-54                "      "                                    Hycar           122, 130
6-5-55            Chemcal Operator      2/c (Dryer)               Hycar           122
2-12-56           Chemical Operator      l/e (Pigment/Trans,)     Hycar           130
5-6-56                "            II
                                        iIe (Poly)                Hycar          . 130
6-3-56                "            "    l/e (Pigment/Trans.)      Hycar           130
7-15-56               "            "    2/e (Concentrator)        Hycar           130
9-2-56            Chemical Helper                                 Hycar           122/130
10-7-56           Chemical Opera tor    lIe (Poly)                Hycar           130
1-5-58            Chemical Operator     2/e (Transfer)            Hycar           130
2-2-58            Chemical Helper                                 Hycar           122, 130
4-13-58               lt     lI                                   PVC-2           I,     15

5-25-58               "       lI                                  Hycar           122, 130
8-31-58           Chemical Operator     lIe (Poly)                Hycar           130

3-29-65           Foremn                                          Hycar           130

DATE OF DIAGNOSIS ---- 8-19-86

DIAGNOSIS------------- Glioblastoma Multiforme
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Jaggers.    Hilla rd                                    S, S, lJ :           XXX-XX-XXXX
).O.B. :    5-28-08                                     Ser. Date:           10-27-44
i).0.0. :   3-10-19                                     L.D.W.:              5-28-65


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  Date                    Classification                             Dept.          Building(s)

10-27-44 Guard                                                   Admin.             Plantwide
  DATE OF DIAGNOSIS           Unknown
  DIAGNOSIS ------------ Glioblastoma multiforme, right temporal lobe.
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Hoa rd. W.   E.                                            S .5.   I:             XXX-XX-XXXX
D.O.B.:      3-28-24                                       Sere Date:             4-28-47
D.O.D. :     i -23-84                                      L.D.W. :               5-20-83




  Date                       Classification                             Dept.               Building(s)

4-28-47             Laboratory Assistant                              Lab                      2
                                                                        fI                     2
1-30-49             Laboratory Technician
                                                                        "                      2
6-12-49             Laboratory Assistant
                                                                        II                     2
9-18-49             Laboratory Technician
                                                                        "                      2
1-16-66             Relief Technician
                                                                        "                      2
8-31-69             Laboratory Technician

 DATE OF DIAGNOSIS ----         6-83
 DIAGNOSIS ------------ High grade astrocytoma
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Kiper. A. R.                                                      5.S. U: XXX-XX-XXXX
D.O.B.: 10-3-31                                                    Ser. Date: 11-20-52 to 10-23-53

D.O.D.: 7-24-78                                                   Rehired: 4-3t)-65
                                                                  L.D.W.: 5-21-77


                               Classification                                 Dept.       Building(s)
 Date
                                                                             Hi-Temp      4
11-20-52          Packer
                  Warehousemn                                                Shipping     26. ILL. 112,
6-7-53                                                                                        126, 131
                                                                             PVC-1         111
8-2-53            Packer
10-23-53          ~esigned
                  Laborer                                                    Maint.        Plantwide
4-30-65
10-2-66
                      "                                                      Utilities     103
                      "                                                      Maint.        Plantwide
11-13-66
5-7-67
                      "                                                      Utilities     103
                      "                                                      Maint.        Plantwide
5-14-67
 12-22-68             tt                                                     Utilities     103
                      "                                                      Maint.        Plantwide
 1-5-69                                                                                          "
                   J ani tor                                                 Maint.
 2-9-69                                                                                          "
                   Laborer                                                   Maint.
 3-2-69                                                                                          "
                                                                             Maint.
 3-9-69            Craft Helper
                                                                                                 "
                   Mechanic                                                  Maint.
 6-6-71
 DATE OF DIAGNOSIS ---- 5-27-77
 DIAGNOSIS ____________ Gl1oblastoma mul t1forme, left frontal lobe.
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Hoskins t Clyde                                               s.s. I: XXX-XX-XXXX
D.O.B.: 12-23-18                                              Sere Date: 6-3-55
D.O.D.: 7-20-62                                               L.D.W.: 7-17-62



  Date                            Classification                    Dept.          Building(s)

6-3-55              Chemical Helper                                Hycar           131
4-15-56             Chemical Opera tor 2/e (Pigment)               Hycar           130, 131
6-3-56              Chemical Helper                                Hycar           131

11-18-56                Chemical Operator 2/e (Fourdrin1er)        Hycar           122

1-5-58                  Chemical Helper                            Hycar           131

1-20-58             LAYOFF
8-30-58                 Chemcal Helper                             Hycar           131

2-1-59                  Chemical Operator 2/e (Fourdrinier)        Hycar           122
                           II      "      2/e (Liquid Hycar)       Hycar           130
3-1-59
4-5-59                  Chemical Helper                            Hycar           131

7-5-59                  Chemical Operator 2/e (Fourdrinier)        Hycar           122

3-6-60                  Chemical Helper                            Hycar           131

1-28-62                 Chemcal Operator iIe (Fourdrinier)         Hycar           122

DATE OF DIAGNOSIS ---- Unknown
               .-   -    - --.~

DIAGNOSIS -----------_ Ce.rcinome.,                brain
MEDICAL RECORDS UNVAILABLE




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Crawford, Charles                                     s.s. #: XXX-XX-XXXX
D.O.B.: 3-5-19                                        Ser. Date: 12-11-45
D.O.D.: 6-26-63                                       L.D.W.: 6-1-63


Date                      Classificadon                     Dept.       Building(s)

12-11-45         Chemical Helper                            PVC-1        112
2-13-49                  It "                               Hi-Temp      4

4-28-49          Packer                                     Hi-Temp      4

7-1-53              "                                       PVC-1        112

9-6-59              It                                      PVC-2        1, 15
3-20-60             "                                       PVC-l        112

DATE OF DIAGNOSIS            Unknown
DIAGNOSIS ------------ Brain tumor
MEDICAL RECORDS NOT AVAILBLE              .": 9". ~
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                                                     S.S. II:           XXX-XX-XXXX
Berry. Marshall
                                                     Ser. Date:         1-16-47
D.O.B.: 8-22-13
                                                     L.D.W.: .          8-23-69
D.O.D.: 3-9-71



                           Classification                       Dept.          Building(s)
  Date

                                                           Boiler House        103
1-16-47           Boiler Operator Trainee
                                                                         ..
                                                                ,~             103
4-28-50
6-24-51
                     n n iIe
                  Boiler Operator 2/e
                                                                ..
                                                                II
                                                                         II

                                                                         "
                                                                               103
                                                                               103
9-27-53           Relief Boiler Operator
                                                                n        ..    103
9-12-54           Boiler Operator llc

 DATE OF DIAGNOSIS ---- Unknown

 DIAGNOSIS ------------ Glioblastoma mult1forme
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 MEDICAL RECORDS UNA VAIIABLE . .. '. ,




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Sauer. Henry D.                                       s.s. #: XXX-XX-XXXX
D.O.B. : 6-11-13                                      Sere Date: 11-3-49
D.O.D.: 8-19-71                                       LiD.W.: 8-11-70



 Date                     Classification                     Dep t .     Building(s)

11-3-49           Warehouseman                              Shipping     26.   11 i.   112,
                                                                           126. 131
                                                                 ..
11-7-54           Shipping Clerk                                         126
                                                                 It
7-26-70           Truck Driver                                           Plantwide

DATE OF DIAGNOSIS ---- Unknown
DIAGNOSIS ____________ Astrocytoma, Grade III, left frontotemporal lobe.

MEICAL RECORDS NOT AVAIIBLE                      .7::~ ?




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Osborne. A, .J .                                                 S. S. II :                    XXX-XX-XXXX
D.O.B. :  1-7-20                                                 Sere Date:                    2-16-42
D.O.D. :   9;-6-73                                               I..D.W. :                     11-14-72




   Date                           Classification                                   Dept.             Building(s)

2-16-42              Chemical Operator                           Plant 2,           PVC              1


1-2-44               Instrument Engineer                         Plant 2,           PVC              1.    15

                                                                 Compounding                         2
9-30-44              Shift. Foreman

8-1-45               Shif t Foreman                              Tech::ical/Lab.                     16, 2
                                                                           u               "         16, 2
5-1-48               Chemical Engineer
                                                                           "               "         16, 2
12-27-51             Technical Man
7-1-53                       II    II                            Plant 1,           PVC              111
                                                                      II       "      II
                                                                                                     111
8-16-55              General Foreman
8-16-57                 "          "                             Compounding                         2
                        II         II                            Plant I, PVC                        111
9-16-66
6-16-70              Senior Process Specialist                   Technical                           Plantwide

  DATE OF DIAGNOSIS ---- 11-24-72

  DIAGNOSIS ------------ Astrocytoma, left temporal lobe.
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                              PROGRAM CMS8CMS3                                                                                                                                        PAGE 1
                              EMPLOYEE: XXX-XX-XXXX CLIFFORD B MISCHLER
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                              EMPLOYEE: XXX-XX-XXXX CARL K GAMMON
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              Exhibit 90: 10/27/1986 (SL 067034 - 067093)
CMA (Rosica) to VC Panel and Research Coordinator Group enclosing "Final "Report on
Epidemiologic Study of Vinyl Chloride Workers that Panel would claim (in 1991) had not
    been reviewed or "accepted" by them and was published in breach of contract.




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                    CHEMICAL MANUFACTURERS ASSOCIATION                                                                  ~P'U
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                                               October 27,
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           To:       Vinyl Chloride Panel and Research Coordinator Group
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      Subj ect:                  Report on Epidemiologic Study of Vinyl Chlorièe
                             ers



                     A copy of the final report entitled "An Update of An
      Epidemiologic Study of Vir.yl Chloride Workers, 1942-1982" is
      enclosed for your records.
                This report and the attached cover letter were sent
      to EPA as a follow up to C~~' s September 1 i, 1986 submission to
      the FYI office.




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                  Formeriy Manufactur,ng Cherr,sts Association-Serving the Chemical
                                                                                             Industry Since 1872

            2501 M Street. NW . WaShington, DC 20037' TelephOne 202/887.1100' Telex 89617 (CMA WSH)




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e                            CHEMICAL MANUFACTURERS ASSOCIATION

      Ge~ALOINE V. cox. Ph.D.
      Vice PreSident
      TecMic.1 Director

                                                            October 24. 1986




                 Document Control Officer
                 T5-790
                 Office of Toxic Substances
                 Roo 220, East Tower
                 U.5, Environmental Proteètion Agency
                 401 H Street, 5,W.
                 Washington, D.C. 20460

                          RE:                               Final Report of an Epidemiology Study
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                 Dear Sir IMadam:

                          The Chemical Manufacturers Association (CM!) submits the following
                  final report:

                                           AN UPDATE OF AN EPIDEMIOLOY STUY OF
                                           VINY CHLORIDE WORKRS, 1942-1982

                       This study was sponsored by the Vinyl Chloride Program Panel of
                  eM!. A summary of the draft results was previously submitted to your
                  office as part of an FYI submission on September Ii, 1986,

                       If you have any questions, please contact Dr. Has Shah of my staff
                  at 202-887~1192.

                                                                      Sincerely yout',


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                          Formerly Manutacturing Chemists Associaiion-Serving; Ii'l! CI',mlc.llndustry Since ~872.
                     2501 M Street. NW . Wasl'ington. DC 20037 . T118Pl'on, 202887-1280. Tei,. 89617 (CMA WSH)
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                                     Final Report


                                   An Update of
                             An Epidemioloqic Study of
                              vinyl Chloride Workers,
                                        1942-1982




                                    Prepared for
                         Chemical Manufacturers Association




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                                                                         SL 067036



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                                                                      i
     su:ry
          The cohort consisted of 10,173 men who had worked for at

     least one year in jobs invol vinq exposure to vinyl chloride prior

     to January 1, 1973. These men were employed at 37 plants in the
     u.S., belonqing to 17 companies. Observation of the mortality
     experience of the coh~rt was extended from December 31, 1972 to

     December 31, 1982. A total of 1536 cohort members were identified
     to have died. The observed mortality, by cause, was compared with
     the expected based on U.S. mortality rate., standardized for aq~i

     race and calendar time. Analyses by lengt of exposure, latency
                                                                           f
     products were performed.

     chloride workers

     anqiosarcoma


                             In addition, the study also found a siqn1fi- ??
                                                                               (.
     cant mortal i ty exce.. in eaphysema (SMR - 179). On the other

     hand, the study did not find any excess in either respiratory
     cancer or lymphatic and hematopoietic cancer.




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     IHTDUC'IOIl


          In 1974 three cases of angiosarcoma of the liver were

     reported among workers employed at a vinyl chloride (VC)

     polymerization plant in this country (creech and Johnson 1974).
     About the same time, similar cancerous hepatic effects were
     reported in laboratory animals exposed to vinyl chloride (Haltoni
     1974) . since then, a numer of epidemiologic studies have
     confirmed the association between angiosarcoma of the liver and
     occupational exposure to vinyl chloride (Tabershaw and Gaffey

     1974, Cooper 1981, Fox and Collier 1977, Waxweiler at al 1976).

     In addition to angiosarcoma of the liver, a number of other cancer

     sites have also been implicated, including the overall digestive
     system (Theriault and Allard 1981, Chiazze et a1 1977), the
     respiratory system (Monson et al 1974, Buffler et a1 1979,
     Waxweiler at a1 1976 J, lymphomas (Tabershaw and Gaffey 1974 J, and

     the brain and other central nervous system (Monson et al 1974,

     Waxwei1er et a1 1976, Cooper 1981, Byren 1976).



          While there is little doubt about the relationship between
     occupational exposure to vinyl chloride and angiosarcoma of the

     liver, there is still controversy about the association between
     vinyl chloride and the other cancers mentioned above. A recent

     review paper indicated that the results for 'brain cancer were

     consistent with an etiOlogic role for vinyl chloride, whereas the
     data for lung cancer were not consistent with an etiologic role,




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      CM Vinyl Chloride Study                                  hi 2
      in that two studies with very hiqh power yielded n qative results

       (aeaumont and Breslow 1981).

           In June, 1973, Tabershaw-Cooper Associates, under the

       sponsorship of Chemical Manufacturers Association (CM),
       implemented an epidemiologic study of 8384 vinyl chloride workers

       trom 34 plants. The study was planned and data were ~ollected
       before cases of hepatic angiosarcoma had been reported. However,
       because of the angiosarcoma report, preliminary r.sul~s of the
       study with only 85' follow-up were published (Tabershaw and Gaff y

       1974). It was concluded in that report that vinyl chloride might
       be associated with cancer of diqestive system (primarily           !
                                                                          õ
                                                                          .
       angiosarcoma), respiratory system, other and unspecified sites

       (mainly central nervous system) and lymphomas. The conclusion was
       based not on statistically significant excesses, but on

       comparisons between different exposure groups (high vs low, long

       term vs short term).



            The CM study was subsequently enlarged to include 10,173
       workers exposed to vinyl chloride from 37 plants belonging to 17
       companies. Vital status follOW-Up was also improved (5% unknown).

       The re.ul~ of the enlarged study were reported in 1981 by cooper

       (cooper ~'l. In addition to the angiosarcoma excess, the author
       concluded that there was a significant excess of tumors of the

       brain and central nervous system, but the slight excesses in
       respiratory cancer and lung cancer were inconclusive.

       Furtermore, the author concluded that no significant changes were




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     CM Vinyl Choride S~udy Paq 3
      ..en when the data were analyzed by latency. Thus, it was stat.d
      in the report: "The results suggest that, except for a proven

      association with hepatic angiosarcoma and a strongly suggestive

      association with central nervous system tumors, vinyl chloride

      probably is not associated with significant excess cancers of

      other sites."

           Thus, the two reports (Tabershaw and Gaffey 1974, and Cooper
      1981) based on the same study came to slightly different
      conclusions. Al though both reports agreed that exposure to vinyl
      chloride could result in angiosarcoma and, possibly, brain tumors,

      the issues of digestive cancer (other than angiosarcoma), lung

      cancer and lymphoma were not resolved. Tabers~aw and Gaffey based
      their conclusion on comparisons between various groups and not on

      statistically significant mortality ratios, whereas Cooper's con-

      clusion was based on statistical findings. However, in Cooper IS

      analysis, because of the lack of availability of appropriate

      computer programs at that time, liver cancer was not analyzed as a

      separate entity, and latency analyses were restricted to only

      broad categories of cancer. In particular, no latency analysis

      was done for liver cancer or brain tumors.



           A de   cad. has passed since the original CM study was
      completed. In order to monitor the mortality pattern of the
      cohort of vinyl chloride workers and in an attempt to resolve some
      of the outstanding issues, CM contracted Environmental Health
      Associates (ERA) to perform an epidemiologie update of the




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      CK Vinyl Chloride Study Pa9- 4
      oriqinal study. The updated study offered both an increased power

      (more per.on-years and an older cohort) and a longer latency due
      to the 10 additional years of observation. This report summarizes
      the conduct, statistical results and epidemiologic interpretation

      of the updated CM study.




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     CM Vinyl Chloride S~udy                                Pa9. 5'




     MATE AJ IIOD

     Original study


          The cohort consisted of 10,173 workers from 37 plants belong
     to 17 companies. (Since the original study has been completed,

     the ownership of several plants has been changed.) There were 11
     plants which produced only vinyl chloride monomer (VCM), 18 plants

     produced only polyvinyl chloride (PVC), 3 plants produced both,
     and 5 plants produced homopolymers and copolymers. The distribu-
     tion of plants and the numer of workers, by product, are shown in
     Table 1. The geographical distribution of plants is shown in
     Table 2. The majority of plants are located in the South.


          To be eligible fo~ the cohort, male employees at the 37

     participating plants must satisfy the following criteria:



          . exposed to VC for at least 1 year prior to 12/31/1972, and

          * employed in or after 1942.



          In the. original study, the designation of jobs involving'

     exposure to VC was made by staff members at individual plants or

     by corporate industrial hygienists. In approximately two thirds

     of the study popUlation, employment records of all employees at

     the plants were microfilmed by the original investigation team,



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                                                                                  .~
      c: vinyi aiiori4e Study                                    ~... "           .'.


      and expa 4 1nivi~uala w re identified throu9h thes recorda

      (Cooper l'.Il~ In the remaining portion of the population,
      detailed e.ployment information on exposed individuals was

      provided by plant personnel on special forms. A small portion of
      these individuals were identified in the study only by a study
      numer with no personal identifiers available to the
      investigators.

              The period of time in which the employees of a plant were
      included in the study depended on the date it began making or
      using VC and also on the earliest date when personnel records war
      complete for all employees, whichever was later.        This was done ~

      to eliminate periods when there was differential record retention

      of workers terminated, deceased, or retired, since such
      differential record retention might resul~ in a biased cohort.

      The end of observation in the original study was December 31,

      1972.


              In an attempt to characterize historical exposures,

      individual jobs and job loeations indicated by company personnel

      as having exposure to VC were graded by company personnel in terms
       of probab~apo.ure on a seale of "high", "medium" and "low".
       These te~~~~ used to describe relative exposures within each
       plant. The original investigators acknowledged in their report of
       the atudy that this approach failed to reconcile differences among
       plant exposure. (Tabershaw and Gaffey 1974). In some p~ants it.
       was likely a -high- grading might have meant average exposures in




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     al Vinyl Chl r1~ Study '&'8 7
     exe... ot 200 ppa while in others a "hiqh" miqht have indieated
     averaqa exosur.s ot about 50 ppm. Actual levels were not known.


          In aeknowledqinq the weakness ot this approach to exposure
     characterization, the investiqators stated in their published
     report (Tabershaw and Gaffey 1974 J ;

               "This subj ect classification is therefore of

               questionable validity in characterizinq the exposure of
               a qiven worker. For epidemioloqical purposes, however,
               those who have hiqh seores can reasonably be expected,

               on the averaqe, to have had the qreatest exposure, while
               those with low scores will have had the least, even
               thouqh the true exposure in each qroup may vary
               considerably from person to person".




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                                                                                   .'

    CK Vinyl Chlori4 S~udy                                     Pa9 .

    s~udy Upt:


          For the update, Environmental Health Associates (ERA) vas

     provided with the following materials from the original study:



          (l) Computer cards containing subj ect iO numers, date of
               birth, vital status, employment status, numer of years
               worked, and exposure information.


          (2) Coded envelopes containing some or all of the foiiowing
               data:

                       - copies of personnel work histories

                       - summary of demographic work-history information

                         forms
                       - vi tal status search information including credit

                         bureau, department of motor vehicles, letters of

                         personal contact

                       - death certificates



           (3) working files for each plant containing correspondence
               and Ìltes.



           (4) Final reports and miscellaneous papers on vinyl
               ch1.oride.



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      CM Vinl Chloride Study '.. t . ';
           The vital status ot this e hort as deterainec by the original

      study inv..t1qator. can b. ..en in Table 3. Th... categori.. were

      used as the ba.i. tor this update. vi tal status update was
      performed tor those employees with vital status in the original

      study categorized as alive or unknown.


           In order to acquire update information from the participating
      plants, individual two-page worksheets were prepared on each
      employee requiring updated information. Page 1 of the worksheet

      incl uded demographic information (i. e., sUbj ect IO numer, name,
      social security numer, date of birt, hire date, date last
      employed, employment status, vital status, date.of death, place~of

      death, and additional comments regarding employee). On Page 2,.
      work histories, including dates and exposure to vinyl chloride,

      were coded. Although in the original study, exposures were
      classified as low, medium, or high, it was decided to classify

      jobs as either exposed or not exposed in the update. Exposure
      criteria were determined by the plant.



           Before being submitted to the respective plants, the

      worksheets were completed with as much information on the

      employees as was available from the sumary form of the original
      study. The aaount of information available varied greatly among
      plants. In particular, in the original study some plants had
      declined to provide the initial investigators with employee
      identification, i.e., name or social security number. Instead,
      they relied solely upon the .tudy identification numers. During



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      CI V1Dl c:or1c:. study                                      Pa.. 10-'

      the update, th key to the identification numers could not be
       located ~'. ..all numer (170) of individuals, and no update
      could be done for these individuals. The level of detail of job

      history information also differed from plant to plant.
                                                      ,




            companies were contacted regarding their participation in the
      update. Five plants with a total of 803 workers did not
       participate in the update. Thus, the numer of participatinq
       plants in the update was 32 with 9370 individuals. The worksheets
       were sent to the appropriate plant contact persons for

       distribution to the participating plants.    Plant personnel were

       asked to:                                                                ...
                                                                                ,




            (1) Verify the accuracy of the information provided.


            (2) Add any necessary information not previously collected,
                   including name and social security number for

                   unidentified employees.



            (3) provide updated information, such as vital status,
                   employment status, and job history exposure.


                   "
            Aa tb worksh.ets were returned by each of the plants, they
       were reviewed. Any obvious discrepancy was followed up with the
       plant personnel. Some plants specificaiiy notified' us and others
       seemed to indicate by their worksheets that they did not verify

       information on a small numer of individuals (approximately 170)




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    collected in the initial study. Employment and vital status

    information a. provided on the worksheets was then entered into

    the computer.



         Names and social security numers of individuals with unknown
    or alive vital status in the oriqinal stUdy were sent to Social
    security Administration for fOllOW-Up. This group was
    simultaneously submitted to the National Death Index for
     identification of any death oocurring sinoe 1979.


          Based on the plant, Social Security Administration and

    National Death Index follow-ups, requests for copies of death
    oertificates were sent t~ the appropriate state vital statistics

    departments.

          The underlying cause of death from each death certificates

    was coded by ERA's nosologist according to the 7th Revision of the

     International Classification of Diseases (ICD), the revision used
     in the original study. As mentioned below, the statistical
     calculations were performed by the standard computer package,

     OCM (Marsh and Preininqer 1980). The mortality rates in the
     OCM program were derived from a similar proqram (Monson 1974).
     These are aqe-race-sex-year-cause-specific mortality rates for the

     U. s. Since these rates spanned over several ICD revisions, they

     were converted into a single ICD revision, either the 7th or the

     8th, throuqh the use of the comparability ratios published by the,
     National Center for Health Statistics (NCHS). In usinq the OCM



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                                                                               .'
     al Vinyl Chlorid. Study .89. 12
     comput r proqaa, the users can choos. .ith r th 7th or the 8th
     revision. Since the deaths in the oriqinal study were coded to
     the 7th revision, it would seem logical to use the rates in the
     7th revision in the program, and to code the new deaths in our

     update according to the 7th revision.



          After the vital status information (date and cause of death)
     was updated in the database, the data were thoroughly reviewed and
     edited to check for consistency, loqical sequence of dates,
     impossible and improbable values. Errors detected in data edit
     were corrected.
                                                                         ~.
                                                                         ;.
                                                                         "
          The most common sumary index for assessing the risk ot d.ath
     in a cohort study is the standardized Mortality Ratio (SKR).
     Basically, the numer of deaths occurring in the study population
     during the observation periOd is compared with the numer of
     deaths which would have been expected if, after adjustinq for aqe

     and time period, the study population had had the same mortality

     experience as a comparable non-exposed population. During the
     observation period, the cohort members entered the study at

     different points in time, and some died prior to the end of

      follow-up. For the.. reasons, cohort members were observed for
     various l.n~ ot time. Therefore, both the numer of persons,
     as well as their individual length of time under observation, must

     be eons idered.




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     CM vinyl Chl rid. study Pate 13
          T utilize tully the period ot observation for ach member
     and to properly weigh the SMR, the analysis utilizes the concept

     of "person-years". The basic unit ot computation is the numer of
     years each employee was followed, from entry into the study to the
     end of the study period or the date of death (whichever was
     earlier). For those "lost to follow-up", person-years of
     observation are counted up to the last date of contact, which is
     usually the termination date. Thereafter, those individuals are
     taken out of the analysis. This amounts to assuming that the
     mortality experience of these individuals is similar to that of
     the rest of the cohort. Each year (or fraction thereof)
     contributed by an individual worker is classified by age and

     calendar year, and these person-years of all workers are then

     sumed by age and calendar year. The U. s. national age-cause
     specific mortality rates for 5-year time periods are applied to

     those person-years to obtain the number of deaths fro~ a

     particular cause to be expected from an equal number of person-

     years of the same sex and similar in age and calendar year.



           SMRs are computed by expressing the deaths actually observed
     as percentages of the expected. An SHR hiqher (lower) than 100

     indicates an excess (deficit) in mortality. The deviation from
     100 is tested to determine whether it is statistically significant

     at the 0.05 and 0.01 level. Both 95l and 99t confidence limits

     for the SMas are also calculated. The actual computation was
     performed using the OCMP computer program (Marsh and preininger,
     1980) .



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     CM Vinyl Chloride S~udy                                   Pa., 14
     RES
     DescriptiYa. S~ati.tlC8


          Included in the analysis were 10,173 individuals who

     satisfied the ori9inal cohort criteria. ot the 10,173, no race
     information was available from the original study for 9507. These
     were either "assumed" white or unknown. Specific race information
     was available for 666 individuals, The majority (97l) of those
     with known race were white males, The entire cohort was assumed
     to be white in our analyses. The small numer of known non-whites
     wouid not have any impact on the analyses.



          Table 4 presents the birth year distribution for all cohort
     members. The majority of the cohort was born during the 19205
     through the 1940s. Only some 10\ were born after 1945.



          Distribution by year of hire for the entire cohort is given

     in Table 5. Maj or hiring at the participating plants occurred in
     the 1940s through the 1960s. Almost half of the cohort (46l) were
     hired before 1955, thus providing a possible latency of up to
     almost 30 years for this group.



          Distribution of age at hire for the entire cohort is shown in

     Table 6. Approximately 70' of the cohort were hired before age
     30. On the other hand, less than 5l wera hired after age 44.




                                                                          5'1   061054




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     CK Vinyl c:loride StucS Pap 15
              The di.tribution by lengt of employment tor the entire

     cohort i. pre..ntad in Table 7. OVer 66' of the eohort was

     empioyed tor 10 years or more, and only 21' were employed tor less

     than 5 years. The averaqe ianqth of employment for the entire
     cohort was approximately 16 years.

               The vital status of the cohort as of 31 December 1982 is

     qiven in Table 8. As of the end of the study period, 6939 among
     thos~ with updated vital status were stiif alive. A total of 1536
     individuals were identified to have died during the study periOd.

     Among tha.e, death certificates were obtained for all except 97

     deaths (6.3' of all deaths). Of the 1536 deaths, 707 were
     identified in the oriqinal study and 829 in the update. As

     mentioned earlier, 973 were not subject to follow-up in the
     update, either due to'     the lack of personal identifiers (170) or

     non-participation of the plants (803). Among those with updated
     follow-up, the vital status as of December 31, 1982,_ of 725

     individuals (7. 88t) remained unknown. It should also be pointed
     out that, of the 973 individuals who were not subject to a follow-

     up in the update, 955 were known to be alive on 12/31/1972, the
     end day in the oriqinal study. As such, person-years up to

     12/31/1972 for these individuals could be counted in the analysis.


               Tabl.. 9 and 10 provide a breakdown of the decedents by year
     of death and aqe at death, respectively. As expected, there was a
     temporal increase in the numer of deaths, because of the aqing of
     the cohort.




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     CK Vinyl Chloride Study                                   Pag 16


     Cause-Specific Mortality Analysis



           As mentioned earlier, race was not available for all

     individuals from the previous study. However, there were very few
     known non-whites (3') amonq the employees at the participating
     plants. For the analysis, the entire cohort was assumed to be
     whi te.



           In the study, a total of 1536 deaths were identified. Death
     certificates were obtained for 1439 (94') decendents. The 97

     deaths without death certificates, but with dates of death, werw-

      coded as cause unknown. These deaths were inclùded in the
      calculation of overall SMRs, but not in any cause-specific SMRs.



      Entire Cohort


           The observed and expected deaths by cause, SMRs and their 95%

      confidence limits tor the total cohort are presented in Table 11.

      The 1536 deaths observed produced an overall SMR or 90.07, which

      was significantly low (p ~ 0.01) in comparison with the u.s.

      national .~iity experience. Furthermore, the confidence limits
      indicate that we are 95% confident that the overall mortality of
      the total cohort was 5.3' - 14.4l less than that of the u.s.

      population as a whole.




                                                                    SL 067056




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      CM Vinyl Ch rid. study                                  Pate i 7
           Mortlity fr a cancer of all aites combined was slightly, but

      not siqnificantly, higher than the U. s. experience (359 observed

      vs. 341.73 expected, SMa - 105.1). The excess came primarily from

      the following sites: cancer of the liver and biliary tract

      (hereafter refer to as "liver"), and cancer of the brain and other
      central nervous system. For cancer of the liver, 37 deaths wer
      observed, compared to only 5.77 expected. The corresponding SMa
      was 641.2, significant at the 0.01 level. For cancer of the brain
      and other central nervous system, 23 deaths were observed and
      12.76 expected~ with an SMa of 180.2 (significant at 0.05 level).


           No other cancer sites showed any statistically siqnificant.

      excess. In particular, there was no excess found in cancer of the
      respiratory system. There were 115 deaths observed due to cancer
      of the respiratory system, compared to 122 deaths expected, with

      an SMR of 94.1. For the digestive ~ystem, except for liver, there
      was no excess found in any other organs. Mortality from all
      lymphatic and hematopoietic cancer was as expected (37 observed,

      36.28 expected, SMa - 102.0).



           There was a significant deficit in mortality from all

      diseases ot the circulatory system. The numer of observed deaths
      was 635, co.pared to 721.28 expected (SMR - 88.0, P ~ O. 01). The

      deficit came primarily from arteriosclerotic heart disease

       (SMa - 81.6, P ~ 0.01).




                                                                 SL 067057




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  CM vinyl Chloride Study Paq. 18
       Although aortlity from all non-maliqnant respiratory
  disease. shoved a slight non-siqnificant deficit, the deficit from

  pneumonia was statistically significant (1S observed, 31.94

  expected, SKR · 47. 0). On the other hand, emphysema ( incl udinq

  chronic obstructive pulmonary disease) showed a statistically
  siqnificant eXcess. The numer of observed deaths from emphysema
  was 41, compared to 22.83 expected, with an SMa of 179.6 ( P ~
  0.01) .


        A numer of statistically siqnificant deficits were o~served
  in the tollowinq cause. of death.. For all diseases of the
  diqestive system, 60 deaths were observed, compared to 95.58
  expected (SMa - 62.8, P ~ 0.01). The deficit came mainly from
  cirrhosis of the liver (35 observed, 56.06 expected, SKR · 62.4).

  Mortality from diseases of qenito-urinary system was siqnificantly
   low (SMR - 44,1, P ~ 0.01). A statistically siqnificant deficit
  was also observed in the cateqory of all external causes of death.

   For this cause of death, 168 deaths were observed, compared to

   225.97 expected (SMR. 74.3, P ~ 0.01). The deficit for external
   causes of death came mainly from the deficit in all accidents (ioa

   observed, 150.16 expected, SMa - 71.9).



   Analysis By Le of Exsur

        The observed numer of deaths and SMR for the entire cohort
   by lenqth of vinyl chloride exposure are presented in Table 12.

   No obvious increasinq trends by 1enqt ot exposure was identified



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      CK vinyl Chloride st~dy .. It
      tor any ca~.e of death, except tor cancer ot the liver and perhap.
      cancer of the brain and other central nervous .ystem. For
      employees with less than 10 years of exposure, 6 deaths were due

      to cancer of the liver, with 3.30 expected. The corresponding SMa
      of 182.1, although in excess, was not statistically signiticant.

      However, for those with 10 to 20 years of exposure, there were 20

      observed deaths due to cancer of the liver, with only 1.62

      expected. The liver SMR for this group was 1235.6, statistically
      significant at the 0.01 level. For those employees with more than
      20 years of exposure, 11 deaths were due to cancer of the liver,

      compared to only 0.86 expected (SMR - 1284.9, P ~ 0.01).



           It should be pointed out that SMa for cancer of. the large

      intestine was 169.4 for those with 20 or more years of exposure,
      but it was not statistically'significant, mainly because the

      numer of observed deaths was only 8.

           For cancer of the brain and other central nervous system,

      among those employees with less than 10 years of exposure, 13

      deaths were observed and 7.90 expected. The brain cancer SMa for
      this group was 164.7, not significant at the 0.05 level. Among

      those with 10 to 20 years of exposure, 4 deaths were due to cancer

      of the brain and other central nervous system, compared to 3.31

      expected (SMa - 120.8, not significant). However, for those
      employees with 20 or more years of exposure, there were 6 deaths,
      compared to only 1.55 expcted. The brain cancer S~ for this
      expo.~re qroup was 385. 9 (p ~ 0.05).



                                                             SL 067059




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                                                                                "


     CD Vinyl dll riel Study                                 Pa9- 20



          por ~ys..a, amonq ~ose employees with less than 10 years
     of exposur..:there were 25 observed deaths while 11.97 were
     expected. The correspondinq SMR in this qroup was 208.9,

     statistically significant at the 0,01 level. For those with 10 to

     20 years of exposure, there were 11 deaths due to emphysema,
     compared to 6.59 expected (SMR - 166.8, not significant). For
     the qroup with more than 20 years of exposure, the numer of
     emphaysema deaths was 5, sliqhtly more than the 4.27 expected (SMR

     = 117.1, not significant).
                                                                          II.
                                                                          ~.

     Analysis By Latency


          Lonq latent periods are usually required for chronic disease.

     to develop. In many situations, it is more appropriate to examine
     mortality experience only after a certain laq time has elapsed.

     Table 13 presents observed deaths by cause and SMRs for all cohort

     members by latent period since first exposure.



          It appears from Table 13 that ~e only obvious trend by
     latency is that for cancer of the liver. For those employees
     with a latency ot less than 20 years, there were 10 liver cancer
     deaths, comp.~ ~o 2.59 expected. The correspondinq 11 ver cancer
      SMR in this group was 385.', P "0.01. For those with 20 to 30
      years of latency the nuier of observed liver cancer deaths was

      11, while the expected nuier was only 1.86 (SMR - 590.1, P "
      0.01). The SMa for tho.e employee. with a latency longer than 30



                                                                           SL 067060




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     OI Vinyl Chloride study Paie 21
     years was even hiqher. The numer ot observed liver cancer deaths
     in this qroup was 16, while only 1.31 was expected, qivinq an SMR
     of 1218.3, P ~ 0.01.



          For cancer of the brain and other central nervous system, the

     trend by latency was not at all obvious. The brain cancer SHRs
     were 183.8, 158.3, and 210.7, respectively, for those employees

     with less than 20, 20 to 30, and 30 or more years of latency.

     Furthermore, none of the three SMRs by latency was statistically

     significant.

          The analysis by latency for emphysema also did not show any
     obvious trend. Among those employees with a latency of less than
     20 years, 11 deaths were due to emphaysema, compared to 6.99
     expected (SMR - 157.5, not significant). For the group with a

      latency of 20 to 30 years, however, the observed numer of deaths
      due to emphysema was 17, compared to an expected of only 8.58,
      The corresponding emphysema SMR for this group was 198.0,
      statistically siqnificant at the 0.05 level. Finally, for the

      group with 30 or more years of latency, 13 deaths were due to

      emphaysema and 7.26 were expected. The corresponding emphysema
      SMR was 179.0, not statistically significant.


      Analysis By Aqe At First Exosure


           Table 14 shows the cause-specific SMa. by age at first

      exposure. There were 3652 cohort members who were first exposed



                                                           SL 067061




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     CM Vinyl Chlorid Study                                 Pa9. 2~

     ~o vinyl chl ride a~ an age le.. than 25 year.. In this group,
     there were 10 liver cancer deaths, while the expected was only
     0.62. The corresponding liver cancer SMa for this group was
     1611.0, statistically significant at the 0.01 level. Among thos
     employees who were exposed to vinyl chloride between the age of 25
     to 34, 16 liver cancer deaths were observed, while only 1.97 was
     expected (SMR . 813.2, P ~ 0.01). On the other hand, for those
     employees who were exposed to vinyl chloride after age 35, the

     liver cancer SMR was 345.7 (11 observed verses 3,18 expected, p ~
          .
     0.0 i) . Thus, liver cancer risk in this cohort depended inversely

     on age at first exposure.
                                                                          'r
                                                                          ..."
                                                                          ,
          On t~. other hand, for cancer of the brain and other central

     nervous system, the trend by age at first exposure appeared to be

     opposite to that for liver cancer. Among those cohort members who
     were first exposed to vinyl chloride at an age less than 25 years,

     the SMR for brain cancer was 110..8 (3 observed verses 2.71

     expected, not significant). The brain cancer SMR increased
     slightly to 164.8 (9 observed verses 5.46 expected, not

     statistically significant) for those who were first exposed to

     vinyl chloride' between age 25 to 34. For those who were first
     exposed at age 35 or older, the brain cancer SMR of 239.5 (11
     observed v. 4.S. expected) was statistically significant at the
     O. OS level.



          Similarly, emphysema risk in the cohort seemed to be directly

      dependent on age at first exposure. For the group whose aqe at




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    CM Vinyl Chl ride study                                      Pa;. 23

     first expsure was less than 25 years, the emphysema SKR was 106.5

     (2 observed V8 1.S8 expected, not significant). The emphysema SMa
     increased slightly to 160.0 (12 observed vs 7.5 expected, not
     significant) for the group whose first, exposure occurred between
     age 25 to 34. However, emphysema risk was two-fold in the group
     whose first exposure occurred at age 3S or older. In this group
     the observed emphaysema death was 27, while the expected was 13.46

     (SMR 200. 7, P ~ O. 0 l) .


          Based on an inspection of Table 14, no other obvious

     relationship could be detected between cause-specific SMR and age
     at first exposure.



     Analysis By Calendar Year of First Exposure


          The cause-specific SMRs by calendar year of first exposure
     are presented in Table 15. For those employees who were first

     exposed to vinyl chloride before 1950, there were 27 observed

     liver cancer deaths, compared to 3.46 expected (SMa - 779.6, P ~

     0.01). The risk of liver cancer was greatly reduced for those
     employees who were exposed to vinyl chloride after 1950. For

     those who were first exposed between 1950 to 1959, the SMR was
     440.1 (7 observed VB 1.59 expected, p ~ 0.01), and for those who
     were exposed in or after 1960, the SMR was 418,9 (3 observed vs

     0.72 expected, not statistically significant). Thus, liver
     cancer risk for those who were exposed before 1950 was almost




                                                                 SL 067063



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     CM Vinyl Chlorid Study Pa9. 24
     twice as tht tor tho. who were exposed th reatter, which aiqht
     be latency or expoaure related.



          For cancer of the brain and other central nervous system,

     Table 15 indicates that the reverse, compared to liver cancer, was
     true. For those who were first exposed before 1950 and between
     1950 and 1959, the brain cancer SHRs were 156.4 and 163.8,
     respectively. On the other hand, the SKR tor cancer of the brain
     and other central nervous system in the qroup of employees who
     were exposed to vinyl chloride in or atter 1960 was 256.3 (7
     observed verses 2.73 expected, p ~ 0.05).



          Finally, for emphysema, there appeared to be no relationship'

     between SMR and calendar year of first exposure. The emphysema
      SMRs were 173.7, 189.3 and 186.8 for those who were first exposed
     before 1950, between 1950 and 1959, and in or after 1960,

      respectively. only the SMR for those who were first exposed
      before 1950 was statistically siqnificant. The SMR for those who
      were first exposed between 1950 and 1959 was close to statistical
      significance (p 0.05).


           There ia no other obvious relationship between cause-specific

      SMa and cai..aar year of tirst exposure in Table 15.




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    . J.
              CM Vinyl Chlorid. Study                               Pa9- i,

              Analy.i. By Ty of Plant

                   As indicated earlier, there were 11 plants which produced

              only VCM, and 18 plants produced only PVC, In addition, 3 plants

              produced both VCM and PVC, and the remaining S plants produced
              other forms of vinyl chloride. Table 16 shows the cause-specific
              SMRs for those plants which produced only VCM as well as for those
              plants which produced only PVC. Al though there were 11 VCM plants
              in the study, the total numer of the individuals included was
              only 1214. In this cohort of VCM employees, only 1 liver cancer
              death was observed, compared to 0.31 expected. Although the SMa
             was 325.8, it was not statistically significant because of the

              small numer. There were 6849 employees from the 18 plants which




.
              produced only PVC. The number of observed death due to liver
              cancer was 31, while the expected was 4.47 (SMR - 693.3, P ~

              0.01). Among the VCM employees, 12 deaths were due to respiratory
              cancer compared to 7.7 i expected. The corresponding SMR was

              155.7, but it was not statistically significant. For the PVC

              employees, 85 deaths were due to respiratory cancer, when 92.54
              were expecte~ (SMa - 91.8, not statistically significant). There
              were only 2 brain cancer deaths in the VCM employees, compared to

              0.91 death. expected (SMa - 219.5, not significant). For the
              cohort of PVC employees, 16 deaths were due to brain cancer and

              other central nervous system, when only 9.47 were expected. The
              corresponding SHR was 169.0, pO. 05. only one emphysema death
              was observed among the VCH employees. On the other hand, a total




                                                                      SL 067065




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                                                                             t.
      CK Vinyl Chloride Study Page 2'
     of 29 death. Were due t emphysema among the PVC employee.
     compared to 17. 75 expected (SMR - 163. 4, P ~ o. 05) .




                                                                                   .



                                                                       SL 061066



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    . A

                . OI Vinyl Ch ride Study                                  Pap 21
                 DISCOSSIOH


                      As stated earlier, this study update was intended to

                 monitor the mortality experience of the CM cohort ot vinyl
                 chlor'
                 of th

                 chlor the relationship between
                 exposure to vinyl chloride and t~~ancer, as well as
                 and hematopoietic cancer. The update extended the observation
                 period from the end of 1972 to the end of 1982. In addition to
                 the 707 deaths identified in the original study, 829 deaths were
                 identified in the update, 1973-1982; brinqinq the total numer of
                 deaths in the entire study to 1536. Wi th these newly' identified



.
                 deaths, we now can answer some of the questions that were raised

                 in previous studies.

                         The cohort as a whole continued to experience a favorable

                 overall mortality experience. In the entire cohort, 1536 deaths
                 were identified, compared to the expected number of deaths of

                 1705, based on the u.s. vital statistics. The overall SMR for the
                 cohort was 90, indicatinq that the cohort enjoyed a 10' mortality
                 deficit w~ compared to the u.s. population. On the other hand,
                  a numer ot specific causes of death indicated a significant
                  excess. Por the entire study, 37 liver and biliary cancer deaths

                 were observed, compared to only 5.77 expected. The liver cancer
                  SMa was 641.2, statistically significant at the 0.01 level. This

                  SMa was very similar in magnitude to the combined relative risk of



                                                                            SL 067067




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      CM Vinyl Chloride Study Page 21
       5.17 for liver cancer estimated by Beaumont and Breslow (1981) in
                 ~
      their recen review of previous epidemiOlogic studies. In
       addition, analysis by length of exposure indicated that employees
       who were exposed to vinyl chloride for 10 or more years

       experienced a 12-fold liver cancer risk. Analysis by latency also
       demonstrated an increasing trend. Cooper (19811 did not find "any
       striking changes in malignant patterns", when he analyzed the data

       for those with 20-25 years of latency in the CM cohort. Contrary
       to his findings, our analysis demonstrated a marked increase in

       liver cancer risk with increasing latency. For those with 1...
       than 20 years ot latency, the liver cancer SMa was 385.7; for
       those with 20-30 years of latency, the SMR was 590.1; and for
       those with 30 or more years, the SMR was 1218. 3. Two probable
       reasons could have accounted for the lack of dependence on latency
       in Cooper's analysis. First, the study at that time had only ~
       limited statistical power. Second, cooper did not analyze liver
       cancer separately, but rather studied the entire digestive system.



            In addition to lenqth of exposure and latency, we also

       analyzed the data by age and year of first exposure. our analysis
       clearly indicated that liver cancer risk in our study depended
       inversely ~.jp ag8 at first exposure. For those who were exposed to
       vinyl chloride before age 25, the liver cancer SMR was 1611.0,

       almost 5 time the liver cancer SMR of 345.7 for those who were
       first exposed to vinyl chloride after age 35. Analysis by
       calendar year of first exosure also indicated that & higher risk
       of liver cancer was associated with eariier exp'osure. For those




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                c: Vlny). Chl rict. Study                                                 Paq. 2'



.               who were tir.~ exp.ed to vinyl chloride before 1950, the liver
                cancer SM va. 779.6, almost twice as the SMa of 418.9 tor those
                who were first exposed to vinyl chloride in or after 1960.


                     The 37 liver cancer deaths are listed in Table 17. Among
                these 37 liver cancer deaths, the duration of exposure ranged
                from 2.6 years to 27.4 years, and latency from 12 years to 45

                years.

                     A total of 15 angiosarcoma deaths were identified in the
                study based on death certificate information only. The duration
                of exposure among the angiosarcoma cases ranged from 4.2 years to
                                                                                                      1.

                23.7 years. Two plants (Plants 25 and 33) contributed a total Of
                14 angiosarcoma cases. Even though these two plants were the


c               largest among the participating plants (contributed a total of

                3533 employees to the study), the numer of angiosarcoma cases
                from these two plants was still disproportionallY large. The

                concentration of the angiosarcoma cases in two plants might

                indicate that the exposure at these two plants was different from

                other plants. Another explanation could lie in the difference in
                local diagnostic practice. A detailed investigation in this area
                would re~ire a review of all available patholoqy reports, tissue
                samples, diagnostic tests, etc.: which would be beyond the scope
                of the present study.



                     With regards to liver and biliary'                    tract cancer, there was

                still an excess even if angiosarcoma cases were eliminated. Ba.ed



                                                                                              SL 067069




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                                                                            .




    CM Vinyl c:l rid. Study                                 .&9. 30
    on the death c rtitica~ee, there were 15 other liv r cancer cas..

    (4 hepatoaaß 1 hepatocellular carcinoma, 2 hepatic carcinoma, 7 4I
    carcinoma ø~ the liver, and 1 metastatic liver cancer of unknown
    primary). There were 7 biliary tract cancers (2 carcinoma of
    common bile duct, 3 adenocarcinoma of gall bladder, 1
    cholangiocarcinoma, and 1 carcinoma of the biliary system).
    Excluding the 15 angiosarcomas, there were 22 eases of liver and
    biliary tract cancers with only 5.7 expected tor an SMR of 386.0

    (p ~ 0.01). The above cited liver cancer diaqnoses based on death
    certificates probably included eases of angiosarco~a which were
    not properly diagnosed.



          While angiosarcoma of the liver was .the main concern as the

    primary cancer associated with vinyl chloride exposure, there was
    also an excess of cancer of the biliary tract (including gall

    bladder) among this cohort. According to the Third National
                                                                                I,
    Cancer survey incidence data, 52l of all hepatobiliary cancers are

    liver, while 48% arise from the biliary tract. According to these

     figures, in our study 2.7 cases (non-age adjusted) would be

     expected to be from the biliary tract whereas 7 cases were

     reported for an observed/expected ratio (in l) of 256 (p ~ 0,05).
     This increase in biliary tract cancer (independent of liver

     cancer) 1n vi"l chloride workers has not been previously noted or
     reportec!.

          This updat

   11.._-. In the en~ire study, 23 deaths were due



                                                                         SL 067070




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          CK Vinyl Chloride study                                 Page 3 i


.         to brain cancer, compared to 12.76 expected.

          SMR ot 180.2,
                                                         The corr spondinq

                                                                       , was




                  based on studies available to them at the time ot their




          did not demonstrate any dependence ot brain cancer mortality on

          latency. Contrary to our observation on liver cancer, a hi9her
          brain cancer mortality risk was found among those who were exposed
          after age 35 and who were exposed in or after 1960 than those who
          were exposed before 1960 and at a younger age. Based on the



I         i imi ted exposure information available in this mortality study,
          the implication of this difference in risk profile is not clear at

          this point.



               The 23 deaths due to cancer of the brain and central nervous

          system are listed in Table 1S. The duration of exposure to vinyl

          chloride in these 23 cases ranged from 1.0 year to 30.8 years, and

          latency trom 4 years to 41 years. Approximately half (12) of the
          cases cam. fro. Plants 25 and 33; both were PVC producers.
          Similar to our observations in liver cancer, these two plants
          produced a disproportionately large numer Of deaths from cancer
          of the brain and other central nervous system, when compared to

          the other participating plants in the study.




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      CM Vinyl Chloride study                                h9& i2

           Resul ts from this study also indicated that the cohort of

      vinyl chloride ~orker. experienced a significant excess from

      emphysema (including c.o.P.O.) mortality. For the entire cohort,
                                                                                 .
      41 dea ths ~ere due to emphysema, compared to the expected 22.83.

      The corresponding SMR was 179.6, statistically significant at the
      0.01 level. The excess came mainly from those with less than 10
      years of exposure. In this group, 25 deaths were due to
      emphysema, with an SMR of 208.9, statisticall~ siqnificant at the
      0.01 level. In terms of age at first exposure, those who were
      first exposed at aqe 35 or older experienced a 2-fold risk, SMa -

      200.7, statistically significant at the 0.01 level. Analysis bYt
      type of plant indicate. that the excess occurred among those '




                                                                                 l
      plants which manufactured PVC. Among the PVC workers, 29 deaths
      were due to emphysema, with an SMR of 163.4 (p ~ 0.05).



           The 41 deaths due to emphysema are listed in Table 19.     The

      duration of exposure to vinyl chloride ranged from 1.2 years to

      23.6 years, and latency from 4.1 years to 42 year..



           our findings of a statistically significant excess in

       emphysem ~ortality has not been previously reported by other
       inv8stiga~.. A numer of investigators have reported pulmonary
       change. a..ociated with polyvinyl chloride exposures a. well as

       vinyl chloride monomer exposures. These changes are qenerally
       characterized by the appearance of a 10~-qrade pneumoconiosis on
       chest x-ray (Lilis, 1980 and 1981t Sortar et al, 1980: Lloyd at




                                                                     SL 067072



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          al vinyl Chloride Study Pa._ 33
          al, 1984; and Waqner and Johnson, 1981). In addition, Gr th et al

          (1981) found that polyvinyl chloride dust caused only a benign
          pneumoconio5ia in laboratory animal s (rats, quinea pigs, and

          monkeys). Only Miller et al (1976) reported decrease in airflow
          rates among vinyl chloride polymerization plant employees. While
          they found an age and exposure relationship, they found the same

          prevalence rate of flow changes for both smokers and non-smokers
          among individuals who were either more than 40 years of age or had
          exposures for more than '20 years.


               Unfortunately, based on the limited exposure information we

          have in the present study, we are not able to provide further

          explanation for the observed emphysema excess.. In partiCUlar, we
          do not have information on smOking history of the cohort members,



I         The~efore, cigarette smoking could not be ruled out as an
          explanation for the excess, However, it must be pointed out that
          there was no excess in lung cance:, which would imply that the
          cohort did not have a higher percentage of smokers than the
          general population,


                                      epidemiologic issues is the

           relationship between occupational exposure to vinyl chloride and
                       cancer. Previous studies have provided conflicting
           result. on the issue of whether employees exposed to vinyl
           chloride experienced a higher risk of respiratory cancer. Many of

           the previous studies, which did not find an excess in lung cancer,

           have' been criticized for lack of statistical power, OUr study,



                                                                    SL 067073




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      CM Vinyl Chl ride study                                 Page 34

      bein; one of the largest studies of vinyl Chloride worker., did
      not indicate any excess in respiratory cancer. For the entire

      cohort, 115 deaths were due to cancer of the respiratory syste~,

      compared to 122.25 expected. The corresponding SMa was 94.5. Our
      study, at the 0.05 significance level, has 80' statistical power

      to detect an SMR for cancer of the respiratory system as small as
      124. Therefore, we can conclude that our study has clearly
      demonstrated that there is no relationship between occupational

      exposure to vinyl chloride and cancer of the respiratory system.


           Some of the previous studies have also shown an increased

      risk of cancer of the lymphatic and hematopoietic system amon; ,
                                                                          .
      vinyl chloridè workers, while others did not find such an exces~
      In our study, 37 deaths were due to lymphatic and hematopoietic

      canCer, compared to 36, 28 expected. The corresponding SMR was
      102. o. Our study, at the 0.05 significance level, has 80l power

      to detect an SMR for lymphatic and hematopoietic cancer as small
                                                                                I
      as 145. Therefore, our study has adequate power to detect an
      increased risk in lymphatic and hematopoietic cancer as small as
      45%. since we did not see any excess in the cohort as a whole or
      in any other specific analysis by length of exposure or latency,

      we conclude that there is no relationship between occupational

      exposure to vinyl chloride and an increased risk for lymphatic and

      hematopoietic cancer.

           In closing, it should be pointed out that there are several
      limitations in this study, most of which are typical of an




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          CM V1ny~ Chlorid study p~ "
          historical a rtality study ot industrial populations. The major
          limitation of this study is the lack of exposure information for

          the cohort members. As such, analyses by detailed exposure were
          not feasible. In the original study, exposure was ranked by
          individual plants into three categories, high, medium and low.
          Because of the lack of standardization of exposure classifications
          across plants and companies, it was decided by the CM Task Force,
          at the beginning of this update, not to utilize that exposure

          cha~acterization. Instead, the CM Task Force and ERA decided
          at that time that the option of case-control studies would be

          considered, should the results of the mortality study indicate
          excesses in any cause-specific mortality. Contrary to cohort
          mortality studies, in case-control studies we deal with a limited

          number of study subjects and it becomes both feasible and



I         practical to collect detailed exposure information on all study
          subjects. In addition, it may also be possible to collect other

          information such as life style as well as occüpations outside the

          vinyl chloride industry. Furthermore, it may also be possible to

          review pathological reports, which would produce useful histo-

          logical cel~ type information on liver cancer and cancer of the
          brain and other central nervous system. with this update, the
          study has now identified enough cases of liver cancer and brain

          cancer toi tuther ease-control studies. In addition, it may also

          be useful to further investigate the relationship between

          emphysema and occupational exposure to vinyl chloride in the fora
          of a case-control study.




                                                                    SL 067075



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     CM 'vinyl Chloride Study P&9. 31
           Another limitation of th atudy was that a small percentage

     of the cohor was lost to vital status follow-up. Among those who

     participated in the update, the vital status of 7. BSl cohort

     members remained unknown as of December 31, 1982. In addition,
     among those who did not participate in the update, the vital
     status of 1.8S% cohort workers remain unknown as of December 31,

      1972, the end of the observation in the original study. A related
      limitation was that for 6l of all deaths identified in the study,

     no death certificate was available. Therefore, it was possible

      (but not very likely) that the missing information in vital status
     or cause of death could have modified the results of this study.



           In the study, the entire cohort was assumed'                         to be white, even




                                                                                                       I
      though some might be non-white. Among those with race informa-
      tion, only 3 t were non-white. However, if the actual number of

      non-white was larger, some of the results of this study might have

      been modified.


                .
            Finally, being a mortality study, this investigation not only

      inherited all the problems associated with death certificates (for
      example, diaqnostic accuracy), but also suffered from the lack of

      in-depth clinical information. In particular, histologic
      information db the cell type of the liver cancers and brain

      cancers would have been useful in interpreting the epidemioloq1c

      f indinqa .




                                                                                               SL 061076




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         CM vinyl Chloride Study                                  Paq. 37



         CONCLSION




          tract cancer as as cancer
                           For 1 i ver and bill iary tract cancer, the cohort
          as a whole experienced a 6-1/2-fold risk. In the entire cohort,
          15 deaths due to angiosarcoma of the liver were identified,
          confirming the proven relationship between exposure to vinyl
          chloride and this rare form of cancer.




          mortality excess from emphysema. On the other hand, the study did



I         not find any relationship between occupational exposure to vinyl

          chloride and cancer of the respiratory system or lymphatic and

          hematopoietic cancer,




                                                                      SL 067077




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 1905-1909             431             4.23             824               8.06
 1910-1914             739             7.26           1,563              15.32
 1915-1919            1059            10.41           2,622              25.73
 1920-1924            1391            13.67           4,013              39.40
 1925-1929            1394            13.70           5,407              53.10
 1930-1934            1206            11. 85          6,613              64..
 1935-1939            1219            11. 98          7, 832             76.98
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     1965-1969           2479          24.368        9,567              94.041
     1970-1971            606           5.957       10, 173             99.998




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         25-29            1315        12.926      8, 821         86.709
         30-34             920         9.044       9,741         95.753
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             Cineer of Panre.. (1ST. 151)                                                                                                         16        l     111,40                   a7.0                        49.7                    141.2
        Ci~er of le.p; ritory Syst.. (160' 164)                                                                                                 115         I 122.25                      94.1                         77.6                    '13,0
             Cince,. of L"' (162.163)                                                                                                           111         I 115.IT                      95.1                         71.7                    115.5
        Cancer of ll (196.196)                                                                                                                      2       I      1.11                  110,5                         13.4                    398.11
        Caner of Skin (190.190)                                                                                                                     6       l      T.36                    a1.5                        29.9                    177.5             ~
        Cine.,. of Prostite (177.177)                                                                                                             15        I     15.20                    98.7                        55.1                    162.9
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     Vaseular lesion of eNS (330.33)                                                                                                               70       I      9' .93                   16.1-            I         59.5           I          \1,3
     Diseases of C; rculitory system (400.46)                                                                                                    635            I nl.28                     Be . 0'"         I         81.3           i          95.2
          ArteriosCI.rotic Meirt Diseale C420.4ZO)                                                                                               48             I 597.73                    liT. 6" I                  74.5           I          89.2
     Nonl ignt lesir.tory Di....e (470'527)                                                                                                       70        I     87,61                     1'.9                       62.4          I         101. 0
         PnNi. (490.493)                                                                                                                          15        I     31.94                    47.0..                      26.2          I          n.5
         EIIY5-.                   includlne C.O.P.D. (527.527)                                                                                   41        i     22.83                   11'.6."                    12/l.11         I         243.8
     Diseises of Digetive Iyst. (530.517)                                                                                                         60        I     95.58                    62.11....                   47.9          I          eo,8
         Cirrllosis of LiYer (511.511)                                                                                                            35        I     56.06                     62.4"                      43.4          I          11.8
     Disuses of Geito'UrlNlry Sytt (590.639)                                                                                                       9        I     ZO.41                     44.'''.                    20.2          I          83.7
     Accidets, Pol.oni... & ViDI~ (80.99)                                                                                                        168        I 225.97                        74.3."                     63.5          I          11.5
         Aecidetl (80.96)                                                    £-..                                                                lOl        I 150.16                        71. 9""                    58.9          I          16.9
         MotOf Vehicle Accidla Clto.l!)                                                                                                            52       I      n.O!                     n.2"                       53.11          I         94.8
         suicide (96.96)C97.919)                                                                                          52.78              &7,2  44       I     63.8 I 116.3
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     All C_.. 0.99)                                                                              I 176      I 86.6"           46 I '02.6                     194      i    11,0-*
     All C8nerl (140.20)                                                                         I '10      I 93,0            "4 I Ul,6*                      65      I   "9.3
        c~er of lucca' civity an ~ar~ (140.'41)                                                  I    10    115.2                2     I   61.7                   0   I
        Cancer of Di...tiye Syst-l150.159)                                                       I   37     173.7               35     I 140.9                21      I   19O.r*
           Caner of E&aag ('50.150)                                                              i    6     113,7                 1    I   44.1                0      I

           Cen.r of St~h ('5"'5')                                                                I     S    I 54,1               4     I   89.8                   I   i    43.3
           Caer of Large i~t..t ine (153. '53)                                                   I     a    I 49.6*              4     I   50.3        I          8   I '69.4
           Caner of Li.." wi I fl i ary T rKt (155.'56)                                          I     6    1'82.1              20     I'DS..- I              "       1'21.9**
           Cancer of Plnr.i. (157. 1ST)                                                          I     I    I 78.5               "     I   17.5        I          4   I 13.4
        C~.r of I.pi ratory sYt- ('60' '64)                                                      I   62     I 92,6              31     I ""3           I      15      I    71.0
           C8Mtr of Lun ('62'163)                                                                I   59     I 93.0              31     I "4,4          I      '5      I    74.6
        caner of 1_ (1"'196)                                                                     I    I     117.3                 I    I 221.          I       0      I
        C~.r of Ski~ (190'190)                                                                   I     4    II6.a                2     i 106.'         I          0   I

        c.er of P~tate 017.'77)                                                                  i     5    I 62,2               7     I 163.1         I          3   I 104.6
        Clne" of Iladr (,a,.,.,)                                                                 I     5    1109.2               0     I
                                                                                                                                           .,.         I          0
        c.er of iii- (1eo'11O)                                                                   I     7    1'36,1               3     I 119.3         I          1




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        l~atjc & M~top;etic Cener (2OO.2OS)                                                           20    i 90.6              12     I 121.1                    5
           Lymosirc~ an leticutosircom (?OO.200)                                                       7    1147.5               i.    I 183.11                   0
           Hodki~'$ Di5ease (201.201)                                                                  2    I 52.6                1    I   '1.9                   0   I
                                                                                                                                                                           _.-
           le.keli. & AIM..;a (204.20)                                                                 II   I 93.7               3     I   83.7                   2   I 110.4
           Othtr i~itic Ti,.ui Caner (202'201)(205'205)                                                i    I 63,8               4     l '75.9                    3   I 2'4.4
     teni;~ Meolasn (210-239)                                                                          3    I 94.6                1    I   17,1                0      I

     Qi.betes Mellitu (260.260)                                                                       14    P01,4                .     I   95.3                2      I    58.4
     Disel.eI of Iloe (29.29)                                                                          1    I 42.3                1    I 101.5                 0      I

     Vasculir 1..;_ of CNS (33-33)                                                                    39    I 74.9              19     I   74.0               12      I    14.5
     Diuas" of Circulatory sYt_ (40.46)                                                              335    1&2.3-            216     I 106.5                 14      I    75.3-
       Arterioacler-tlc ..rt Ola_ (420.420)                                                          259    1 77.""           ,n       I 10' ,6               57      I    60,'**
     lIonlignt Itaslrator Di..i.. (47'-527)                                                           47    I 95.7              16     I   66.7                7      I    41.2*
        ~i. (490'493)                                                                                 12    I "'.4               2    .1   D,4.                   1   I    22.3
       E.)'", tncli.li. C.O.P.D, (527-521)                                                            25    I ZO.   9-          I'     i '66,1                    5   I   117, I

     DiulSe5 of Dlaethi- Syt. (53.517)                                                                34    I 59,2-             22     I   85.2                   4   (    32.4*
         cl"rhaai. of LIve (581.581)                                                                  20    I 59."              13     I   85.1                   2   I    27.2*
     01..... of Gafto-urtll Iyt_ (590-63)                                                              ,    146,2                3     I   58.6                   0   I
     ACCI4ets, Poi_l~. ~Vt..__ (10.99)                                                               126    I 77.'"             J6     I   76,9                   6   l    37.9-
        Accii-ia (10'96)                                                                              14    I 76,5*             22     I   n.6                    2   I    20.0*
        i-tor yetlele Act..t. "'0-15)                                                                 45    I 12.4               6     I   44.7'                  1   I   24,9
         Suicide (96-96)(97.91)                                             I 79.6        '3 I 107,1  29       4 I 93,'
      . -.............. -... ....... ............-.................... ........ .......... _....... - -.....................



    .~ifirTfTClri at!i l-iT
     - ,i",!flam at 1S liwl




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 All C.ues (,,09)                                                                        I 64                 I               eo.    7'                 55S        I 103.5                         337       I           90.'
 All C~eri (140'ze)                                                                      I 130                I                93,2                     133        I 113.4                          96       I 115,0

    Caner of auCI! CiV; ty an Phiry (140- 141)                                           I            6       I               '26.5                       4        I           95.8                  2       I           75.9
    Caner of Dlgest;ve Syst.-'50.159)                                                    I           31       I                15.3                      32. I 1OS.1                                36       I '60.1-
       Caner of Esop.iu (150-150)                                                                     2       I                66.5                       2        I           67.3                  3       I 143.5
       C~er of St~h (151.1S1)                                                                         4       I                54,7                       4        I           77.9                  2       I           56,1
       Caner of Lir.. IntlStlnt (153. 153)                                                            1       I               n,7           I             :s       I           30.2-   I             9       I "4.5
       Caer of LIYlr an liliiry Tract (155.156)                                                      10       I 315,7' I                                 "         I 590.1- I                       16       1'211.3-
      Caner of P~rei~ (151'157)                                                                       5       I                7'.0         I             7        I 107.6             I             4       I           14.2
    Cler of .iipiritory Irst. (160-'64)                                                              45       I '00,0                       I            47        I 104.1             I            Z3       I           71,6
      Canef of Lq (162-163)                                                                          44           I 103.1                   I            4S        I 105,0             ,            22       I           71.1
    tener of lon (196' 196)                                                                           0           ,                         I             1        I 197.4             I             1       134,3                "
     Canr of Skin (190-190)                                                                           2           I            49.4             I         2        I           92,4    I             2       I I T.J.
     c...r of Prostite ('77.177)                                                                      1           I            V.5              ,         6        I 113.1             I             .       I 127.1
                                                                                                                                                                                                                                  J
                                                                                                                                                                                                                                  ~

     Caner of Iladr (1'" 111)                                                                         1           I            36.2             I         2        I           67.5    I             Z       I           n.3
     C~.r of lCift (180'180)                                                                          5           , 131,8                       I         2        I           62,5    I             4       I ''',9
                                                                                                                  I 113.1




                                                                                                                                                                                                                                          ,
     Caner of Iri;n an CIS (193- '93)                                                                13                                         I         6        I 1S1.3             I             ..      I 210,7
     lymltie ¡ "~topietie Cincer (200.205)                                                           16           I  17.4                       I        14        I '29.8             I             7       I  97,2
        L~O$lream ind leticu!os.ream (200.200)                                                        7           I 170.2                       I         3        I 12.2              I             1       1           n.l
        Modkin's Disease (201 .201)                                                                   2           I  51.5                       i         ,        i           90.9    I             0           I

        L~,Jiemil & ,tieuhmi. a04.204)                                                                5           I  71.0                       J         6            I 14!.1         I             2           I       7',4
                                                                                                      2              63,7                       I         4            I 134.1         l             4           I 176.6
        Other i~atic Tissue Cinctr (202.203)(205.205)                                                              I

  B~;;n N~!I_ (210.239)                                                                               2           I            71.'             I         2            I 142.4         I             0           I

  Diibetes Mellitus (2bO-26O)                                                                        12           I           113.5             I         7            I       94.1    I             :s          I       54.4
  Diseises of Iloo (29'29)                                                                            1           I            50.7             I          1           I       97.1    I             0           I

  V'sculir lesion of CIS (330.334)                                                                   23               i        66. ,-  I,                20            I       66.1    I            21           I 100.4

   DiielS" of Cireuletory Syt-i (400,46)                                                             250              I         83.7"- I                251            I 101.7             I        134              I   76.2--
      Arteriosclerotic Heirt Di..... (420-420)                                                       201              I         83.9- I                 20             I       95.7        I        17               I   sa.4--
   1I~1 i¡nt Respiratory Disn.. (47'-527)                                                             20                  I     62.4- I                   26               I   88,2        I         24              I   92.0
      Pi-ii (490-493)                                                                                     5               I     35.6- I                       5            I   50.7        I          5              I   62.3
      Eø~- .            includiMl C.O.P,D. (521.5Z7)                                                  "                   I    157.5                I     '7               I 191.0-        I         13              I 17'.0

   OiselsK of DigetiYl Sy_ (53.SI7)                                                                   27                  I     54.6" I                   15               I   49.3- l               11              I 114.6

      Cirrhois of Live (~SLL)                                                                         14                  I     41.5" I                    9               I   41.0-       I         12              I 142.'

   DlseNel of Gllto.U'¡i- Syt_ (59.63)                                                                    I                         1,,.- I                6               I 116.3         I          2              I    50,5
   Accidets. Poiionl.. & Vlolwi (80.99)                                                          I 123
                                                                                                                          I

                                                                                                                          I     14.3- I                   31               I    14,7       I             .           I    47.Se
    Accidatl (80'96)                                                                             I    12                  I     73.2" I                   18               I    66,0       I             .           I    74.0
                                                                                                      42                  I         73,S-           I          7           I    61.9       I             3           I    77,9
       ~tor Yehicle Acidet. (110.155)                                                            I

       SUicide (96.96)(970'979)                                                              ï        Z9                  I         79.6            I     17               I 143.3             I         0           I

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    . Sflllfl~ it 51: l_l
    - Si",if;c:t .t 11: liwl




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                                                ell Col't .." by T." of "eM
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        Cause of Death
         (7th I~A)
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        .......................................................................................................................................
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                                                                                                                                                      I       SM

        All Caues (1.99)                                                                       76 I 7'-'" J l1S0 I 88.5-- I
        All Cancers (140.20)                                                                   24 I 11.9                272 I 104.6            I
          Caner of lucil cay¡ ty rd Phar)I (140. 1~)                                                      3    I 4Z4.S                       6        I    68.5             I
          Caner of Dipeitive S)'t..(1S0"S9)                                                               4    i        n.'                 71        I   113.'            I
             c.,r of ElopagUi (150. lS0)                                                                  ,    I 20.'                        6        I    97,6            I
             Caner of StOMh C'5"'5')                                                                      0    I
                                                                                                                        .. .                 7        I    56.4            I
             Can,! of Lar" Intestine ('53' 153)                                                           0    i
                                                                                                                        ...                 16        I    72,4            I
              Caner of Liver rd 'iliary lrlet ('55-156J                                                   I    I 325.'                      "         I 693.3-- I
              ca,r of Panre.. ('51.157)                                                                I       i        91.0                11        l     71,3           I
           Caner of lespi ratory Syst. (160' 164)                                                     12      I 155.7                       .5        f    91.a            I
              Carar of L\6 (162- 163).                                                                "       I iso. i                      82        I    93.5            I
           Carer of Il (196-196)                                                                          0    I                             i        I    72.'            I
           Caner of Sti" (190-190)                                                                        0    I                             6        I 110.6              I
           Caner .of Prostate (in. in)                                                                    1    I       11,...2              12        I    91.6            I
           Caner .of Iladr (la,.,.,)                                                                      0    I                                5     I     ~.6            I
           Caner of Kidn (1ao'1ao)                                                                        ,   I 172.1                           .     I 116.9
           Cener.of lrail' an as (193.193)                                                                2                                 16




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                                                                                                               I 219,5                                1 169.0
           L~at;e & Hemtopietic Caner (ZOO'Z05)                                                           0    I                            31        I 11.6
             LymoSa"caM an .eticul~.r~~ c200.2001                                                         0    I                            10        i 167.4
              "odki~'S Oiieese (201-201)                                                                  0    I                                3     I     14.3
              leutl1a & Aleubmia (204'20)                                                                 0    i                             \1       I 104.3
              Other t~atic Tissue Caner (202-203)(205'205)                                                0    I                                1     I 110.1
        Benign Neola~ (210.239)                                                                           0    I                              3       I     7',0
        Diabetes ..lIit.. (260.26)                                                                        0    I                             14       i     17.9 .
        Oi'eas.. .of Iloo (29'29)                                                                         0    i                                1     i    34.2
        Vaseular lesiOl of as ,33,334)                                                                 3       I        62.6                60        I    ai.3
        Oi seases of CI rculatory Syst.. (400'46)                                                     26       I        62.0*             W           I    13 .6-.

           Arteri05cl.rotic Meart Di..... (42.420)                                                    II       1        51.'-*            357         l     7',0**
        Monl i~t 1..lratory Di.. (470.527)                                                             ,       I        20.4                 54       I     19.5
          "i-ia (490,493)                                                                                 0    i                             1I       I     44.3-
          e.rs. Iriludii. I:,O.',D. (527.52'7                                                             1    I        82.6                 Z9       I   163.4-
        Diu.... .of Digetfw Syt_ (S3O.S1n                                                                 "    I        61.9                 46       I     64.2-
           Cirrfosia .of Lf~ (51'-511)                                                                    i    I        72,6                 26       I     62.9-
         D i.... of Geftt"' Syt.. (590-639)                                                               0    I                              6       I     37.4- I
         Acddatt. Poi..'.. , Vlollre (10'99)                                                          '4       I        n.5                1ZS        I     ~.6- ,
            Ace:' i-n (eo.ll)                                                                         10       I        15.9                 10       I     72.4" I
            Motor v_let. Act_t. (ll0.1S5)                                                                 4        I    68.1                 36       I     61.6*           I

            Suie:ide (96.96)(91'97)                                                                       "    I        95.0                 34       I     83.2            I
         ............... ...... .............. ..... ...... ....... ...................... a................. a....... ............... ..-.. .... .....

         · ¡i..lfic:t at 5S lewl
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                            CIlTllllllts 01 17 OUT             IS 'LOL i:CU Of TilE LIVU lI 81 L IART TUCT


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   1        42        155,ll            1922           196          196              1911                 '98          55           6.4         16
   2        )0        15'.11            1900           1949         1950             196                  196          66          14.7         16

   3         15       156.11            1912           1942         1959             19n                  197'         66          12.6         19

   4        27        155.X             1914           19b5         196              19n                  '981         66           4.2         12

   5          26       155.X              1921        194'         1949           1951                 1981        59            2.6            32
   6          26       155.X              1916        1943         1948           '9n                  '98'        65           24.5            33
   7           19      155.11    A        19'0         '947        1947           1967                 19n         66           20.4            30
   5           '9      '55.11             190          1946        '94            1970                 1970        60           23.4            23
   9           12      '56.11             1912         1946        1946           196                  198         6l           15.5            33
  '0           Z5      156.11    A        1921         '942        1944           1955                 1974        52           10.5            29
  11           ZS      155.X     A        1916         1937        1941           1965                 1978        62           23.7            37
  12           ZS      156.X     A        1923         1941        1946           1959                 1m2          S5           13, I          35
  13           25      '56.X     A        19'7         1936        1944           '965                 1918         61          20.5            34
  II.          25      156.X              19"          1933        1940           1959                 19i'         67           ia.7           37
   15          Z5      156.11    A         1922        194         194            1955                 196          45           13,9           23
   16          29      '55.11              '903        1955        1955           196                  196          65           13. I          13
   '7          33      ,56.X     A         1923        1947        1947           1965                 1975         51           11.11          27
   '8          33      155.X     A         1927        1950        1950           1954                 1969         41            4.2           1a
   19          33      156.X     A         1923        1947        1947           1959                 1976       . 53           11,9           29
   20          33      155.X               1933        1955        1955           1970                 1971         31           14.5            15

   21          33      155.X               189         1945        1945           1960                 196          7'           15.2           21
                                                                                                       196                       19..


                                                                                                                                                            I
   22          33      156..     A         19'2        1944        1944           19b4                              52                           19
   23          33       155,X              1924        1949        1949            1geT                196          44           1'.8            18
   24          n        '55,X              1912        '945        1945            19n                 1973         60           27,4           27
   25          33       155.X    A         1923        1949        1949            1970                 1973        49           21.2           23
   26           33      155.X    A         19'5        '945        '945            19n                  1973        58           27. I          25
   27           33      156."    A         1928         196         196            19n                  1975        46           10,9            13

   Zil          33      155.X    A         1931         '955       1955            '9n                  1~60        49           16.8            25

   29           H~      155.X              1928         1950        1950           19n                  '982        53           21.1            31

    3D          18      '55."              1 !l         19'7        1947           1958                 i9SC        11           1 1.3           33
   3'           25      156.1        A     190          1942        1942           19S!                 1980        71           16.0            37
    32
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    34
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                        155.11
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                        15S.X
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                                                                                                                                 17.7
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                                                                                                                                                 21

    35          2S      155.x              190          1929        1946           1961                 19n          67          21.7            30
    36          2S      156.x               1917        1937        1941           1962                 1977         60          21.5            36
    37          25      1S6,X              "16          1943        1943           1951                 '974         se           7.6            31


        · . 7th 1 CD COES
        A . AWG10SARCD Of TME LIVE




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      I        is      193.lt      190         1940       196             1968             vni       61           5.7          10

      2         6      T93.k       1940        1971       1971            1972             1976      35           1.4           4
      L        27      193.x       1927        1944       19S8            1969             1975      49          10.6          17
      4        26      193..       1922        1950       1955            1972             19l       57          17.2          24
      5         9      193.1       1929        1967       1967            1912             1912      43           5.3           5
      6         2      193,1       1913        1955       1957            196              196       ~            6.7          11
      7        12      193,X       1197        1922       195             1958             1951      61           4.2           ,
      8        39      193.x        '920       1946       1964            1912             19Ta      58           1.6          14
      9        29      193.1        1932       1965       1965            1912             1973      40           7.0           7
     10        33      193.1        1926       1950        1950           1952             1970      43           2.7          20
     'I        33      193,x        1917       1956        195            1958             1971      54           1,5          15
     12        33      193.X        190        1950        1950           1951              1959     50           1.0           ,
     13        33      193..        1913       1947        1907           1969              1971     57          22.6          24
     14        53      193,x        1919       1945        1945           1963              196J     44          17.6          17
     15        n       193.1        1913       1949        1949           1970              1971      sa         20.7          21
                                                                                                                                          "
     i'        :s      193.X        190        '''         194            1965              1979      7D         20.6          14
     17        n       193.x        1931       1965        1965           1912              1971      46          7.7          l'
     1a        :u      193.X        1920       1942        1942           1972              1973      53         3O.a          S1




,
     19        11      193..        1921       1947        1948           1970              1971      49         22,9          Z3
     20        43      193..        1922       1951        1969           1ç12              1919      56          3.9          10
     21        25      193.x        1905       1933        1933           193/              1974      69           "2          'I
     22        25      193.1        1897       1930        1935           1~3               1956      59         11.3          22
     23        25      193.x        1910       1930        1935           195'              1961      57         21.9          32

    . : 7t~ 10 COOES




I                                                                                                                       Sr. 067096




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                                                                      "
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CASE
 No.
               PLANT
                 ItO.
                             CASE OF
                             DEATM ·
                                            'Ul CW
                                             lIlT"
                                                        'W OF
                                                          "lIE
                                                                     n.. OF
                                                                    J iasT EXP.
                                                                               TULE l'
                                          ~TtIlSTlCS OF 41 DEATMS '.CI EMNYSEMA, INCLUDING C.O.P.D.



                                                                                    n... OF
                                                                                  TER!\lNU lOl
                                                                                                 TUR ot
                                                                                                  PElTM
                                                                                                            AGE AT
                                                                                                            DUTIi
                                                                                                                        DUUTIQI OJ
                                                                                                                         EXPOSRE
                                                                                                                                     u.!E":V
                                                                                                                                                      .
&k ~=~ :a:* ..K.....a...~e....==...K..a.=a=....=..&...:=:... ;~~#.== = ...E.&.Z.:....~cc L ~: ~sa....: :..a c= c=:a ~~a c ...~a.s.=

     1           15           527,.           "'5
                                            1938                      196           "n 19aê       66                       '.7
                                                                                                                           "

                              527..           1903        194         194           1968           19710      T1          22.2         2&
  2              36
                               S27.11         1915        1951        1953          1970           1971       62          17.3         Z5
  3              36
  4              14            52T,ll         190         1953        1953           195'          1977       68           1.0         2'
                                              '9'3        '96         1965           19n           1976       62           1.Z         10
     5           27            521,X
     6           Z7            527.X          1913       . 1941       195&           '9n           1971       65           '3,6        20
                               527.X          1930         '955       1955           1956          1965       35            1.3        10
     7           27
     &           19            527.X          1922        1961        1961           1969          '981       59            7.8        20

     9           '2            SZ1,X          1914        1951        1951           19n           1976       62           21.9        25

 10              '2            S27.X          '895        1936        1952           1960          1969       73            1,7        16

 "               12            527,ll         190         1951        1951           196           196        57           '0.8        15

                               527.ll         "'2         1942        1945           1947          198        67             1.8       34
 12               12
                  12           521.ll         189         1943        1943           194           1961       64            5,1        17
 13
                                              190          194         1948          196           198        SO           12,3        32
  II,            39            521.X
                                                           '940        196           1970          19n        5&            3.0         4
  1~             39            527.X           1913
                                                                                                                                                 .'
                               527.X           1903        1~32        193           196           1970       67           23.4        33
  '6              25
                               5Z7.X           190         1947        1947          195Z          1978       70            4,7        30
  17              33
  1.              33           521,ll          190         194         '''           194           198        SO            3,5        36
                                                                       1947          195           198        60            6,1        32




                                                                                                                                                      I
  19              33           527,ll          1919        1947
                                S2',ll         1910        1953        1953          1958          198        70            5.0        21
  ZO              33
                                               1907        194Z        1942          1943           1975      67             1.2       33
  21              33            521.X
                                527.lC         1921        1947        1947          1949           1977       S6            1.9        30
     22           33
                  33            5Z1,X          1890        1943        1943          1955           19~        7"           n. I        22
     23
                                               1 a.        1945        1945          '953           19!!2      74            7,9        16
     24            33           527.X
     25            33           521.x          190          1941       1941          1967           1971       ~            20.2        23

                                               1917         1943        1943         1967           1911       54           23.6        28
     26            33           527.X
     27            33           527.X          1890         1947        1947          1955          1966       76            ..2        19

                                               1914         19i5        1952             1971       1977       63           18,1        24
     28            33           527.X
                                                            1953        1953             1966       1978       76           13.6        25
     29            33            527.x         1902
                                                            1953        1953             19n        1978       53           19.9        25
     30            33            527.11        1924
                      18         521,lC        1918         196         196              1967       198        61            2.6        15
         31
                                                                                                    1965       67           11.8        17
         32           18         527..          1M          194         1947             1959
                                                                                         1947       1978       74           11.0        42
         33           25         521..          190         1931        1936
                                                            194         1948             1950        1981      55            2.7        33
         34           2S         S21,ll         11125
                                                            194         1953             1962        1982      61            9.1        28
         3S           2S         527..          111ZO
                                                                                                                             8.7        27
                                                            194         1945             19S4        1913      82
         3ó           2S         sau- - _,i-    1Bt1
                                                                                                                             4..        29
                                                                          194            ,'49        1974      59
         37           25         521.. - 'f     1915        193
                                                                                                                   7!        14.1           27
         38            2S        527.X          11           1943         1943           1957        1970
                                                                                                     1979          n          2.6           37
         39            25        521.x          1907         194          194            1945
                                                             1937         1937           1939        1976          64         2.8           39
         40             ZS        527.1          1911
                                                             193          1941           1942        1976          61         1,7           35
         41             25        521..          1914


     · . 7th ICD COES




                                                                                                                                            SL 067097
                                                                                                                                                      I
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                                                                                                                                                      T All. "


                                                                                                                   *~ D..nlt ~ e_. en ..I
                                                                       for aU toi 1I"1 ~ Age It ,I..it £.I~ to Yinyl Cllo..li-
    ~ .. .. .. .. .. .. .. .. ...... .. .. .... .......... .. .. .. .... ........ .............................. .... ........ .... .. .... ............ .... .. .. .. .. ........ .. .. .. .. .. .. .. .. .. ...... ...... .... .. .... .... .. .. .............. ........ .. .. ..
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                                                                                                    .. CI. I -
    t_e of Death                                                                                                                                 I         c zs .,..                        I        ZS.34 .,...                                  SS . ye....
      (7th ICDA)                                                                      Ia..                                                                         I                        I                                                     (l, I               SN
    .....................................................................................................................................-.......................
    All C_.. (1,99)                                                                                                                               I 249            I       90.4                    547          J      86.1-*                     740          I     fl.I
    All Caner, (140.20)                                                                                                                           I       45       I       9t,7                    151          I 117.S                           163          l     98.4
        C~.r of luc~al cavity en Pharyn (140.148)                                                                                                 l        ,       I        66.2                        S       I 11.6                                 6       I    107.9
         Caner of Di;..tlve SYlt~150.159)                                                                                                         I       12       I       113.2                     '"         I 1J.5                               43        I     92.3
              Caner of bophp (150.150)                                                                                                            I        I       I       104.4                        4       I 132.1                               2        I     "'.9
              Caner of CtCl (151.151)                                                                                                             I        0       I                                    3       t      54.6                            7       i     80.1
              taer of Lirge tnte,t ine (153' 153)                                                                                                 I        0       I                                    a       I      77.1                          12        I     80.7
              Cener of Liver an Ii I iiry TrlCt (155'156)                                                                                         I       10        1'6".0-*                          16        I '13.2-* I                          I'        I 345.7-
              Cincer of Panere.i (157' 157)                                                                                                       I         I      I   "'.7                            6        I      as.O              I            9        I     96.4
         tWler of ll..pl".tOl Syst_ (160 '64)                                                                                                     I       15       ,       93.5                       53        l 111.                   i           41        I     10.1
              Cener of Lun (162. 163)                                                                                                             I       14        I      91.a                       50        I 110,a                  I           47        I     14.7
         tWler of 1_ (196.196)                                                                                                                    I        0        I                                   z       I 29.3                   I             0       I
         Cener of Ski" (190'190)                                                                                                                  I        2        I "a.S                              4       I 129.7                  1             0       I
         Cener of P"OIClt. (177'177)                                                                                                              I         ,       I 124.2                             2       I      49.7              I           12        111.7
         tener of Il-dr (1a1.'I')                                                                                                                 I         1       I 142.a                              1      I      37.3              I             3       I     59.1
         tWler of Kicty (UIO- iSO)                                                                                                                I        0        I
                                                                                                                                                                            ...                         6        I 169.0                 I             5       I 119.0
                                                                                                                                                           3                                            9                                            i'


I
         Cancer of Iri i" an eNS (193.193)                                                                                                        I                 I 1I0,a                                      I 164.1                 I                     I 239.5*
         L~.t;' , M_topietiC:,Cener aoo.iOS)                                                                                                      1         7       I  99,7                           15         I 105.4                 l           15        I      99.9
           l~o'arc~ .~ .eti~ulo$areom (20'200)                                                                                                     I        :5      I 207,6                             3        I     9i.2              i             5       I 1'9.4
              ~OO¡ki"'S Dise.se (201-201)                                                                                                          I        0       I                                    1       I     43.b              I             2       I 130.3
              LNk..;. , AleokMlia (20.2G4)                                                                                                         I        3       i      "3,0                         6        I "3.2                  i             ,       I     66.8
              Other L~.tic: Tissue Cae.. (202'203)(205'205)                                                                                          1      i       I       al.0                        5        I 153.8                 l             4       I 102,8
     Benign '~la$1 al0.239)                                                                                                                        I        a       I                                   3        I '45.3                 I               1     I      49.0
    Diabetes ",ititus (260.26)                                                                                                                     I        3       I       83.9                        9        I '04.5                 I           '0        ¡      81,2
    Dis.ises of Bloo (29.29)                                                                                                                       I        0       I                                   a       I                        1             2       111,8
     VISc:utar lesion of os (330.334)                                                                                                                I      1       I       10.a**                    23         I     8O_a              I           46        I li.8
     Oiseases of Circulatory Syt-i (400.461                                                                                                           I   86           I    98.'                    198          I     76,0- I                     351         I      9t. I

          Art."iac~le"otic: He."t Dii.i,. (42-420)                                                                                                    1   67           l    93.0                    149          I     68.10-- I                   2T2         I      II .3-

     Nonlignnt Resiratory DII...1 (470.527)                                                                                                           I    7           I    69.2                      '9         I     63.0-             I           '"        I      93.0
          Pri. (490'493)                                                                                                                              I     5          i 113.9                          2        I      ia, ,..          I               8     I      "'.4-
          E~ys.., incl~ine C.O.P,D. (527-527)                                                                                                         I     2          I 106.5                         12        I 160.0                 I           21        I 20.7-
     l)iaelS.. of Dltntl. lye. (5J-SlT1                                                                                                               I   14           I    81.7                      22         I     55 , 9*-          I           24        I      61.4-
          Ci"rlosi. of Ll_ (5I"                                                                                                                       I   10           I    91.0                      '2         I     49.'- I                       13        I      63.0
     Oi.e.... of G.lto.Uri..t. (590'619)                                                                                                              I     2          I    63,7                        i        I      14.2-            I             6       I      58.5
     AC~ldlU, Polionl,., I ...,_ (10-99)                                                                                                              I   57           I    73,4*            I        61         I     11.3- i                       '"        I      ".0
          A~c:idlti (80-96)                                                                                                                           I   33           r    62,5- I                   41         I     76.4              I           28        I      1'.3
          Moto" Yehieli Aclålti (110-135)                                                                                                             I   17           I    59.5*            I        21         I      1'.6             I           14        I      96,4
           Sui~ii- (96'96)(91'979)                                                                                                                    I   16           I 101,1               I        17         I     75.3              I           '3        I      90.3
      a............._..... .___._._... ..... ... ............... .-...-.. ... .... .-.... ......- ..-. ..- ........ .............



      . SlgnUiee at 5" iwel
      - ii",lflc: or '" lweI




I                                                                                                                                                                                                                                                                  SL 067092




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                                                                                                   Clrwd Ontlli ~ c.t in ..I
                                                            fe .1 t Colort ..r. ~ 'n" if Flr.t hpouri to YI"y1 Chloride
                                                                                                                                   f AILE 1S




.... .. .." ~ .......... ...... .......................................................................... ........ .. .... ............ ...... ............................ .. .. .. ........ ...... .. .. .... ........ .. "" .. .... .. ...... .
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Ciuse of Oeith
 (1th lall)
                                                                                   l    .. 195O

                                                                                   1C1. I
                                                                                                           I
                                                                                                           I
                                                                                                                  "50- '959
                                                                                                               0I . I
                                                                                                                                              '96 ..
                                                                                                                                           C1. I SI         ..
............................................................................................................................................................-.
                                                                                                                                                                                               "
All ClUes (1.99)                                                                   116 l 95,5                  454 I I9.S.                 220 i 74,...
.,1 I tinnr, 040.20)                                                               I 193     I 105.9            ,,, I 109.2                 52 I 94.4
    Ca.r of Iucil Civl ty en Ph.,,~ ('40' '41)                                                                                 I            .       I       65.0             5        I ,31.1                              3        J       170.0
    taneer of Olte,t lve 511tll '50- '59)                                                                                      I           60       I '''.1                 28        I '07.7                          "            I        86.9
         toer of boii.. 050. '50)                                                                                              I           "        I       90.9              S       I '2'.2                              °        I
         C-le" of St_h (15" '51)                                                                                               I            .       I       62.9              3       I        61.7                        ,        I       49.0
         Cae" of Li".. Int"ti". ('53' '53)                                                                                     I           '2       I       74.&              ,       I        41.3         I              4        I       93.1
         C~er of Liver en Illiiry Tr~t (155-'56)                                                                               I           27       i m."".                    7      I ~Q.l- I                            3        t 41'.9
         toer of Pon                     rei' ('57'157)                                                                        I            I       I       79.'               5      I        90,0         I           3           I \09,7
    Cone" of .espi ritor S1lt_ 1160' ''')                                                                                      I           57       I       19,4             59       1 '00.5               I          19           I       96.5
         toner of Lun (162.163)                                                                                                1           54       I       1i.6             39       I 1OS.1               I          111          I       96.0
     tonal' of l- (196. '96)                                                                                                   I               I    I 107.9                    ,      I 184.6               i              0        I
    tonir of skin (190.190)                                                                                                    I            ,       i lZll.3                   2      I        11.6         I              0        I
    Cone" of Prostite (\77. '77)                                                                                               I           '0       I       97.4               5      1 .'41.S              I              °        I
     toer of Illdr (1a,.,.,)                                                                                                                                                              - ..




                                                                                                                                                                                                                                                                    ,
                                                                                                                                I           5       I       95.6               0      I                     I              0        I
     Coer of I:lct (180. '10)                                                                                                   I              .,   I 150. I                   I      I        34.7         I              3        I '91,1
     Coner of II'I i" en tNS ('93.193)                                                                                          I              9    l '56.4                    7      I '63.1               I              7        r ZS.3-
     LyMltic & M8mtopiet;c Cineer (20.205)                                                                                         I       19       I 107.0                  '3       l "'.7                 I             5        i        7',5
          L~o~aream en letìeulosarcom (200.200)                                                                                    I           5        I 121,4                ,      I 154.1                I             2        t 137.4
          Modiki"'. Diie..e (201-201)                                                                                              I           2        I   1\.4               0       I
                                                                                                                                                                                               .. .          I             i        ,        14.3
          L..lt..¡. & O\leuk..;1 1204'2(4)                                                                                         i           6        I   15.6               5       I "7.7                i             2        I        74.1
          Otner ,ymitic Ti,s~ Caner (202'203)(205.205)                                                                             I           6        I 142.1                4       I 151.9               I             0        I

 Bll 111 lleola"' (2'0. D9)                                                                                                        I           2        I   77.3               2       I m,9                 I             0        I

 (li abet" lie i             i i tL. (260' 260)                                                                                    i       "            i   86.9               II      I "4.7                I             3        I        77.2
 Disuses of Iloo (29.29)                                                                                                           I           2            92.7               0       I                     I             0        I
 vascuiar \"ion of ciS (JJO'JJ4)                                                                                                    I      46               llL2              17          l    71. ,            I          7            I    61.7
 Oi~e.'es of Circui.to"y Syst.. (400'46)                                                                                            I 391                   91. ,      I    '7'           I    li.0- l                  67              I    65 . 2-
      Arteriosclerotic lIea"t Oi..i.e (42'42i                                                                                       1 2a                    as.3.- 1        '50           I    84 . 0'          I       54              I    62.'-
  lIonll gnt .espi ritory Di.ta.e (470' 527)                                                                                           t   45                11.3      I      11          I    69.2             I          &            I    66.2
       "'ii (490.493)                                                                                                                  I    "                59.6      I        2         I    22 ...           I          2            t 42,7
       E.pysem. including t,O.P.D. (527,527)                                                                                           I    24              , 7'. .,   I       12         I 189,3               I          5            I '16.8
  Di,..ses of Oltetive Syt.. (S3.51)                                                                                                   I    30               " . .,    I      24          I    71.11            I          6            I  32. ,.

       Cil'rhOli. of Liver (5&'-5&1)                                                                                                   I    ,a               73.4      I      13          I    67.3             ,          4            I    32 . 1"
  Olui'" of Gelto-Urli-ry lyti e59.639)                                                                                                I     "               52,'. I           4          I    73.'             I              ,        I    39,5
  Accidet., 'ol~lng, & Vlo'~ (1O.99)                                                                                                   I    60               70,9- I          56          I    11,4             I       52              I    74.'-
       ~cidet. (80.96)                                                                                                                      38               65.0- I          31           I   11.0             1       33              I    74.5
       Motor Vehicle Acldet. ("0'135)
                                                                                                                                       I
                                                                                                                                       I    15               sa.5. I           "           I   82.9              I         ie           I    76.7
       Suicide (96.96)(97'.97i                                                                                                         I       \7            84.1      I       16          I   94.3              I         13           I    13,3
   "'................ ................-.......... ",...... -.................. ...... "'................ .......... _........................................ -....................................................


   · sl",lfh:."t It 51 1..1



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        Exhibit 91: 1/23/1987 (UCC 060509 - 060516)
                    Dendinger case - MSDS for VCM




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         0.. "_ uu". u.~~~~.,Cl52~~:~  i~.
                               : ~~~~~t)tc.
         OC~ATIOl HEALTH SOVlCES, INC. EMRGENCY CONACT: 13~~dw ~
         40 ..AlA oalVE JOH S. BRANSFORD, JR. (615122-1180
         HMf MEDOS
         ,.. -IZb-l"
         SEC.uCUS£ NJ 07094
                      i- r:..,........C:l ., ~         .."'...... v,ll V 17. ~.. i..                         _..4 r,..
                                                 SUBSTANCE IDENIFICATION
                                                                                               CAS-fER 75-0-4
         SUSTANCE: VINYL CHLORIDE
         TRADE NMS/S'l:
            CHtCMTHLEN; CHLORENE; VC; CHLORETENE: TAJot;
            ETHLEN MOCHLOIIDE; fCCHLORLENE; EXON:/4?e:' MO CHLCI ETENE;
            VINYL CHLORIDE MOR; VINYL CHLORIDE.. INHIBIT~~;. ~~;'--l 108; OHS24940
         CHEMICAL FAMLY:
         HALOG COf, ALIPHATIC
                                                                                      r::.:.
         MOECULAR FOI: C2-+L



         ~. . ..
         MOECULAR WEIGH: 62.50
                                                                                        -.
         CIICLA RATINGS (SCALE 0-3): HEA TH3 FIRE=! REACTIVITY:                                    1 PERSISTENCE=1
         NFPA RATlNS (SCAL 0-): HEATH2 FIRE=4 REACTIVlT=1
                                                 COMENS AN eON AMINANS
         COfEN: VINYL C"'ORIDE PERCEN: 99.9
.        OTHER CONAMINANS: WATE, ACETALDEHDE.. ACETLENE.. IRO, HYDROGEN
         CHLORIDE, HYDREN PEROXIDE
         EXPSUE LIMITS:
         VINYL CHLORIDE:
            1.0 PP OSHA TWA; 5 PP OSHA 15 MIMJE CEILING;
            o. S ,. OSHA ACTION LEVEL AS NI 8 HO lWA
            5 .. ACGIH TWA
            LOIST. 'FEASIBLE LIMIT NIOSH RECCMED EXPOSUE ØlI'ERIA
                           . ...                            PHSICAL DATA
         DESCRIPTION: COLORLESS, SWET $MUING GAS; LIQUID BELOW 7. FAREMEIT
         lOlLING f'INT: 7 F (-14 C) ME TING POINT: -245 F (-160 C)
         SPECIFIC GRAVITY: 0.9 VN' PRESSUE: 230 ri &l 20 C
         SOUBILITY IN WATER: 0.11 a 25 C OD THESHOLD: 260 PP
         VN' DENSITY: 2.2
         SOVEN SOUBILITY: ETAN.. ETYL ETER" BENZENE" CARBO TETRACWLOAIDE,
         ETHEl



                                                                                -;) B 04 .c-
                                                                                                                IJCC
                                                                                                                060509




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                                                              OHS24940       PAGE 02 OF 01
          ..~.._ .A..... .......~..._,.-___~..--..                    T ~ ¿_~.~~_.~~_~_
                                 'IRE AND EXPLOSION DATA

          FIRI AN IX~OSION HAZARD:
          OANlltOUS FIRE HAZARD AND A MODERATE EXPLOSION HAZARD YfEN EXPOSED TO HEAT OR
          FL.. LARGE FlRES 0' VINYL CHLORIDE ARE PRACTICALLY INEXTINGISHABE. VAP-
          AIR MIXTUES ME EXPOSIVE MOE FLASH POINT. VAPS ARE HEAVIER THAN AIR,
          AN MY TRAVEL A CONSIDERABE DISTANCE TO SOCE OF IGNITION AND FLSHACK.
          'LASH POINT: -101 , C-77 C) CCC) UPER EXPLOSIVE LIMIT: 33i
          LOWR EXPLOSIVE LIMIT: 3.61 AUOIGNITION T9I.: 882 F C472 C)
          FLAILITY CLASS(OSHA): IA
          FIREFIGHTING MEDIA:
         ORY CHEMICAL OR CAR DIOXIDE
          (1984 ~RGENCY RESPSE GUIDEB, DOT P 580.3).
          FOR LAGER FlRES, USE WATER SPRY, FOG OR ALCOH FOAM
          C1984 EMRGENCY RESPSE GUIDEB, DOT P 580.3).
         FlREFIGHING:
         MOE CONAINER FROM FIRE AREA IF POSSIBLE. STAV NlAY FRO STORAGE TAN ENDS.
         FOR MASSIVE FIRE IN STORAGE AREA, USE ~ED HOSE HODER OR MOITOR NOZZLES,
         ELSE WITHDRAW FROM AREA AN LET FIRE 1l. WITHDRA IMDIATEL V IN CASE OF
         RISING SOD FRO VENING SAFET DEVICE OR Nl DISCOLORTION OF STORAGE TAN



.        FRO FIRE. LET STORAGE VESSEL BU UNESS LEAK CAN BE STOPED; FOR SMLER
          TANS OR CYLINDERS, EXTINGISH/ISOTE FRO OTHR FLN MATERIALS (1984
          EMGENCY RESPOSE GUIDEB, DOT P 58.3, GUIDE PAGE 17).
          EXTINGISH ONY IF FLOW CAH BE STOPEO; USE WATER IN FLOOING MATITIES AS
          FOG. COO CONAINERS WITH FLOODING NQS OF WATER, AP Y FROM AS FAR A
          DUTANCE AS POSSIBLE. AVOID BREATHING TOXIC VAPS, KEEP LFIND. EVACUATE TO A
          flADIUS OF 2500 FEET FOR IMCONE FIRES. IF MATERIAL LANG, NOT ON FIRE
          DCIND EVACUATION MJST 8E CONSIDERED (BUEAU OF EXOSlVES.cEMGENCV
          HANI)L1NG OF HAZARDOS MATERIALS IN SlFACE TRANSPOTATION, 1~1).
        . STOP FLOW OF GAS (NFPA FIRE PROTECTION GUIDE ON HAZARDOS MATEIAL, EIGH
          EDITION) .
          ... Ll_...
                                    TRANSPTATION DATA
          D~MTM OF TRAHSPTATION HAZARD CLASSIFICTION 49CFR172.101:
          FLNIE GAS
          .EPMTM OF TRAHSPTATION LAELING REQUIREMS 49CFR172.101 AND 172.402:
          FLNlE GAS
          _~A rß .. _.._.v~__~~.v         .~..
                                        TOXICITY
                                                                                 ..--~
          VINYL CHLORIDE:
          500 ",/KG ORAl-RAT LDSO; 20 PP/30 MINUES INHALATIONINEA PIG LCLO;
          20 "" INHALATION-H TCLO CDPIRDU); MUAGENIC DATA CRTEC); REPRODUCTIVE
          EFFECTS DATA (RTEC); HUAN CARCINOEN (OSHA); POSITIVE HUN CARCINOEN




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                                                                                    IJCC
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                                                             OHSZ4940 PAGE 03 OF 07
        CIARC): ~SITIVE ANIMAL CARCINOEN ClARe). 'STUDIES SHO THAT HUAN GROUS
        OCCUPATIONALLY £XPOSE~ TO VINYL CHLORIDE RESULTED IN A SIGNIFICAN INCREASE IN
        ANIOSARCOMAS OF THE LIVER. AND ALSO 1US OF THE BRAIN. LIM AND HEMATO-
        POIETIC SYSTEMS. VINYL CHLORIDE WAS CARCINOENIC IN RATS. MICE AND HAMSTERS
        FOLLOWING OIAL AN INHALATION EXPSURE. PRODUCING ANIOSARCOMS OF THE LIVER
        AND ALSO TUS AT VARIOUS SITES. AND WAS CARCINOENIC IN RATS FOLLOWING
        ~RENATAL EXPOSURE.
          VINYL CMLOIIDE is A SKIN. EYE AND MUCOUS MERANE IRRITAN. CENTAL NERVOUS
        SYSTEM DENisSANT. AND SIllE ASPHYXIAN. POI SONING MAY AFFECT THE LIVER.
        LYMPATIC SYSTEM. BLOOD. AND RESPIRATORY SYSTEM.
              ... .. v..,
                             HEAl TH EFFECTS AND FIRST AID
        INHALATION:
        VINYL CMLORI DE:
        IRRITAN INACOTIC/ASPXIAN /CARCINOEN.
          ACUTE EXPOSUE- MAY RESl T IN A PLEASAN TASTE IN THE II. AN MAY CAUSE
            CENTRAL NERVOUS SYSTE OISTUANES INCLUOING EiIA. DROWSINESS..
            NMCOLEPSEY. HEADACHE. NAUSEA. STAGERING GAIT. PARESTHESIA OF THE HANDS
            AND FEET. DULLING OF VISUAL AN AUITORY RESPOSE.. ANESTHESIA.. AND DEATH
            DUE TO RESPIRATORY PARALYSIS WITH CARDIAC ARREST. CONCENATED V~S MAY
            RESUI T IN ASPXIA DU TO TH DISPCEM OF OXYGEN. ~ AND ANIMAL
            PATHOGIC REPOTS SH PUARY EDEM. HYPEREMIA OF KIDNEYS AND LIVER,
            AN HEPATIC DEGENERATION.



.
          C"ONIC EXPOSutE- REPTED EXPOSUE MAY RESUT IN DOSE-fELATED SENSORY
            DISORDERS.. AUT~C NERVS SYSTEM POYNEURITISf SPASTIC ANIONEURITIS..
            THOfCYTOPENIA. SPENGALY, HEPATlTIS""IKE L VER CHAES.. LIVER
            MAFUNCTION WITH POTAL FIBROSIS, AND PUARY INSUFFICIENCY. WOKERS
            INVOLVED IN THE ACTUAL POYMERIZATION PROCESS MAY EXIBIT A PECULIAR TRIAD
            OF SYMPOMS: MODIFICATION OF PERIPHERAL CIRCllTION RESUTING IN ATTACKS
            OF PALOR. CYANSIS, Ni THEN REDNESS (RAYNAUO.S PHENEN); SKELETAL
             CHANES OF DISTAL PHALES CACROSTEOL YSIS); AN SCLERERM-LIKE SKIN
             CHANES. PSElIClUING OF THE FINGERS MAY ALSO OCCi.. ANIMA STUDIES
             SHO THAT VINYL CHLORIDE PRCES TUS AT DIFFEREN SITES, INCLUDING
             ANIOSARCOMS OF THE LIVER.. AND IT is CARCINOENIC IN RATS ,.OLOWING
             PRENATAL EXPOSUE. AN INCREASED RATE OF BIRTH DEFECTS, ESPECIALLY
             CENRAL NERVOUS SYSTEM AN:ES, AM CHILDREN OF PARENS RESIDING IN
             c~iT1ES WHERE VINYL CHLORIDE PRTION AND POYMIZATION PLANS ARE
             LOCATED HAVE SEEN REPOTED IN SEVERAL STUDIES.
         FIRST AID: REME FROM fXSUE AREA TO FRESH AIR IMMDIATELY. IF BREATHING
          HAS STOPED.. GIVE ARTIFICIAL RESPIRATION. MAINTAIN AIRWAY AND BLOOD
          PRESSURE AND ADMINISTER OXYGEN IF AVAILABLE. KEEP AFFECTED PERSON WA~M AND
          AT REST. ADMINISTRATION OF OXYGEN SHOD Be PERFORMED BY QUALIFIED
          PERSOEL. GET MEDICAL ATTENTION IMMEDIATELY.

         SKIN CONACT:
         VINYL CHLORI DE:
         IRRIT..1.
           ACUTE EXPOSURE- CONTACT MAY CAUSE IRRITATION.. REDNESS.. PAIN.. AND FROSTBITE.
           CHRONIC EXPOSURE- WOKERS HANDLING VINYL CHLORIDE HAVE EXHIBITED A PECUlIAR
             TRIAD OF SYMPTOMS: RAYNAUD. S PHENOEN, ACRO-STEOLYSIS.. AND SCLERODERMA-
             LIKE SKIN CHANES.
         FIRST AID: REMOVE CONTAMINATED CLOTHING AND SHoes IMMEDIATELY. WASH AFFECTED
           AREA WITH SOAP OR MILO DEl ERGENT AND LARGE AMS Or WATER UNTIL NO
                                                                                    ucc
                                                                                    060511




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.           IVIDENCE OF CHEMICAL REMINS.
                                                      . OHS24940 PAGE 04 Of 07
            IN CASI 0' FROSTBITE, WAR AFFECTED SKIN IN WARM WATER AT A TEMERATUE Of
            107 ,. -IF WARM WATER IS NOT AVAILABE OI IMPACTICAL TO USE, GENTLY WRAP
            A'FECTED 'UT IN BLANETS. ENCOUAGE VICTIM TO DCUCISE AFFECTED PART WHILE
            IT IS 11ING WAiMED. ALOW CIRCULTION TO RETU NATUALLY. (MATHESON GAS,
            6TN EDITION) 6ET MEDICAl ATTENION IMMDIATELY.

          lYE CONA:T:
          VINYL CHLORIDE:
          IIRITAN .
            ACUTE EXPOSUE- MY CAUSE F.oS18l£, IftDIATE AN SEVE IRRITATION, AND
              COlEAL INJURY WITH COfETe ReCOVERY IN 4S HOS.
            tHIONIC EXPOSURE- NO DATA AVAILABE.
          FIRST AID- WASH EYES i_DlATELY WITH LMGE AMS OF WATE, OCCASIONALLY
            LIFTING ..0 AN LOWER LIDS, l.IL NO MDENE OF CHEMICAl REMINS
            (AT LEAST 15-Z0 MINUES). IN CASE OF BUS, APY STERILE BANDAGES LOOSELY
            WITH MEDICATION. GET MEDICAl ATTENION I.iDIATEL'(.
          INGESTION:
          VINYL CMORIDE:
          CMCINOEN.
            ACUTE EXPOSUE- ANIMA STUIES INDICATE THAT ORAL ADNISTRATION ALTERED
              ELECTROENCEPALOGAM.. AND EXHIBITED IflSUESSI\lE ACTIVITY.



.
            CHRONIC EXPOSUE- ORAL ADMINISTRATION TO RATS, MICE, AND HAMSTERS RESUI TED
                  IN 1U PRODUCTION AT VARIOUS SITES, INCLUDING ANIOSARCCMS OF THE
                  LIVER.
          FIRST AIO- TREAT SYMOMTICALLY AND SlTIVELY. GET MEDICAl ATiENION
            IllDlATELY. IF VOTING OCClJS, KEEP HEAD LOWER THAN HIPS TO PREVEN
            ASPIRATION.
          ANI)TE:
          NO SPECinC ANIDOTE. TREAT SYMPTOMTICALY AN SLTIVELY.
        . __ .I
                                         REACTVITY
          REACTIVITY:
          VINYL CHLORIDE:
          SLIGHTLY REACTIVE UNER NO CONDITIONS. POYMERiZeS REAILY UNDER THE
          INfLUCE OF LIGH, AIR, OR HEAT.
          INCOMATIBILITIES:
          VINYL CHLORlOE:
             All: FOR AN UNSTABE POYPEPTIDE THOU OXIDATION BY ATMSPHERIC OXYGEN
                  IN THE PRESENCE OF N4Y OF A VARIET OF CONAMINANS. STORAGE UNDER THESE
                  CONITIONS FOR A LON PERIOO OF TIME INCREASES THE CONENATION OF
               UNSTA8E POYPEROXIDES TO HAARDOS LEVELS.
             OXIDIZING AGENTS: INCOMATISLE.
             COPER: INCOMATISLE.
          DECOMSITION :
          THERMAL DECOMOSITION MAY RELEASE TOXIC PHOSGENE.. CORROSIVE HYDROGEN CHLORIDE,
            AND TOXIC CARlO MOXIDE.

                                                                                 ucc
                                                                                 060'512




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.        POYMUATlON: .                                               OH$24940 PAGE 05 Of 01
         EXSUE TO AIR, LIIH, OR EXCESSIVE HEAT MAY INITIATE SELF-PYMERIZATION.
         ØPSUE OF CONTAINUS TO nlE OR HEAT MAY RESUT IN VIOLEN POYMERIUTION.


         ..*...............*.**... .*****..*******...**...********...*...
                               CONITIONS TO AVOID

         DT_LV FLNlE. MAY II IGNITED IY HEAT, SPMlS OR FLAS. VAPS MAY
         TlAVEL TO A SOCE OF IGNITION AND FLASH lACK. CONAINER MAY EXOOE IN HEAT
         OF FIRE. VN- EXOSION HAZMD INDS, OUDOS OR IN SEWS.
         .... ............. .... ..A AAA ..... A A. ..a.. A A'. AAA.. AA..A A Aa a A A A.A.. A"" .a* .**
                                   SPILL AND LEAK PREDUES
         OCCWATION SPILL:
         SM OFF IGNITION SOCES. ST LEA IF YOU CAN DO IT WITH RISK. USE WATER
         SPAY TO REDUCE VAPS. ISOTE MEA l.IL GAS HAS DISPSED. NO siNG,
         FLAS OR FLES IN HAZMD MEA! KEEP \NCESSARY PEOP NiAY;. ISOTE HAZARD
         MEA AND DEN ENY. VENILATE CLOED SPACES eEFORE ENERING.
         .EPTAIE QUANITY: 1 PC
         THE SUERFUD AMDMS _ REAIZATION ACT OF 198 SECTION 30 REQUIRES
         THAT A RELESE EQAL TO OR GREATER TH THE REPTABE QUANITY FOR THIS
         _STANCE ..ST BE lllDlATEY REPTED TO THE LOCAL EMENCY ~ING


.        CCNITTEE, THE STATE EMENCY RESPSE COfSSION, ø niE NATIONAL RESPOSE
         CENER C80())-424-82; IN WASINGON, D.C. METAN AREA (202)..426-2615


          VELATION :
                                      PRTECTIVE WIPM

          ,.OVIDE LOCAL EXHAUST OR PRI:"ESS ENCLOSUE VENILATION TO MEET THE PtLISHED
          EXSUE LIMITS. VENILATION EQUIPM KIST BE EXOSIONF.
          RESri.ATOR :
        . THE fOLLOWING RESPIRATORS ME TH MINI.. LEGAL REQUIREMS AS SET FORTH
           IY THE OCCUPATION SAFET AN HEATH ~NISTRATION FOUD IN 29CF.1910,
            SWAlT z.
          RIIUIRED RESPIRATORS fOR VINYL CtlORIDE
          ATMSfERIC CONCENATIONS Of VINYL REQUIRED APARATUS
          CHLORIDE

          I. OR NJE 36 PP                                       OP~CIRCU!!L SELF CONAINED
                                                                BREATHING N"ARATUS, PRESSURE
                                                                DEM TYPE, WITf flLL FACEPIECE
          NOT OVER 36 PP                                        COfINATION TYPE 'e' SlIIED AIR
                                                                RESPIRATOR, PRESSUE DEMD TYPE,
                                                                WITH A flLL FACEPIECE AND AUIL"
                                                                IARY SELF CONAINED AIR SlP '( ;
                                                                                   OR
                                                                COMINATION TYPE SUPLIED AIR
                                                                RESPIRATOR, CONTINUS FLOW TYPE,



.
                                                                WITH A FUl OR HALF FACEPIEce,

                                                                                                 ucc
                                                                                                 060513




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            L




                                                                   OHS24940 p. 06 Of (J
                                                             AN AUILIARY SELF-CONAINED AI~
                                                              .. Y~
                NOT ov 100 ..                                TYpi · C' ~IED AIR RESPIRATO
                                                             CONIIiS FLO TYPE, WITH A fU
                                                             0I HAf FACEPIECE, HELMT OR
                                                             HO.
                IIT OV 100 ""                                C"INATION TY 'c' SlIED Al
                                                             RESPIRATO DØ TYPE.. WITH A
                                                             FU FACEPfECE, NI AUILIARY
                                                             SEF-(AINED AIR St Y;
                                                                               OR
                                                             OPIRCUIT SELF-CONAINED
                                                             MEATHING APARTU WITH A FW
                                                             FAtEPIECE, lil DEM ICE;
                                                                               OR
                                                             TY · C' SUIED AIR RESPIRATOF
                                                             DE* TYPE, WITH Fl FACEPIECf
                NOT OV 25 PP                                 A POED AIR MINING RESPIRA-
                                                             TOR WITH HO, HE, Fl OR
                                                             l-F FACEPIECE MO A CANISTE
                                                             "'ICH PRIDES" A SEICE LIFE OF



.                                                            AT LEST 4 HOS FOR CONCENA-
                                                             TIONS OF VINYL C..ORIDE LP TO ~
                                                             PP"
                                                                ,. OR
                                                             GAS MASK, FRO- OR BACK~E
                                                             CANIST WHICH PRIDES A SERIC
                                                             UFE OF AT LEST 4 HOS FOR COt
                                                             CENTIONS OF VINYL CHLORIDE LJ
                                                             TO 25 PP.
                IIT CWO 10 PP                                COflNTION TYPE l C l SlIED A.
                                                             RESPIRATOR,. WITH A HAlF FACEPIEC
                                                             ,. AUiUARY SelF-CONAINED AIF
                                                             Sl Y"
                                                                      ,. OR
                                                             TY · C l SlED-AIR RESPIRATOf
                                                             PIECE;
                                                                              OR .
                                                             DEM TYPE,. WITH A HAF FACE-

                                                             Nt CHCAl CARIDGE RESPIRATC
                                                             WITH AN ORiC Vrl CARTRIDGE
                                                             WHICH PRIDES A SERVICE LIFE 0'
                                                             AT LEST 1 HO FOR CONCENRA-
                                                             TIONS OF VINYL CHLORIDE LP TO 1(
                                                             PP.
                S1RY INTO UN CONCENTIONS OR CONCENATIONS GREATE THAN 36,.00 PP
                (LOW EXPLSION LIMIT) MAY 8E MAE ONY FOR THE PUSES OF LIFE RESCUE;
                                                    AND
                ENTRY INTO CONCENATIONS OF LESS THAN 36,.0( PP,. BU GREATER THAN 36 PP
            MAY 81 MAE ONLY FOR THE PUPOSES OF LIFE RESCUff FIREFIGHTING OR SECURiOIENG
                UUIPM SO AS TO PREVEN A GREATER HAZARD OF R LEASE OF VINYL CHLOR .
                                                                                    UCc
                                                                                    060514




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                               . OHS24940 PAGE UT Of (1
             '01 ,.iREFlGMTlNl AMD OTHER i"'EDlATELY- DANEROUS TO LIFE OR HEALTH CONDITIOH~

               SELF-CONTAINED .lATHING APARATUS WITH FULL FAC~IECE OPERATED IN PRESSUf
                 OEND OR OTHER ~SITIVE PRESSURE, MODE.
               ~iEO-AiR RES'IRATOR WITH fUL 'A(EPIECE AND OPERATED IN PRESSURE-oEMI
                 OR OTHER ~SITIVE PRESSUE MOE IN COMINATION WITH AN AUILIARY
                 SELF-CONAINED IIEATHING APARATUS OPERATED IN PRESSUE-DEMD OR OTHER
                 POSITIVE PRESSURE MOE.
             CL0T11N& :
             Ð.OYEE ..S1 WEAR APOPIATE PROTECTIVE ci,.ERVlOUS) CLOTHING AND EQUIPM
             TO PREVENT AMY POSSIBILITY OF SKIN CONACT WITH THIS SUSTANCE.
             NOT£CTIVE CLOTHING ..ST CCl Y WITH OSHA REQUIREM FOR PROTECTIVE WOK
             CLOTHING AND EQUIPM C29CFR1910.1017CH)).
             ILOVES:
             'LOVES llST COMY WITH OSHA REQUIREMS fOR PRTECTIVE WOK CLOTHING AND
             EQUIPMNT. (29CFR1910.1~7(H)).
             EYE PRTECTION:
             EJOYEE .iST WE SPLSH-PF OR DUST-fESlSTAN SAFm GOLES AND A



.
             FACESHIELD TO PREVEN CONACT WITH THIS SlSSTANCE.
             WHERE THERE IS NI POSSIBILITY THAT". EJOYEE'S EYES MAY BE EXPOSED TO
             THlS SUSTANCE, THE EMOYER SHALL PRIDE AN EYE-WASH FOUAIN WITHIN THE
             IMMDIATE WOK AREA FOR EMGENCY USE.

                              AUIZED - OCClPATlONAL HEALTH SERVICES, INC.
                          CREATION DATE: 10/16/84 REVISION DATE: en /23/87




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                                                                                060515




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